Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 1 of 187




            EXHIBIT G
             Part 2 of 2
Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 2 of 187




                 EXHIBITB
   Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 3 of 187

ATTORNEY DOCKET NO.                           PATENT APPLICATION
083523.0117                                             15/016,662




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   Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 4 of 187

ATTORNEY DOCKET NO.                           PATENT APPLICATION
083523.0117                                             15/016,662




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  Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 5 of 187

ATTORNEY DOCKET NO.                          PATENT APPLICATION
083523.0117                                            15/016,662
  Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 6 of 187

ATTORNEY DOCKET NO.                                        PATENT APPLICATION
083523.0117                                                          15/016,662




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  Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 7 of 187

ATTORNEY DOCKET NO.                              PATENT APPLICATION
083523.0117                                                15/016,662




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  Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 8 of 187

ATTORNEY DOCKET NO.                                  PATENT APPLICATION
083523.0117                                                    15/016,662




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      For sure ... it seems like
      we have a lot in
      common. How about
      some organic coffee?.
      know a gre.at place!
  Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 9 of 187

ATTORNEY DOCKET NO.                          PATENT APPLICATION
083523.0117                                            15/016,662




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Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 10 of 187




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       Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 11 of 187

ATTORNEY DOCKET NO.:                                             PA TENT APPLICATION
083523.0117                                                                 15/016,662



                                MBGameViewcontroller ABRIDGED
II
II     MBGameviewcontroller.m
II     matchbox
II
II     created by Jonathan Badeen on 616112.
II     Copyright (c) 2012 Hatch Labs. All rights reserved.
II

@implementation MBGameviewcontroller
#pragma mark - Game & Cards
- (void)updateGame
{


     for (UIGestureRecognizer *gestureRecognizer in
self.currentcard.gestureRecogn1zers) {
         gestureRecognizer.enabled = gameButtonsEnabled;
       }
}

- (MBCardview *)dequeueReusablecard
{
       MBCardview *card= [self.reusablecards lastobject];
       if (!card) {
           card= [[MBCardview alloc] init];
        [card addGestureRecognizer:[[UIPanGestureRecognizer alloc]
initWithTarget:self action:@selector(cardPanned:)]];
       }   ...
       for (UIGestureRecognizer *gestureRecognizer in card.gestureRecognizers) {
           gestureRecognizer.enabled = NO;
       }

       return card;
}

- (void)cardPanned:(UIPanGestureRecognizer *)gestureRecognizer
{
       static CGPoint startLocation;
       static urrmageview *dislikermageview;
       static UIImageView *likeimageV1ew;
       CGFloat confirmedXTranslation = 100.0;
       CGFloat minconfirmedvelocity = 2000.0;
       CGPoint translation= [gestureRecognizer translationinView:self.currentCard];
       switch (gestureRecognizer.state) {
           case UIGestureRecognizerstatePossible:
            break;
        case UIGestureRecognizerstateBegan:
            startLocation = [gestureRecognizer locationrnview:self.currentcard];
            likermageview = [LUIImageView alloc] initWithrmage:[UIImage
imageNamed:@"MBLikedstamp"J];
            likermageView.transform = CGAffineTransformMakeRotation(M_PI_4 I 2.0 *
-1);
           likermageview.center =
CGPointMake(CGRectGetMidX(self.currentCard.bounds) - 45.0,
                                       Page 1
    Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 12 of 187

ATTORNEY DOCKET NO.:                                           PATENT APPLICATION
083523.0117                                                               15/016,662



                           MBGameviewcontroller ABRIDGED
CGRectGetMidY(self.currentcard.bounds) - 85.0);
          likeimageview.alpha = O;
          [self.currentcard addsubview:likeimageview];
            dislikermageView = [[UIImageView alloc] initwithrmage:[UIImage
imageNamed:@"MBNopestamp"]];
            dislikermageview.transform = CGAffineTransformMakeRotation(M_PI_4 / 2.0
* 1);
           dislikeimageview.center =
CGPointMake(CGRectGetM1dX(self.currentcard.bounds) + 45.0,
CGRectGetMidY(self.currentcard.bounds) - 85.0);
           dislikermageview.alpha = O;
           [self.currentcard addsubview:dislikermageView];
            self .nextcard.hidden = NO;
        case UIGestureRecognizerstatechanged:
        {
            CGFloat rotationoirection = startLocation.y /
CGRectGetHeight(self.currentcard.bounds) < 0.5? 1 : -1;
            CATransform3D translationTransform =
CATransform3DMakeTranslation(translation.x, translation.y, O);
            CATransform3D rotationTransform = CATransform3DMakeRotation((M_PI * 2) *
(translation.x / 5000.0), 0, O, rotationoirection);
            CATransform3D transform = CATransform3DConcat(translationTransform,
rotationTransform);
            self.currentcard.layer.transform =transform;
            CGFloat startstampshowx = 30.0;
            likermageview.alpha = (translation.x - startstampshowX) I
(confirmedXTranslat1on - startStampshowX);
            dislikermageView.alpha = (translation.x + startstampshowX) /
(-confirmedXTranslation + startstampshowX);
        }
             break;
         case UIGestureRecognizerstateEnded:
         case UIGestureRecognizerstatecancelled:
             if (fabsf(translation.x) < confirmedXTranslation && [gestureRecognizer
velocityrnview:self.currentcard].x < minconfirmedvelocity) {
                 [UIView animateWithDuration:0.2 delay:O
options:urviewAnimationcurveEaseout animations:A{
                     self.currentcard.transform = CGAffineTransformrdentity;
                     lik~ImageView.alpha = O;
                     dislikermageview.alpha = O;
                 } completion:A(BOOL finished) {
                     self.nextcard.hidden = YES;
                     [likermageView removeFromsuperview];
                     [dislikeimageView removeFromsuperview];
                }J ;
             } else {
                 NSTimeinterval maxDuration = 0.2;
                 NSTimeinterval adjustedouration = maxDuration;
                 [UIView animateWithDuration:adjustedDuration delay:O
options:urviewAnimationcurveEaseout animations:A{
                     CGFloat direction = 1.0;
                     if (translation.x > 0) {
                       } else {
                           direction= -1.0;
                       }
                   //CGFloat rotationDirection = startLocation.y I
CGRectGetHeight(self.currentcard.bounds) < 0.5 ? -1 : 1;
                   CGFloat xPos = 400.0;
                   CGAffineTransform translationTransform
                                       Page 2
           Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 13 of 187
ATTORNEY DOCKET NO.:                                                    PATENT APPLICATION
083523.0117                                                                       15/016,662



                                  MBGameviewcontroller ABRIDGED
CGAffineTransformMakeTranslation(xPos *direction, [(NSNumber
'1<) [se 1f.currentcard.1 ayer va 1ueForKeyPath :@"transform. transl at ion. y"] fl oatva1ue]);
                        //CGAffineTransform rotationTransform =
CGAffi neTransformMakeRotati on( (M_PI * 2) 'Ir (xPos I 5000. 0) ·~ rota ti onDi recti on);
                        self.currentcard.transform = translationTransform;
//CGAffineTransformconcat(translationTransform, rotationTransform);
                    } completion:A(BOOL finished) {
                         [likermageview removeFromsuperviewJ;
                         [dislikeimageView removeFromsuperview];
                    MBUser *user = self.currentcard.user;
                    [self updateGame];
                    if (translation.x < 0) {
                         [[MBMatchboxAPI sharedMatchboxAPI] dislikeuser:user];
                    } else {
                        [[MBMatchboxAPI sharedMatchboxAPI] likeUser:user
completion:A(BOOL success, MBUser *user, BOOL isMatch) {
                             if (success && isMatch) {
                                 MBNewMatchviewcontroller *vc =
[[MBNewMatchviewcontroller alloc] init];
                                 vc.matcheduser = user;
                                 vc.backgroundscreenshot = [urrmage
imageWithview:self.view];
                                 [self presentviewcontroller:vc animated:NO
completion:A{
                                          }J;
                                      }
                                }J;
                            }
                     }J ;
                 }
                 break;
             case UIGestureRecognizerstateFailed:
                 break;
             default:
                 break;
       }


}



@end




                                                Page 3
                 Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 14 of 187



                             Electronic Patent Application Fee Transmittal
 Application Number:                            15016662


 Filing Date:                                   05-Feb-2016




 Title of Invention:                            Matching Process System And Method




 First Named Inventor/Applicant Name:           Sean Rad


 Filer:                                         Clarke W. Stavinoha/Laurie Scott


 Attorney Docket Number:                        083523.0117


 Filed as Large Entity



Filing Fees for Utility under 35 USC 111 (a)


                                                                                              Sub-Total in
                         Description                   Fee Code         Quantity     Amount
                                                                                                USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


 Extension-of-Time:
            Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 15 of 187
                                                                                    Sub-Total in
                      Description               Fee Code      Quantity     Amount
                                                                                      USO($)

             Extension - 1 month with $0 paid     1251           1          200         200


Miscellaneous:


                                                         Total in USO($)            200
             Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 16 of 187
                                       Electronic Acknowledgement Receipt

                          EFSID:                                28624327


                  Application Number:                            15016662


         International Application Number:

                  Confirmation Number:                          9869




                    Title of Invention:                         Matching Process System And Method




       First Named Inventor/Applicant Name:                     Sean Rad


                   Customer Number:                             5073


                           Filer:                               Clarke W. Stavinoha/Laurie Scott


                   Filer Authorized By:                         Clarke W. Stavinoha


               Attorney Docket Number:                          083523.0117


                      Receipt Date:                              14-MAR-2017


                       Filing Date:                             05-FEB-2016


                      Time Stamp:                                14:33:52


                    Application Type:                           Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                          yes

Payment Type                                                   DA

Payment was successfully received in RAM                        $200

RAM confirmation Number                                         0315171NTEFSW00000758020384

Deposit Account                                                 020384

Authorized User                                                 Laurie Scott

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      37 CFR 1.16 (National application filing, search, and examination fees)
      37 CFR 1.17 (Patent application and reexamination processing fees)
               Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 17 of 187
      37 CFR 1.19 (Document supply fees)

      37 CFR 1.20 (Post Issuance fees)

      37 CFR 1.21 (Miscellaneous fees and charges)




File Listing:
Document                                                                                         File Size(Bytes}/                    Multi              Pages
                      Document Description                             File Name
 Number                                                                                          Message Digest                      Part /.zip        (if appl.)

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                                                  Multipart Description/PDF files in .zip description

                                         Document Description                                              Start                              End


                                         Response After Final Action                                           1                                  1



                                                   Claims                                                      2                                  7



                         Applicant Arguments/Remarks Made in an Amendment                                      8                                  17


Warnings:
Information:

                                                                                                          1087738

     2           Affidavit-Rule 131-pre-AIA (FTI) ONLY      0835230117Dec0311317.PDF                                                     no                21
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Warnings:
Information:

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     3                   Fee Worksheet (SB06)                          fee-info.pdf                                                      no                2
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Warnings:
Information:
                                                              Total Files Size (in bytes)                                      1931074
             Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 18 of 187
This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                        Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 19 of 187
                                                                                                                                                                                 PTO/SB/06 (09-11)
                                                                                                                                                Approved for use through 1/31/2014. OMB 0651-0032
                                                                                                                             U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                                           Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid OMB control number.

    PATENT APPLICATION FEE DETERMINATION RECORD                                                                Application or Docket Number                Filing Date
                                       Substitute for Form PT0-875                                                      15/016,662                      02/05/2016             D To be Mailed

                                                                                                                              ENTITY:          [8J LARGE D SMALL D MICRO
                                                                            APPLICATION AS FILED - PART I
                                                      (Column 1)                          (Column 2)

                      FOR                           NUMBER FILED                       NUMBER EXTRA                                   RATE($)                              FEE($)

  D BASIC FEE                                             N/A                                 N/A                                        N/A
          (37 CFR 1.16(a), (b), or (c))

  D SEARCH    FEE
    (37 CFR 1.16(k), (i), or (m))
                                                          N/A                                 N/A                                        N/A

  D (37
    EXAMINATION FEE
        CFR 1.16(0), (p), or (q))
                                                          N/A                                 N/A                                        N/A
  TOTAL CLAIMS
  (37 CFR 1.16(i))                                            minus 20 =       *                                                x $            =

  INDEPENDENT CLAIMS
  (37 CFR 1.16(h))                                              minus 3 =      *                                                x $            =

                                               If the specification and drawings exceed 100 sheets
                                               of paper, the application size fee due is $31 O ($155
  0APPLICATION SIZE FEE
                                               for small entity) for each additional 50 sheets or
    (37 CFR 1.16(s))
                                               fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                               CFR 1.16(s).
  D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
  * If the difference in column 1 is less than zero, enter "O" in column 2.                                                            TOTAL



                                                                         APPLICATION AS AMENDED - PART II

                                       (Column 1)                        (Column 2)              (Column 3)

                                   CLAIMS                           HIGHEST
                                   REMAINING                        NUMBER
f--
           03/14/2017              AFTER                            PREVIOUSLY
                                                                                             PRESENT EXTRA                            RATE($)                      ADDITIONAL FEE($)
z                                  AMENDMENT                        PAID FOR
w         Total (37 CFR
:;:;;:     1.16(j))
                                   * 15                 Minus       ** 20                =   0                                  x $80 =                                        0
0          Independent
z         (37 CFR 1 .16(h))        * 3                  Minus       ***3                 =   0                                  x $420 =                                       0
w
:;:;;:
<(
           D Application Size Fee (37 CFR 1.16(s))
           D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                                TOTAL ADD'L FEE                               0
                                       (Column 1)                        (Column 2)              (Column 3)

                                     CLAIMS                          HIGHEST
                                    REMAINING                        NUMBER
                                                                                             PRESENT EXTRA                            RATE($)                      ADDITIONAL FEE($)
                                      AFTER                         PREVIOUSLY
                                   AMENDMENT                         PAID FOR
  f--
 z        Total (37 CFR
                                   *                    Minus       **                   =                                      x $            =
 w         1.16(i))
 :;:;;:    Independent
 0        (37 CFR 1 .16(h))        *                    Minus       ***                  =                                      x $           =

 z         D Application Size Fee (37 CFR 1.16(s))
 w
 :;:;;:
 <(        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                                TOTAL ADD'L FEE

  * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                         LIE
  **If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                                                BRENDA HARRISON
  *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
  The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of 1nformat1on 1s required by 37 CFR 1.16. The 1nformat1on 1s required to obtain or retain a benefit by the public which 1s to file (and by the US PTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1 .14. This collection is estimated to take 12 minutes to complete, including gathering,
preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you
require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S.
Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS
ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                                            If you need assistance in completing the form, ca/11-800-PT0-9199 and select option 2.
                Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 20 of 187
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       15/016,662               02/05/2016                  Sean Rad              083523.0117                         9869

       5073             7590             11/21/2016                                                EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 600
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2153


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   11/21/2016                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                        Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 21 of 187
                                                                                    Application No.                               Applicant(s)
                                                                                    15/016,662                                    RAD ET AL.
                     Office Action Summary                                          Examiner                                      Art Unit           AIA (First Inventor to File)
                                                                                                                                                     Status
                                                                                    YUK TING CHOI                                 2153
                                                                                                                                                     No
                -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;J. MONTHS FROM THE MAILING DATE OF
 THIS COMMUNICATION.
          Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
          If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
          Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

 Status
    1)~ Responsive to communication(s) filed on 1012712016.
        0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _.
      2a)~ This action is FINAL.                 2b)0 This action is non-final.
       3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
           _ _ ;the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
           closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.
 Disposition of Claims*
    5)~ Claim(s) 44-58 is/are pending in the application.
          5a) Of the above claim(s) _ _ is/are withdrawn from consideration.
    6)0 Claim(s) _ _ is/are allowed.
    7)~ Claim(s) 44-58 is/are rejected.
    8)0 Claim(s) _ _ is/are objected to.
    9)0 Claim(s) _ _ are subject to restriction and/or election requirement.
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http:ilwww.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PPHfeedback(wuspto.aov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
   11 )0 The drawing(s) filed on _ _ is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).

 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
         a)O All b)O Some** c)O None of the:
            1.0 Certified copies of the priority documents have been received.
           2.0 Certified copies of the priority documents have been received in Application No. _ _ .
           3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                 application from the International Bureau (PCT Rule 17.2(a)).
 ** See the attached detailed Office action for a list of the certified copies not received.




 Attachment{s)
 1) ~ Notice of References Cited (PT0-892)                                                        3)   0 Interview Summary (PT0-413)
                                                                                                          Paper No(s)/Mail Date. _ _ .
 2)   0 Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)                        4)   0 Other: _ _.
         Paper No(s)/Mail Date _ _ .
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                              Office Action Summary                                          Part of Paper No./Mail Date 20161114
      Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 22 of 187


Application/Control Number: 15/016,662                                                      Page 2
Art Unit: 2153

                                      DETAILED ACTION

                                   Response to Amendment

1.      This office action is in response to applicant's communication filed on 10/27/2016 in

response to PTO Office Action mailed 08/09/2016. The Applicant's remarks and amendments

to the claims and/or the specification were considered with the results as follows.

2.      In response to the last Office Action, claims 44, 46, 48, 49, 50, 52, 54, 55 and 57 have

been amended. As a result, claims 44-58 are pending in this office action.




                                    Response to Arguments

3.       Applicant's arguments with respect to claims 44-58 have been fully considered but are

moot in view of the new ground(s) of rejection.

        Applicant's argument with respect to 101 rejection states as "Detecting and acting upon

the claimed preference indication is not simply and retrieving information as the office action

contends ... ".

        In response to Applicant's argument, the Examiner disagrees because detecting the

claimed "preference indication" is just detecting a preference response from a user and the

recited method does not include additional elements beyond the abstract idea of identify related

information and returning a record. The recited steps or acts e.g. detecting, storing, presenting

and removing perform only basic generic computer/server data retrieval functions, which are

common to all content service. When viewed either as individual limitations or as an ordered

combination, the claim as a whole does not add significantly more to the abstract idea of data

retrieval of a record.
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       Applicant's argument with respect to the 102 rejection states as "Janssens still does not

disclose the claimed limitations because they require expressing a preference on the item being

presented".

        In response to Applicant's argument, the Examiner disagrees because when the user

clicks on the right arrow to look at the next match, the user may or may not satisfied with the

current match and the user has shown his/her preference to check out another profile.

Therefore, the Janssens reference teaches a preference indication associated with the first item

of information when the user has expressed interest to look another profile when he/she clicks

on the right arrow. Applicant has amended the claim to recite a "positive preference indication"

and after consideration, the Examiner has incorporated a newly cited reference to teach the

amended feature.



                                 Claim Rejections - 35 USC § 101

4.     35 U.S.C. 101 reads as follows:

Whoever invents or discovers any new and useful process, machine, manufacture, or

composition of matter, or any new and useful improvement thereof, may obtain a patent

therefor, subject to the conditions and requirements of this title.



       Claims 44-58 are rejected under 35 U.S.C. 101 because the claimed invention is

directed to non-statutory subject matter.



        In claim 44, a "method" is being recited. The claim is directed to a method includes a

series of steps or acts for presenting a graphical representation of a first item of information;

detecting a gesture associated with the graphical representation of the first item of information,
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storing the positive preference indication associated with the first item of information in response

to detect the gesture and automatically presenting a graphical representation of a second item

of information in response to detecting the gesture. In other words, the claim recites identifying

related information and returning a record in response to user's response.                  It is similar to other

concepts that have identified as abstract by the courts, such as using categories to organize,

store and transmit information in Cyberfone, or comparing new and stored information and using

rules to identifying options in SmartGene.             The additional step automatically removing the

graphical representation of the first item of information in response to detect the gestures the

abstract idea, but do not make it less abstract. The claim does not include additional elements

beyond the abstract idea of identify related information and returning a record. The recited steps

or acts e.g. detecting, storing, presenting and removing perform only basic generic

computer/server data retrieval functions, which are common to all content service. When viewed

either as individual limitations or as an ordered combination, the claim as a whole does not add

significantly more to the abstract idea of data retrieval of a record. Therefore, claim 44 is not

patent eligible.   Claims 45-48 do not have additional elements add significantly more to the

abstract idea of data retrieval of a record. Thus, claims 44-48 are not patent eligible. Claims 49

and 54 recited similar features as recited in claims 44, therefore claims 50-53 and 55-58 also do

not have additional elements add significantly more to the abstract idea of data retrieval of a

record, and they are not patent eligible.


                                    Claim Rejections - 35 USC§ 103

5.     The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

        (a) A patent may not be obtained though the invention is not identically disclosed or described
        as set forth in section 102 of this title, if the differences between the subject matter sought to
        be patented and the prior art are such that the subject matter as a whole would have been
        obvious at the time the invention was made to a person having ordinary skill in the art to which
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       said subject matter pertains. Patentability shall not be negatived by the manner in which the
       invention was made.

6.     Claims 44-58 are rejected under 35 U.S.C. 103(a) as being unpatentable by Janssens

(US 2014/0040368A1) and in view of Morgia et al. (US 2014/0162241A1 ), hereinafter Morgia.

       Referring to claims 44, 49 and 54, Janssens discloses a method of navigating a user

interface, comprising:

       presenting, on a graphical user interface, a graphical representation of a first item of

 information of a plurality of items of information (See para. [0046] and Figure 3, displaying a

 card or a profile from a plurality of cards or profiles of users on a Card-feed pane 303);

        detecting a gesture associated with the graphical representation of the first item of

 information, the gesture corresponding to a preference indication associated with the first

 item of information (See para. [0046] and para. [0047] and Figure 3, a form of user

 interaction is received, e.g. the user is clicking the right [forward] arrow, the right

 [forward] arrow enables the user to view other cards within the card-feed, the gesture

 clicking the right [forward] arrow indicates user is interested to view a new card [profile]

 or a previously viewed card [profile]);

       storing the preference indication associated with the first item of information in response

 to detecting the gesture (See para. [0047], the system maintains a history of which cards

 of a given has viewed and the user's interactions with a given card, e.g. the system

 tracks whether the user has viewed the first profile or the first card on the card-feed

 pane, and the system indicates whether the next card is to be displayed is a new or

 previously viewed card when user clicks on the right [forward] arrow);

        automatically presenting, on the graphical user interface, a graphical representation of

 a second item of information of the plurality of items of information in response to detecting the
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gesture (See para. [0049], automatically replace the currently displayed card in the card-

 feed area 303 with another card in the feed when clicking on the right arrow); and

           automatically removing the graphical representation of the first item of information from

the graphical user interface in response to detecting the gesture (See para. [0049],

automatically replace the currently displayed card in the card-feed area 303 with another

 card in the feed when clicking on the right arrow, the first profile or the first card has

 been removed to display the next card in the feed).

           Janssens does not explicitly disclose detecting a gesture associated with the graphical

 representation of the first item of information, the gesture corresponding to a positive

preference indication associated with the first item of information.

           Morgia discloses detecting a gesture associated with the graphical representation of the

first item of information, the gesture corresponding to a positive preference indication

associated with the first item of information and storing the positive preference indication

associated with the first item of information in response to detecting the gesture (See para.

[01206] and Figures 84A-D, the system presents a list of items to an user, the user can

 swipe an item to the left to indicate that the item is a bad idea or swipe to the right to

 indicate that is a favored item, the graphical interface shows icons appearing next to

 items that have swiped, with a thumbs up icon appear next to an item that has been

 swiped to the right and a trash icon appear next to the item that has been swiped to the

 left).

           Hence, it would have been obvious to one having ordinary skill in the art at the time of

 invention was made to modify the sensitive touch- screen movement detection module of

Janssens 's system to comprise: the gesture corresponding to a positive preference indication

associated with the first item of information, as taught by Morgia, in order to include feedback
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 mechanisms to allow the system to be a true-two way communication tool (See Morgia, para.

[0074]).

       As to claims 45, 53 and 58, Janssens discloses wherein presenting the graphical

 representation of the first item of information of the plurality of items of information comprises

presenting user interface controls such that all user interface controls configured to cause

another item of information of the plurality of items of information to be displayed are

associated with performing an action on the first item of information (See para. [0044]- para.

[0048] and Figure 3, presenting interface controls such as card-feed pane 303, chat pane

 312, right or forward button 307, contact list pane 302 and etc. configured to allow a

 second profile or card to be displayed when the user performs a right arrow button on

 the first card or the profile).



       As to claims 46, 50 and 55, Janssens discloses wherein detecting the gesture

associated with the graphical representation of the first item of information comprises detecting

a swiping direction associated with the gesture (See para. [0047], the system detects

 different forms of user interaction maybe used to indicate to the system that a new card

 or previously viewed card is to be displayed such as clicking, mouse dragging,

 hovering, swiping, gesturing and so on).

       As to claims 47, 51 and 56, Janssens discloses presenting the graphical representation

of the first item of information of the plurality of items of information comprises presenting the

first item of information as a first card of a stack of cards (See para. [0046] and Figure 3,

 displaying a card or a profile from a plurality of cards or profiles of users on a Card-feed

pane 303);
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       As to claims 48, 52, and 57, Janssens discloses the first item of information comprises

a first user profile; the second item of information comprises a second user profile (See para.

[0047], the system maintains a history of which cards of a given has viewed and the

 user's interactions with a given card, e.g. the system tracks whether the user has

 viewed the first profile or the first card on the card-feed pane, and the system indicates

 whether the next card is to be displayed is a new or previously viewed card when user

 clicks on the right [forward] arrow); and the preference indication associated with the first

 item of information [ ... ] associated with the first user profile (See para. [0047], the system

maintains a history of which cards of a given has viewed and the user's interactions

 with a given card, e.g. the system tracks whether the user has viewed the first profile or

 the first card on the card-feed pane, and the system indicates whether the next card is

 to be displayed is a new or previously viewed card when user clicks on the right

[forward] arrow).

       Janssens does not explicitly disclose the positive preference indication associated with

the first item of information comprises an expression of approval.

       Morgia discloses the positive preference indication associated with the first item of

 information comprises an expression of approval (See para. [01206] and Figures 84A-D, the

 system presents a list of items to a user, the user can swipe an item to the right to

 indicate that is a favored item).

       Hence, it would have been obvious to one having ordinary skill in the art at the time of

 invention was made to modify the sensitive touch- screen movement detection module of

Janssens 's system to comprise: the gesture corresponding to a positive preference indication

associated with the first item of information, as taught by Morgia, in order to include feedback
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 mechanisms to allow the system to be a true-two way communication tool (See Morgia, para.

 [0074]).


                                            Conclusion

7.      Applicant's amendment necessitated the new ground(s) of rejection presented in this

Office action. Accordingly, THIS ACTION IS MADE FINAL. See MPEP § 706.07(a). Applicant

is reminded of the extension of time policy as set forth in 37 CFR 1.136(a).

        A shortened statutory period for reply to this final action is set to expire THREE

MONTHS from the mailing date of this action. In the event a first reply is filed within TWO

MONTHS of the mailing date of this final action and the advisory action is not mailed until after

the end of the THREE-MONTH shortened statutory period, then the shortened statutory period

will expire on the date the advisory action is mailed, and any extension fee pursuant to 37

CFR 1.136(a) will be calculated from the mailing date of the advisory action. In no event,

however, will the statutory period for reply expire later than SIX MONTHS from the date of this

final action.

8.      The examiner requests, in response to this Office action, support be shown for language

added to any original claims on amendment and any new claims. That is indicate support for

newly added claim language by specifically pointing to page(s) and line no(s) in the specification

and/or drawing figure(s). This will assist the examiner in prosecuting the application.



        Any inquiry concerning this communication or earlier communications from the

 examiner should be directed to YUK TING CHOI whose telephone number is (571 )270-

 1637. The examiner can normally be reached on 9:30 AM - 6:00 PM EST.
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       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Christyann Pulliam can be reached on (571) 270-1007. The fax phone

number for the organization where this application or proceeding is assigned is 571-

273-8300.

       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




/YUK TING CHOI/
Primary Examiner, Art Unit 2164
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                                                                                      Application/Control No.             Applicant(s)/Patent Under
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                 Notice of References Cited
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                                                                                      YUK TING CHOI                       2153
                                                                          U.S. PATENT DOCUMENTS
                        Document Number                    Date
*                 Country Code-Number-Kind Code          MM-YYYY                               Name                   CPC Classification       US Classification

*        A      US-2014/0162241 A 1                     06-2014           Morgia; Michael A.                             G06Q30/02                 434/362

         B      US-

         c      US-

         D      US-

         E      US-

         F      US-

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*A copy of this reference 1s not being furnished with this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publication dates. Classifications may be US or foreign.

U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                                  Notice of References Cited                             Part of Paper No. 20161114
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                                                 Application/Control No.            Applicant(s)/Patent Under
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          Index of Claims                        15016662                           RAD ET AL.

                                                 Examiner                           Art Unit

                                                 YUK TING CHOI                      2164


              Rejected                         Cancelled          N        Non-Elected           A           Appeal

  =           Allowed                         Restricted                   Interference          0         Objected

 D    Claims renumbered in the same order as presented by applicant             D   CPA        D T.D.        D     R.1.47

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                                                   Application/Control No.            Applicant(s)/Patent Under
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          Index of Claims                          15016662                           RAD ET AL.

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                                                   YUK TING CHOI                      2164


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  -           Allowed                         Restricted                     Interference          0         Objected

 D    Claims renumbered in the same order as presented by applicant               D   CPA        D T.D.        D     R.1.47

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                                        Examiner                                   Art Unit

                                        YUK TING CHOI                              2164




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 Google NPL Search                                                                    11/14/2016          YC
 East text search, see attached search history                                        11/14/2016          YC
 IDS Search and Assignee                                                              7/19/2016           YC
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                                          INTERFERENCE SEARCH

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                                                           /YUK TING CHOI/
                                                           Primary Examiner.Art Unit 2164




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ATTORNEY'S DOCKET                                                PATENT APPLICATION
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               IN THE UNITED STATES PATENT AND TRADEMARK OFFICE




First Named Inventor:         Sean Rad
Filed:                        February 5, 2016
Group Art Unit:               2164
Confirmation No.              9869
Examiner:                     Yuk Ting Choi
Title:                        Matching Process System and 1J!/ethod



Mail Stop Amendment
Commissioner for Patents
P.O. Box 1450
Alexandria, Virginia 22313-1450




Dear Sir:


                             Response under 37 C.F.R. § 1.111

           In response to the non-final Office Action dated August 9, 2016, Applicant
respectfully requests the Examiner to reconsider the rejection of the claims in view of the
following remarks.




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In the Claim
           Claims 1-43 (Cancelled)


           44.    (Currently Amended) A method of navigating a user interface, comprising:
           presenting, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
           detecting a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
           storing the positive preference indication associated with the first item of information
in response to detecting the gesture;
           automatically presenting, on the graphical user interface, a graphical representation of
a second item of information of the plurality of items of information in response to detecting
the gesture; and
           automatically removing the graphical representation of the first item of information
from the graphical user interface in response to detecting the gesture.


           45.    (Previously Presented)     The method of Claim 44, wherein presenting the
graphical representation of the first item of information of the plurality of items of
information comprises presenting user interface controls such that all user interface controls
configured to cause another item of information of the plurality of items of information to be
displayed are associated with performing an action on the first item of information.


           46.    (Currently Amended) The method of Claim 44, wherein detecting the gesture
associated with the graphical representation of the first item of information comprises
detecting a swiping direction associated with the gesture:, the swiping direetion indieating
approval of the first item of information.




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           4 7.    (Previously Presented)     The method of Claim 44, wherein presenting the
graphical representation of the first item of information of the plurality of items of
information comprises presenting the first item of information as a first card of a stack of
cards.


           48.     (Currently Amended) The method of Claim 44, wherein:
           the first item of information comprises a first user profile;
           the second item of information comprises a second user profile; and
           the positive preference indication associated with the first item of information
comprises an expression of approval for a user associated with the first user profile.




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           49.     (Currently Amended) A system, comprising:
           an interface operable to:
                   present a graphical representation of a first item of information of a plurality
of items of information;
           a processor coupled to the interface and operable to:
                   detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
                   store the positive preference indication associated with the first item of
information in response to detecting the gesture; and
           the interface further operable to:
                   automatically present a graphical representation of a second item of
information of the plurality of items of information in response to the processor detecting the
gesture; and
                   automatically remove the graphical representation of the first item of
information in response to detecting the gesture.


           50.     (Currently Amended)       The system of Claim 49, wherein the processor is
further operable to [[:]] detect a swiping direction associated with the gesture:. t-tmd
           deteFmine that the s'wiping diFeetien indieates RJ>J>Feval ef the fiFst item ef
infeFmatien.


           51.    (Previously Presented)        The system of Claim 49, wherein the interface 1s
further operable to present the first item of information as a first card of a stack of cards.


           52.    (Currently Amended) The system of Claim 49, wherein:
           the first item of information comprises a first user profile;
           the second item of information comprises a second user profile; and
           the positive preference indication associated with the first item of information
comprises an expression of approval for a user associated with the first user profile.



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           53.   (Previously Presented)   The system of Claim 49, wherein the interface is
further operable to present user interface controls such that all user interface controls
configured to cause another item of information of the plurality of items of information to be
displayed are associated with performing an action on the first item of information.




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           54.    (Currently Amended) At least one non-transitory computer-readable medium
comprising a plurality of instructions that, when executed by at least one processor, are
configured to:
           present, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
           detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
           store the positive preference indication associated with the first item of information in
response to detecting the gesture;
           automatically present, on the graphical user interface, a graphical representation of a
second item of information of the plurality of items of information in response to detecting
the gesture; and
           automatically remove the graphical representation of the first item of information
from the graphical user interface in response to detecting the gesture.


           55.    (Currently Amended)       The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to [[:]]
detect a swiping direction associated with the gesture~ t-aml
           determine that the swiping direetion indieates a1313ro·1al of the first item of
information.


           56.    (Previously Presented)     The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are configured to present the first
item of information as a first card of a stack of cards.




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           57.    (Currently Amended)        The at least one non-transitory computer-readable
medium of Claim 54, wherein:
           the first item of information comprises a first user profile;
           the second item of information comprises a second user profile; and
           the positive preference indication associated with the first item of information
comprises an expression of approval for a user associated with the first user profile.


           58.    (Previously Presented)      The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to present
user interface controls such that all user interface controls configured to cause another item of
information of the plurality of items of information to be displayed are associated with
performing an action on the first item of information.




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                                            REMARKS
           This Application has been reviewed carefully in light of the non-final Office Action
dated August 9, 2016.           Applicant appreciates the Examiner's consideration of the
Application. Although Applicant believes all claims are allowable without amendment. to
advance prosecution, Applicant amends Claims 44, 46, 48, 49, 50, 52, 54, 55, and 57. For at
least the reasons discussed below, Applicant respectfully requests reconsideration and
favorable action.


Request for Interview
           If the Examiner intends to issue a new Office Action in response to this submission, in
the interest of compact and efficient prosecution, Applicant respectfully requests that the
Examiner contact Applicant's attorney prior to issuing the new Office Action to discuss a
possible resolution to any outstanding issues.


Claim Rejections under 35 U.S.C. § 101
           The Office Action rejects Claims 44-58 under 35 U.S.C. § 101 alleging that the
claimed invention is directed to non-statutory subject matter.         Applicant traverses.   The
Examiner has impermissibly simplified the claims and has ignored key claim limitations in
contravention to Federal Circuit authority. McRO, Inc. v. Bandai Namco Games America,
2015-1080, Slip Op. at 21 (Fed. Cir. September 13, 2016). In particular, the Office Action
states: "The claim does not include additional elements beyond the abstract idea of identify
[sic] related information and returning a record." Office Action at 3. This impermissibly
oversimplifies the claim and the McRO decision is analogous. Here, as in McRO, the claims
do not recite about retrieving information as the Examiner alleges. Rather, Claim 44 recites a
specific manner of improving the operation of a computing device:
              •   detecting a gesture associated with the graphical representation of the first
                  item of information, the gesture corresponding to a positive preference
                  indication associated with the first item of information;
              •   automatically presenting, on the graphical user interface, a graphical
                  representation of a second item of information of the plurality of items of
                  information in response to detecting the gesture; and
              •   automatically removing the graphical representation of the first item of
                  information from the graphical user interface in response to detecting the
                  gesture.

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As just one example, detecting and acting upon the claimed "preference indication" is not
simply identifying and retrieving information as the Office Action contends. This is true of
all the pending claims.        Therefore, Applicant respectfully requests reconsideration and
allowance of the pending claims.


Claim Rejections under 35 U.S.C. § 102
           The Office Action rejects Claims 44, 45, 47, 49, 51, 53, 54, 56 and 58 under 35
U.S.C. § 102(a)(l) as allegedly being anticipated by U.S. Patent Application Publication No.
2014/0040368 Al to Janssens ("Janssens"). Applicant traverses because the cited portions of
Janssens does not disclose all of the limitations of these claims.           Therefore, Applicant
requests reconsideration and allowance of all pending claims.
           For example, the cited portions of Janssens fails to disclose, or even teach or suggest,
the following limitations of Claim 44:
              •   detecting a gesture associated with the graphical representation of the first
                  item of information, the gesture corresponding to a positive preference
                  indication associated with the first item of information;
              •   automatically presenting, on the graphical user interface, a graphical
                  representation of a second item of information of the plurality of items of
                  information in response to detecting the gesture; and
              •   automatically removing the graphical representation of the first item of
                  information from the graphical user interface in response to detecting the
                  gesture.
The Examiner does not dispute that the cited portions of Janssens discloses a user activating
an arrow to move from viewing one profile to another.             Office Action at 4.    Applicant
disagrees with the Examiner that this discloses any form of preference indication as the user
is simply navigating to another item. For this reason alone, Janssens does not anticipate the
claim.
           In addition, even under the Examiner's interpretation that activating an arrow to
proceed to another profile represents a user's interest a new profile, the cited portions of
Janssens still does not disclose the claimed limitations because they require expressing a
preference on the item being presented: "detecting a gesture associated with the graphical
representation of the first item of information, the gesture corresponding to a positive
preference indication associated with the first item of information[.]"           In contrast, the
Examiner's erroneous interpretation of Janssens, even if accepted, merely amounts to the

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user expressing interest in another profile that is not being shown.         Moreover, expressing
interest in seeing a new profile does not disclose a positive preference indication for the item
being presented to the user as the claim requires.
            Therefore, the cited portions of Janssens do not anticipate Claim 44. For analogous
reasons, the cited portions of Janssens do not anticipate Claims 49 and 54. As examples, the
following limitations Claim 49 are not disclosed by Janssens:
              •   detect a gesture associated with the graphical representation of the first item of
                  information, the gesture corresponding to a positive preference indication
                  associated with the first item of information;
              •   automatically present, on the graphical user interface, a graphical
                  representation of a second item of information of the plurality of items of
                  information in response to detecting the gesture; and
              •   automatically remove the graphical representation of the first item of
                  information from the graphical user interface in response to detecting the
                  gesture.
As examples, the following limitations Claim 54 are not disclosed by Janssens:
              •   detect a gesture associated with the graphical representation of the first item of
                  information, the gesture corresponding to a positive preference indication
                  associated with the first item of information;
              •   automatically present a graphical representation of a second item of
                  information of the plurality of items of information in response to the
                  processor detecting the gesture; and
              •   automatically remove the graphical representation of the first item of
                  information in response to detecting the gesture.
Therefore, Applicant respectfully requests reconsideration and allowance of Claims 44, 49,
and 54 as well as its dependent claims.


Claim Rejections under 35 U.S.C. § 103
           The Office Action rejects Claims 46, 48, 50, 52, 55 and 57 under 35 U.S.C. § 103(a)
as allegedly being unpatentable over Janssens and in view of U.S. Patent Application
Publication No. 2011/0087974 Al to Kulas ("Kulas").             For the reasons discussed above
regarding the Section 102 rejection, Applicant traverses the Section 103 rejection and
respectfully requests reconsideration and allowance of these claims.




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                                           Conclusion
           Applicant has made an earnest attempt to place this case in condition for allowance.
For at least the above reasons, Applicant respectfully requests full allowance of all pending
claims.


           If the Examiner believes a telephone conference would advance prosecution of this
Application in any way, the Examiner is invited to contact the undersigned Attorney for
Applicant at the Examiner's convenience.


           Applicant believes no fees are due.    However, the Commissioner is authorized to
charge any necessary fees and credit any overpayments to Deposit Account No. 02-0384 of
Baker Botts L.L.P.


                                                 Respectfully submitted,

                                                 BAKER BOTTS L.L.P.
                                                 Attorneys for Applicant




                                                 Roshan S. Mansinghani
                                                 Reg. No. 62,429


Date:        I of rJ- 7
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Correspondence Address:

Customer No:               05073




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              Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 49 of 187
                                    Electronic Acknowledgement Receipt

                       EFSID:                      27336255


                 Application Number:               15016662


          International Application Number:

                Confirmation Number:               9869




                  Title of Invention:              Matching Process System And Method




         First Named Inventor/Applicant Name:      Sean Rad


                  Customer Number:                 5073


                         Filer:                    Roshan Suresh Mansinghani/Laurie Scott


                 Filer Authorized By:              Roshan Suresh Mansinghani


              Attorney Docket Number:              076533.0150


                    Receipt Date:                  27-0CT-2016


                     Filing Date:                  05-FEB-2016


                     Time Stamp:                   09:45:29


                  Application Type:                Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment
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File Listing:
 Document                                                                              File Size(Bytes}/                  Multi         Pages
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  Number                                                                               Message Digest                    Part /.zip   (if appl.)

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                                            Multipart Description/PDF files in .zip description

                                    Document Description                                 Start                End


                      Amendment/Req. Reconsideration-After Non-Final Reject                1                    1



                                             Claims                                        2                    7



                       Applicant Arguments/Remarks Made in an Amendment                    8                    11


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                                                       Total Files Size (in bytes)                 417163


This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New Agglications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Agglication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
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                                                                                                                                                                                 PTO/SB/06 (09-11)
                                                                                                                                                Approved for use through 1/31/2014. OMB 0651-0032
                                                                                                                             U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                                           Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid OMB control number.

    PATENT APPLICATION FEE DETERMINATION RECORD                                                                Application or Docket Number                Filing Date
                                       Substitute for Form PT0-875                                                      15/016,662                      02/05/2016             D To be Mailed

                                                                                                                              ENTITY:          [8J LARGE D SMALL D MICRO
                                                                            APPLICATION AS FILED - PART I
                                                      (Column 1)                          (Column 2)

                      FOR                           NUMBER FILED                       NUMBER EXTRA                                   RATE($)                              FEE($)

  D BASIC FEE                                             N/A                                 N/A                                        N/A
          (37 CFR 1.16(a), (b), or (c))

  D SEARCH    FEE
    (37 CFR 1.16(k), (i), or (m))
                                                          N/A                                 N/A                                        N/A

  D (37
    EXAMINATION FEE
        CFR 1.16(0), (p), or (q))
                                                          N/A                                 N/A                                        N/A
  TOTAL CLAIMS
  (37 CFR 1.16(i))                                            minus 20 =       *                                                x $            =

  INDEPENDENT CLAIMS
  (37 CFR 1.16(h))                                              minus 3 =      *                                                x $            =

                                               If the specification and drawings exceed 100 sheets
                                               of paper, the application size fee due is $31 O ($155
  0APPLICATION SIZE FEE
                                               for small entity) for each additional 50 sheets or
    (37 CFR 1.16(s))
                                               fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                               CFR 1.16(s).
  D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
  * If the difference in column 1 is less than zero, enter "O" in column 2.                                                            TOTAL



                                                                         APPLICATION AS AMENDED - PART II

                                       (Column 1)                        (Column 2)              (Column 3)

                                   CLAIMS                           HIGHEST
                                   REMAINING                        NUMBER
f--        10/27/2016              AFTER                            PREVIOUSLY
                                                                                             PRESENT EXTRA                            RATE($)                      ADDITIONAL FEE($)
z                                  AMENDMENT                        PAID FOR
w         Total (37 CFR
:;:;;:     1.16(j))
                                   * 15                 Minus       ** 20                =   0                                  x $80 =                                        0
0          Independent
z         (37 CFR 1 .16(h))        * 3                  Minus       ***3                 =   0                                  x $420 =                                       0
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           D Application Size Fee (37 CFR 1.16(s))
           D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                                TOTAL ADD'L FEE                               0
                                       (Column 1)                        (Column 2)              (Column 3)

                                     CLAIMS                          HIGHEST
                                    REMAINING                        NUMBER
                                                                                             PRESENT EXTRA                            RATE($)                      ADDITIONAL FEE($)
                                      AFTER                         PREVIOUSLY
                                   AMENDMENT                         PAID FOR
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                                   *                    Minus       **                   =                                      x $            =
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 <(        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                                TOTAL ADD'L FEE

  * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                         LIE
  **If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                                                NICOLE NICHOLSON
  *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
  The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of 1nformat1on 1s required by 37 CFR 1.16. The 1nformat1on 1s required to obtain or retain a benefit by the public which 1s to file (and by the US PTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1 .14. This collection is estimated to take 12 minutes to complete, including gathering,
preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you
require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S.
Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS
ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                                            If you need assistance in completing the form, ca/11-800-PT0-9199 and select option 2.
                Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 52 of 187
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       15/016,662               02/05/2016                  Sean Rad              076533.0150                         9869

       5073             7590             08/09/2016
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 600
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2164


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   08/09/2016                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
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                                                                                    Application No.                               Applicant(s)
                                                                                    15/016,662                                    RAD ET AL.
                     Office Action Summary                                          Examiner                                      Art Unit           AIA (First Inventor to File)
                                                                                                                                                     Status
                                                                                    YUK TING CHOI                                 2164
                                                                                                                                                     No
                -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;J. MONTHS FROM THE MAILING DATE OF
 THIS COMMUNICATION.
          Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
          If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
          Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

 Status
    1)~ Responsive to communication(s) filed on 0210512016.
        0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _.
      2a)0 This action is FINAL.                 2b)~ This action is non-final.
       3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
           _ _ ;the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
           closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.
 Disposition of Claims*
    5)~ Claim(s) 44-58 is/are pending in the application.
          5a) Of the above claim(s) _ _ is/are withdrawn from consideration.
    6)0 Claim(s) _ _ is/are allowed.
    7)~ Claim(s) 44-58 is/are rejected.
    8)0 Claim(s) _ _ is/are objected to.
    9)0 Claim(s) _ _ are subject to restriction and/or election requirement.
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http:ilwww.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PPHfeedback(wuspto.aov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
   11 )~The drawing(s) filed on 0210512016 is/are: a)~ accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).

 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
         a)O All b)O Some** c)O None of the:
            1.0 Certified copies of the priority documents have been received.
           2.0 Certified copies of the priority documents have been received in Application No. _ _ .
           3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                 application from the International Bureau (PCT Rule 17.2(a)).
 ** See the attached detailed Office action for a list of the certified copies not received.




 Attachment{s)
 1) ~ Notice of References Cited (PT0-892)                                                        3)   0 Interview Summary (PT0-413)
                                                                                                          Paper No(s)/Mail Date. _ _ .
 2) ~ Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)
      Paper No(s)/Mail Date 0210512016.
                                                                                                  4)   0 Other: _ _.
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                              Office Action Summary                                          Part of Paper No./Mail Date 20160719
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                                        DETAILED ACTION


1.     Application No: 15/016,661 filed on 02/05/2016 is being examined AIA first to invent

provisions. A preliminary amendment filed on 02/04/2015 canceled claims 1-43 and new claims

44-58 are added. Claims 44-58 are pending.


                                                 IDS


2.     The information disclosure statements (IDS) submitted on 02/05/2016 are in compliance

with the provisions of 37 CFR 1.97. Accordingly, the information disclosure statements are

being considered by the examiner.


                                              Drawings


3.     The drawings received on 02/05/2016 are accepted by the Examiner.

                                               Priority

4.     Acknowledgment is made of applicant's claim for domestic priority based on a

provisional application no. 61/793,866 filed on 03/15/2013.




                                 Claim Rejections - 35 USC § 101

5.     35 U.S.C. 101 reads as follows:

Whoever invents or discovers any new and useful process, machine, manufacture, or

composition of matter, or any new and useful improvement thereof, may obtain a patent

therefor, subject to the conditions and requirements of this title.



       Claims 44-58 are rejected under 35 U.S.C. 101 because the claimed invention is

directed to non-statutory subject matter.
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        In claim 44, a "method" is being recited. The claim is directed to a method includes a

series of steps or acts for presenting a graphical representation of a first item of information;

detecting a gesture associated with the graphical representation of the first item of information,

storing the preference indication associated with the first item of information in response to

detect the gesture and automatically presenting a graphical representation of a second item of

information in response to detecting the gesture. This concept is related to using categories to

organize, store and transmit information and as well as data recognition and storage which has

been identified to be abstract idea by the courts. The additional step automatically removing the

graphical representation of the first item of information in response to detect the gestures the

abstract idea, but do not make it less abstract. The claim does not include additional elements

beyond the abstract idea of identify related information and returning a record. The recited steps

or acts e.g. detecting, storing, presenting and removing perform only basic generic

computer/server data retrieval functions, which are common to all content service. When viewed

either as individual limitations or as an ordered combination, the claim as a whole does not add

significantly more to the abstract idea of data retrieval of a record. Therefore, claim 44 is not

patent eligible.   Claims 45-48 do not have additional elements add significantly more to the

abstract idea of data retrieval of a record. Thus, claims 44-48 are not patent eligible. Claims 49

and 54 recited similar features as recited in claims 44, therefore claims 50-53 and 55-58 also do

not have additional elements add significantly more to the abstract idea of data retrieval of a

record, and they are not patent eligible.

                                Claim Rejections - 35 USC§ 102

6.      In the event the determination of the status of the application as subject to AIA 35 U.S.C.

102 and 103 (or as subject to pre-AIA 35 U.S.C. 102 and 103) is incorrect, any correction of the
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statutory basis for the rejection will not be considered a new ground of rejection if the prior art

relied upon, and the rationale supporting the rejection, would be the same under either status.

       The following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 that form the

basis for the rejections under this section made in this Office action:

       A person shall be entitled to a patent unless -

       (a)(1) the claimed invention was patented, described in a printed publication, or in public use,
       on sale or otherwise available to the public before the effective filing date of the claimed
       invention.


7.     Claims 44, 45, 47, 49, 51, 53, 54, 56 and 58 are rejected under 35 U.S.C. 102(a)(1) as

being anticipated by Janssens (US 2014/0040368A1 ).

       Referring to claims 44, 49 and 54, Janssens discloses a method of navigating a user

interface, comprising:

       presenting, on a graphical user interface, a graphical representation of a first item of

 information of a plurality of items of information (See para. [0046] and Figure 3, displaying a

 card or a profile from a plurality of cards or profiles of users on a Card-feed pane 303);

        detecting a gesture associated with the graphical representation of the first item of

 information, the gesture corresponding to a preference indication associated with the first

 item of information (See para. [0046] and para. [0047] and Figure 3, a form of user

 interaction is received, e.g. the user is clicking the right [forward] arrow, the right

 [forward] arrow enables the user to view other cards within the card-feed, the gesture

 clicking the right [forward] arrow indicates user is interested to view a new card [profile]

 or a previously viewed card [profile]);

       storing the preference indication associated with the first item of information in response

 to detecting the gesture (See para. [0047], the system maintains a history of which cards

 of a given has viewed and the user's interactions with a given card, e.g. the system
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 tracks whether the user has viewed the first profile or the first card on the card-feed

pane, and the system indicates whether the next card is to be displayed is a new or

previously viewed card when user clicks on the right [forward] arrow);

         automatically presenting, on the graphical user interface, a graphical representation of

a second item of information of the plurality of items of information in response to detecting the

gesture (See para. [0049], automatically replace the currently displayed card in the card-

 feed area 303 with another card in the feed when clicking on the right arrow); and

        automatically removing the graphical representation of the first item of information from

the graphical user interface in response to detecting the gesture (See para. [0049],

automatically replace the currently displayed card in the card-feed area 303 with another

 card in the feed when clicking on the right arrow, the first profile or the first card has

 been removed to display the next card in the feed).

       As to claims 45, 53 and 58, Janssens discloses wherein presenting the graphical

 representation of the first item of information of the plurality of items of information comprises

presenting user interface controls such that all user interface controls configured to cause

another item of information of the plurality of items of information to be displayed are

associated with performing an action on the first item of information (See para. [0044]- para.

[0048] and Figure 3, presenting interface controls such as card-feed pane 303, chat pane

 312, right or forward button 307, contact list pane 302 and etc. configured to allow a

 second profile or card to be displayed when the user performs a right arrow button on

 the first card or the profile).

       As to claims 47, 51 and 56, Janssens discloses presenting the graphical representation

of the first item of information of the plurality of items of information comprises presenting the

first item of information as a first card of a stack of cards (See para. [0046] and Figure 3,
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 displaying a card or a profile from a plurality of cards or profiles of users on a Card-feed

 pane 303);

                                    Claim Rejections - 35 USC§ 103

8.      The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

        (a) A patent may not be obtained though the invention is not identically disclosed or described
        as set forth in section 102 of this title, if the differences between the subject matter sought to
        be patented and the prior art are such that the subject matter as a whole would have been
        obvious at the time the invention was made to a person having ordinary skill in the art to which
        said subject matter pertains. Patentability shall not be negatived by the manner in which the
        invention was made.


9.      Claims 46, 48, 50, 52, 55, and 57 are rejected under 35 U.S.C. 103(a) as being

unpatentable over Janssens (US 2014/0040368 A1) and in view of Kulas (US 2011/0087974

A1).

        As to claims 46, 50 and 55, Janssens discloses wherein detecting the gesture

 associated with the graphical representation of the first item of information comprises detecting

 a swiping direction associated with the gesture (See para. [0047], the system detects

 different forms of user interaction maybe used to indicate to the system that a new card

 or previously viewed card is to be displayed such as clicking, mouse dragging,

 hovering, swiping, gesturing and so on).

        Janssens does not explicitly disclose the swiping direction indicating approval of the first

 item of information.

        Kulas discloses the swiping direction indicating approval of the first item of information

 (See para. [0027], a user can swipe upward to indicate approval).

        Hence, it would have been obvious to one having ordinary skill in the art at the time of

 invention was made to modify the sensitive touch- screen movement detection module of

 Janssens 's system to comprise: the swiping direction indicating approval of the first item of
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 information, as taught by Kulas, in order to improve the service provided to a user by

determining ways of identifying a user's state of mind (See Kulas, para. [0004]).



       As to claims 48, 52, and 57, Janssens discloses the first item of information comprises

a first user profile; the second item of information comprises a second user profile (See para.

[0047], the system maintains a history of which cards of a given has viewed and the

 user's interactions with a given card, e.g. the system tracks whether the user has

 viewed the first profile or the first card on the card-feed pane, and the system indicates

 whether the next card is to be displayed is a new or previously viewed card when user

 clicks on the right [forward] arrow); and the preference indication associated with the first

 item of information [ ... ] associated with the first user profile (See para. [0047], the system

maintains a history of which cards of a given has viewed and the user's interactions

 with a given card, e.g. the system tracks whether the user has viewed the first profile or

 the first card on the card-feed pane, and the system indicates whether the next card is

 to be displayed is a new or previously viewed card when user clicks on the right

[forward] arrow).

       Janssens does not explicitly disclose the preference indication associated with the first

 item of information comprises an expression of approval.

       Kulas discloses the preference indication associated with the first item of information

comprises an expression of approval (See para. [0027], a user can swipe upward to

 indicate approval).

       Hence, it would have been obvious to one having ordinary skill in the art at the time of

 invention was made to modify the sensitive touch- screen movement detection module of

Janssens 's system to comprise: the swiping direction indicating approval of the first item of
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 information, as taught by Kulas, in order to improve the service provided to a user by

 determining ways of identifying a user's state of mind (See Kulas, para. [0004]).




                                           Conclusion


1O     The examiner requests, in response to this Office action, support be shown for language

added to any original claims on amendment and any new claims. That is indicate support for

newly added claim language by specifically pointing to page(s) and line no(s) in the

specification and/or drawing figure(s). This will assist the examiner in prosecuting the

application.


        Any inquiry concerning this communication or earlier communications from the

 examiner should be directed to YUK TING CHOI whose telephone number is

 (571 )270-1637. The examiner can normally be reached on 9:30 AM - 6:00 PM EST.


        If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Christyann Pulliam can be reached on (571) 270-1007. The fax phone

number for the organization where this application or proceeding is assigned is 571-

273-8300.


        Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.
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Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




/YUK TING CHOI/


Primary Examiner, Art Unit 2164
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                                                                                      Application/Control No.             Applicant(s)/Patent Under
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                                                                                      15/016,662                          RAD ET AL.
                 Notice of References Cited
                                                                                      Examiner                            Art Unit
                                                                                                                                              Page 1 of 1
                                                                                      YUK TING CHOI                       2164
                                                                          U.S. PATENT DOCUMENTS
                        Document Number                    Date
*                 Country Code-Number-Kind Code          MM-YYYY                               Name                   CPC Classification       US Classification

*        A      US-2014/0040368 A 1                     02-2014           Janssens; Olivier Maurice Maria               H04L67/306                 709/204

*        B      US-2011/0087974 A 1                     04-2011           Kulas; Charles J.                            G06 F3/04812                715/760

*        c      US-7,203,674 B2                         04-2007           Cohen; Morgan                                  G06Q10/02              707/999.003

*        D      US-9,009, 109 B2                        04-2015           Tan; Min-Liang                              G06F17/30699                705/26.1

*        E      US-7,401,098 B2                         07-2008           Baker; Benjamin D.                           H04L12/1818              707/999.006

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*A copy of this reference 1s not being furnished with this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publication dates. Classifications may be US or foreign.

U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                                  Notice of References Cited                             Part of Paper No. 20160719
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PT0-1449                                         Application No.                           Applicant(s)
                                                    15/016662                               Sean Rad et al.
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                                                 076533.0150                                                       02/05/2016

                                               U.S. PATENT DOCUMENTS


           DOCUMENT NO.            DATE                     NAME                                        CLASS   SUBCLASS             FILING DATE
     A        8,566,327         10/22/2013            Carrico et al.
     B
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     D


                                             U.S. PUBLICATION DOCUMENTS


           DOCUMENT NO.            DATE                     NAME                                        CLASS   SUBCLASS             FILING DATE
     E      2014/007 4824       03/13/2014                 Rad et al.
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                                               NON-PATENT DOCUMENTS


                         DOCUMENT (Including Author, Title, Source, and Pertinent Pages)                                                DATE
     I     Chegg® Blog, Chegg® Product Updates, "Introducing the Chegg Flashcards App,"                                                Dated
           http://blog.chegg.com/2012/02/03/introducing-the-chegg-flashcards-app/, 10 pages                                          02/03/2012
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EXAMINER: initial if citation considered, whether or not citation is in -coiiforfuance with MPEP § 609. Draw line through
citation if not in conformance and not considered. Include copy of this form with next communication to the applicant.
U.S. Patent and Trademark Office



               ALL REFERENCES CONSIDERED EXCEPT WHERE LINED THROUGH. /C.C.i
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                                        Application/Control No.                    Applicant(s)/Patent Under
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           Search Notes                 15016662                                   RAD ET AL.

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                                        YUK TING CHOI                              2164




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 H04L67/306 OR G06F17/30011 OR G06F17/3053 and East Text Search,                      7/19/2016          YC
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 Google NPL Search                                                                    7/19/2016          YC
 East text search, see attached search history                                        7/19/2016          YC
 IDS Search and Assignee                                                              7/19/2016          YC



                                          INTERFERENCE SEARCH

   US Class/                        US Subclass I CPC Group                               Date            Examiner
  CPC Symbol




                                                           /YUK TING CHOI/
                                                           Primary Examiner.Art Unit 2164




U.S. Patent and Trademark Office                                                                  Part of Paper No. : 20160719
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                                            YUK TING CHOI                        2164


              Rejected                     Cancelled              N   Non-Elected             A           Appeal

  =           Allowed                      Restricted                 Interference            0         Objected

 D    Claims renumbered in the same order as presented by applicant          D   CPA        D T.D.        D     R.1.47

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                                            Application/Control No.              Applicant(s)/Patent Under
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                   I          I            ! person) same (approve approval                                                            USOCR;                    !                        !                          !                  !
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                   ~          ~            ~                                                                                                                     :                        :                          ~                  :




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EAST Search History
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                                                                       I!    swip$5 gesture) and (dating match
                                                                             social) near10 (network)
                                                                                                                                                                                                                                                                        I JPO;
                                                                                                                                                                                                                                                                        I DERWENT
                   1.=:=.1~ ...............................................................................................1 ~-§~=I_g_§ __'.______ _, -------------------------' ___________________,...........................:
                   IS8                       ! (profile
                                                 164
                                               (present$3      userdisplay$3
                                                                          match person)       provid$3)     same     near20                I U&PGPUB;
                                                                                                                                             U8PAT;                OR                        OFF                 !i 2016/
                                                                                                                                                                                                                    09:28 07/ 19j:                                                                                                         l,' , ,', ,', ,                                                    l,' , ,', ,', ,




                   I                         \(approve approval disapproval                                                                I USOCR;                                                               i                          i
                    I                        i disapprove) near10 (button swip$5                                                           I FPR8; EPO;                                                           i                          i
                   II                       !!gesture)
                                               near10 (network)
                                                                 and (dating match social)
                                                                                                                                          IIJPO;
                                                                                                                                             DERWENT;
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                    I,__________ __ _______J ____________________________________________________________________________________________J l__§_~=IQ_§__________ j ________________________) _________________ _.: __________________________)


                   I
                   Im                           1811! (profile
                                                      (present$3
                                                               userdisplay$3 provid$3)
                                                                    match person)  samenear20 IU&PGPUB;
                                                                                               U8PAT;                                                                                                                                                                                                                                      l,' ,' _          OR                                               l,' ,' _          OFF                                   i 2016/07/19!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        09:29     !
                   I                                                    ! (approve approval deny disapproval                                                                                                                                                            I USOCR;                                                                                                                                                                                      i           i
                   II                                                   !!disapprove) near10 (button swip$5
                                                                          gesture) and (dating match social)
                                                                                                                                                                                                                                                                        IIJPO;
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                   I                                                    i near10 (network)                                                                                                                                                                              I DERWENT;
                   I=      . . . . J.! (present$3 display$3 provid$3) near20 I!.§~=I_g_§
                   I810 I.181                                                            _________ j """""""""""".: """"""""'J """"""""""""'.:
                                                                             """""""""""""""""""""""""""""""""""""""""""""'J

                                                                              U&PGPUB; ! OR                        ! OFF      ! 2016/07/19!
                   I            I ! (profile user match person) same                                                               I U8PAT;               !                         !                    ! 09:29                     !
                   I            I ! ((approve approval deny disapproval                                                            I USOCR;               !                         !                    !                           !
                   I I !disapprove) near10 (button swip$5                                                                          IFPR8; EPO; !                                    !                    !                           !
                    I           I !gesture)) and (dating match social)                                                             I JPO;                 !                         !                    !                           !
                   I I ! near10 (network)                                                                                          I DERWENT; !                                     !                    !                           !
                   I~.I ..........J ...............................................................................................1~-§~=:_g_§__________: .........................: .................J...........................:
                   I811 . 184 ! (present$3 display$3 provid$3) near20 I U&PGPUB; ! OR                                                                                               ! OFF                !2016/ 07/ 19j
                   I                           i (profile$3 user$3 match$2 person$3)                                               I U8PAT;               !                         !                    \ 09:35                     !
                   I                          !same ( (approve approval deny                                                       I USOCR;               !                         !                    !                           !
                   I                          !disapproval disapprove) near10 (button I FPR8; EPO; !                                                                                !                    !                           !
                   I                          !swip$5 gesture)) and (dating match                                                  IJPO;                  !                         !                    !                           !
                    I                         !social) near10 (network)                                                            I DERWENT; !                                     !                    !                           !
                    I'""""" ~                                                """"""""""""""""""""""""""""""""""""""""""""""J         l__§_~=IQ_§__________j """"""""""""] """"""""j """""""""""""]

                   I812 14 ! retriev$3)          (present$3near5
                                                              display$3   (nextprovid$3second plurality)  load$3                   IU&PGPUB;
                                                                                                                                     U8PAT;                 OR                        OFF                i 2016/07/19!
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                    I                         ! near20 (profile$3 user$3 match$2                                                   I USOCR;                                                              i                           i
                   II                         !!disapproval
                                                 person$3) same ( (approve approval deny I FPR8; EPO;
                                                               disapprove) near10 (button IJPO;
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                    I                          \swip$5 gesture)) and (dating match                                                 I DERWENT; ,                                     ,                    ,                           ,
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                                               !social) near10 (network)
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                   I813 I66 ! (present$3 display$3 provid$3 load$3 I U&PGPUB; ! OR                                                                                                  ! OFF                ! 2016/07/19!
                    I I ! retriev$3) near5 (next second plurality) I U8PAT;                                                                               !                         !                    ! 09:36                     !
                    I I ! near20 (profile$3 user$3 match$2                                                                         I USOCR;               !                         !                    !                           !
                    I           I !person$3) same ( (approve approval deny I FPR8; EPO; !                                                                                           !                    !                           !
                   I I !disapproval disapprove) near10 (button IJPO;                                                                                      !                         !                    !                           !
                    I I !swip$5 gesture))                                                                                          I DERWENT; !                                     !                    !                           !
                    I~ .......... J_______________________________________________________________________________________________p_§~=I_g_§ ________ __: ________________________ _: ...................!...........................!
                    I814 I 135 ! (present$3 display$3 provid$3 load$3 I U&PGPUB; ! OR                                                                                               ! OFF                ! 2016/07/19!
                    I I ! retriev$3) near5 (profile$3 user$3                                                                       I U8PAT;               !                         !                    ! 09:37                     !
                    I I                        i match$2 person$3) same ((approve                                                  I USOCR;               !                         !                    i                           !
                    I I ! approval deny disapproval disapprove) I FPR8; EPO; !                                                                                                      !                    !                           !
                    I I ! near10 (button swip$5 gesture)) and IJPO;                                                                                       !                         !                    !                           !
                    I I ! (dating match social) near10 (network) I DERWENT; !                                                                                                       !                    !                           !
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                   1r816 lf832 !1"6480885" "7917448" "8060463"                                                                                                                                                                                                          11u&PGPUB;                                                         j~R![OFF                                                                                                                   !,12016/07/19j
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                                                                                                                                                    I USOCR;
                                                                                                                                                    I FPRS; EPO;
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                   I833 201 ! (add$3 populat$3 stor$3) near20                                                                                       I U&PGPUB;                         ! OR                                      ! OFF                                !2016/07/19!
                   I        ! (favor$3) near10 list and (remov$3                                                                                    I USPAT;                           !                                         !                                    ! 10:40    !
                   I        !delet$3) near20 (search) near5 result                                                                                  I USOCR;                           !                                         !                                    !          !
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                   I                             I                                                                                                  l~~~ENT;, I                                                                  I                                    I                             I
                   1----------· ..........      J____________________________________________________________________________________________...! ~-§~=I_g_§_________ j _________________________: _________________ j ___________________________:
                   I1834 226 ! (favor$3) and (remov$3
                               (add$3 populat$3          near20 near20 II U&PGPUB;
                                                 stor$3)delet$3)          USPAT;                                                                                                                         OR                                        OFF                !l 2016/07/19!
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                   IJ:=_J~~J~
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                   I835 1                         !i (favor$3)
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                                                               same (remov$3   delet$3)                                                             I U&PGPUB;
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                   I                             I    near20 (search) near5 result                                                                  I~~R~PO;                                                                                                          ,.··'II.·'
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                   I 836 I 17                     \ (add$3 populat$3 stor$3) near20                                                                 I U&PGPUB;                         ! OR                                      ! OFF                                \ 2016/07/19!
                   I              I               ! (favorite) same ((remov$3 delet$3)                                                              I USPAT;                           !                                         !                                    ! 10:41     !
                   I              I               ! near20 result )                                                                                 I USOCR;                           !                                         !                                    !           !
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                   I              I               ! (favorite liked) same ((remov$3 delet$3) I USPAT;                                                                                  !                                         !                                    ! 10:44     !
                   I              I               i near20 result )                          I USOCR;                                                                                  !                                         !                                    \           !
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                   I   ffi1 1                     113/804045 and stor$3                                                                            I~1=; I                                               OR                     I~ I~~\~07/                                                   W



                   I1.____________________JI___________________________________________________________________________________________JI                DERWENT;                      '                                         '
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EAST Search History
                              Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 71 of 187
                    ffi3              Tl 13/804045                              and skip$5                                                          I~;p~B; I                            OR                    I    OFF             I;~1;;07/W
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                                                               Application Number                                 15/016662

                                                               Filing Date                                     02/05/2016
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                                                               Examiner Name
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                                                               Attorney Docket Number                       076533.0150




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            3     8060463                                    2011-11-15            Spiegel


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                                                   Attorney Docket Number             076533.0150




             4   20060106780                      2006-05-18     Dagan




             5   20070073687                      2007-03-29     Terrill et al.




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             7   20080294624                      2008-11-27     Kanigsberg et al.




             8   20080301118                      2008-12-04     Chien et al.




             9   20090106040                      2009-04-23     Jones


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                  Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 74 of 187




                                                            Application Number

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             1      Searching Authority, or the Declaration with attached PCT International Search Report and Written Opinion of the                      ~
                    International Searching Authority in International Application No. PCT/US 08/87706, dated February 1 O, 2009, 8 pages.

If you wish to add additional non-patent literature document citation information please click the Add button
                                                               EXAMINER SIGNATURE
Examiner Signature        I     /Yuk Tina Choi/                                                    I Date Considered I 081n::i1?11i h
*EXAMINER: Initial if reference considered, whether or not citation is in conformance with MPEP 609. Draw line through a
citation if not in conformance and not considered. Include copy of this form with next communication to applicant.


1 See Kind Codes of USPTO Patent Documents at ~•.l!.Q.EI_Q.GOV or MPEP 901.04. 2 Enter office that issued the document, by the two-letter code (WIPO

Standard ST.3). 3 For Japanese patent documents, the indication of the year of the reign of the Emperor must precede the serial number of the patent document.
4 Kind of document by the appropriate symbols as indicated on the document under WIPO Standard ST.16 if possible. 5 Applicant is to place a check mark here i1

English language translation is attached.

                                                                                                               -~----




EFS Web 2.1.16
                       ALL REFERENCES CONSIDERED EXCEPT WHERE LINED THROUGH. iC.CJ
          Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 75 of 187




                                                                                        Ul\TfED STATES DEPA RTME'IT OF COMMERCE
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                                                                                                Alexandria, Virgmia 22313-1450
                                                                                                \VVi\V.USpto.gov


    APPLICATION NUMBER            FILING OR 3 71 (C) DATE               FIRST NAMED APPLICANT                      ATTY. DOCKET NO./TITLE

        15/016,662                    02/05/2016                             Sean Rad               076533.0150
                                                                                              CONFIRMATION NO. 9869
5073                                                                                  PUBLICATION NOTICE
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                                      111111111111111111111111]~!l]~~1~~1~~H~JIU~ 1111111111111111111111111111
SUITE 600
DALLAS, TX 75201-2980




Title:Matching Process System And Method
Publication No.US-2016-0154569-A 1
Publication Date:06/02/2016


                             NOTICE OF PUBLICATION OF APPLICATION
The above-identified application will be electronically published as a patent application publication pursuant to 37
CFR 1.211, et seq. The patent application publication number and publication date are set forth above.
The publication may be accessed through the USPTO's publically available Searchable Databases via the
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                                                            page 1of1
                 Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 76 of 187

                        PATENT APPLICATION FEE DETERMINATION RECORD                                                                   Application or Docket Number

                                                    Substitute for Form PT0-875                                                       15/016,662


                        APPLICATION AS FILED - PART I                                                                                                  OTHER THAN
                                          (Column 1)                      (Column 2)                       SMALL ENTITY                OR             SMALL ENTITY

              FOR                    NUMBER FILED                    NUMBER EXTRA                     RATE($)              FEE($)                 RATE($)            FEE($)

BASIC FEE
(37 CFR 1.16(a), (b), or (c))
                                              N/A                             N/A                       N/A                                         N/A               280
SEARCH FEE
(37 CFR 1.16(k), (i), or (m))
                                              N/A                             N/A                       N/A                                         N/A               600
EXAMINATION FEE
(37 CFR 1.16(0), (p), or (q))
                                              N/A                             N/A                       N/A                                         N/A               720
TOTAL CLAIMS
(37 CFR 1.16(i))
                                        15          minus 20=                                                                          OR     x      80       =      0.00
INDEPENDENT CLAIMS
(37 CFR 1.16(h))
                                         3          minus 3 =                                                                                 x     420       =      0.00
                                  If the specification and drawings exceed 100
APPLICATION SIZE                  sheets of paper, the application size fee due is
FEE                               $31 O ($155 for small entity) for each additional                                                                                  0.00
(37 CFR 1.16(s))                  50 sheets or fraction thereof. See 35 U.S.C.
                                  41 (a)(1 )(G) and 37 CFR 1.16(s).

MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))                                                                                                                    0.00
* If the difference in column 1 is less than zero, enter "O" in column 2.                              TOTAL                                       TOTAL             1600

                  APPLICATION AS AMENDED - PART II

                                                                                                                                                       OTHER THAN
                                 (Column 1)                      (Column 2)     (Column 3)                 SMALL ENTITY                OR             SMALL ENTITY
                                  CLAIMS                     HIGHEST
                                 REMAINING                    NUMBER                PRESENT                              ADDITIONAL                               ADDITIONAL
<(                                                                                                     RATE($)                                     RATE($)
                                   AFTER                    PREVIOUSLY               EXTRA                                 FEE($)                                   FEE($)
I-                              AMENDMENT                    PAID FOR
z
w               Total                             Minus
                                                           ..                   =
                                                                                                  x                =                   OR     x               =
~          (37 CFR 1.16(i))
0
z           Independent                           Minus
                                                           ...                  -
                                                                                                  x                =                   OR     x               =
           (37CFR 1.16(h))
w
~
<(       Application Size Fee (37 CFR 1.16(s))

         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))                                                               OR

                                                                                                       TOTAL                                       TOTAL
                                                                                                                                       OR
                                                                                                      ADD'L FEE                                   ADD'L FEE

                                 (Column 1)                      (Column 2)     (Column 3)
                                  CLAIMS                     HIGHEST
                                 REMAINING                    NUMBER                PRESENT                              ADDITIONAL                               ADDITIONAL
Ill                                                                                                    RATE($)                                     RATE($)
                                   AFTER                    PREVIOUSLY               EXTRA                                 FEE($)                                   FEE($)
I-                              AMENDMENT                    PAID FOR
z
w               Total                             Minus    ..                   =                 x                =
                                                                                                                                       OR     x               =
~
0
z
           (37 CFR 1.16(i))

            Independent                           Minus    ...                  =
                                                                                                  x                =                   OR     x               =
w          (37CFR 1.16(h))
~
<(       Application Size Fee (37 CFR 1.16(s))
                                                                                                                                       OR
         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))

                                                                                                       TOTAL                                       TOTAL
                                                                                                                                       OR
                                                                                                     ADD'L FEE                                    ADD'L FEE
        * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.
       ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
      *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
          The "Highest Number Previously Paid For" (Total or Independent) is the highest found in the appropriate box in column 1.
          Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 77 of 187




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  APPLICATION      FILING or    GRPART
    NUMBER        37l(c)DATE     UNIT       FIL FEE REC'D            ATTY.DOCKET.NO                         TOT CLAIMS IND CLAIMS
  15/016,662     02/05/2016      2611          1600                   076533.0150            15      3
                                                                                     CONFIRMATION NO. 9869
5073                                                                         FILING RECEIPT
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                             1111111111111111111111m~mmmm1~~~11~11111111111111111111111
SUITE 600
DALLAS, TX 75201-2980
                                                                                                      Date Mailed: 02/24/2016




Receipt is acknowledged of this non-provisional patent application. The application will be taken up for examination
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lnventor(s)
                   Sean Rad, Los Angeles, CA;
                   Jonathan Badeen, North Hollywood, CA;
Applicant( s)
                   Tinder, Inc., West Hollywood, CA;
Power of Attorney: None
Domestic Priority data as claimed by applicant
                  This application is a CON of 14/059,192 10/21/2013
                  which is a CIP of 12/339,301 12/19/2008 PAT 8566327
                  and claims benefit of 61/793,866 03/15/2013
Foreign Applications for which priority is claimed (You may be eligible to benefit from the Patent Prosecution
Highway program at the USPTO. Please see http://www.uspto.gov for more information.) - None.
Foreign application information must be provided in an Application Data Sheet in order to constitute a claim to
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          Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 78 of 187




The country code and number of your priority application, to be used for filing abroad under the Paris Convention,
is US 15/016,662

Projected Publication Date: 0610212016

Non-Publication Request: No

Early Publication Request: No
Title
             Matching Process System And Method
Preliminary Class
             345
Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition Applications: No

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                                                       page 2 of 3
          Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 79 of 187




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                                                       page 3 of 3
                 Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 80 of 187




                                                                                                                                                            PTOISB/08a (07-09)
Doc code: IDS
                                                                                                                        Approved for use through 07131/2012. OMB 0651-0031
Doc description: Information Disclosure Statement (IDS) Filed                                      U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                   Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.



                                                               Application Number
                                                               Filing Date
INFORMATION DISCLOSURE                                         First Named Inventor             I Sean Rad et al.
STATEMENT BY APPLICANT                                         Art Unit
( Not for submission under 37 CFR 1.99)
                                                               Examiner Name
                                                                                               I
                                                               Attorney Docket Number                     076533.0150




                                                                           U.S.PATENTS

                                                                                                                 Pages,Columns,Lines where
Examiner Cite                                      Kind                            Name of Patentee or Applicant
                  Patent Number                          Issue Date                                              Relevant Passages or Relevant
Initial* No                                        Code1                           of cited Document
                                                                                                                 Figures Appear



             1    6480885                                    2002-11-12            OLIVIER




             2    7917448                                    2011-03-29            Smola et al.




             3    8060463                                    2011-11-15            Spiegel



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                  Publication Number                                                                             Relevant Passages or Relevant
Initial* No                                       Code1 Date                       of cited Document
                                                                                                                 Figures Appear



             1    20050021750                                2005-01-27           Abrams




            2     20060059147                                2006-03-16           Weiss et al.




            3     20060085419                                2006-04-20            Rosen




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                    Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 81 of 187




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l
                                                       Application Number
I                                                      Filing Date
    INFORMATION DISCLOSURE                             First Named Inventor       J   Sean Rad et al.
    STATEMENT BY APPLICANT                             Art Unit
    ( Not for submission under 37 CFR 1.99)
                                                       Examiner Name              I
                                                       Attorney Docket Number               076533.0150




               4     20060106780                      2006-05-18     Dagan




               5     20070073687                      2007-03-29     Terrill et al.
                                                                                                          I



               6     20070073803                      2007-03-29     Terrill et al.




               7     20080294624                      2008-11-27     Kanigsberg et al.                    I
                                                                                                          I
                                                                                                          I
               8     20080301118                      2008-12-04     Chien et al.                         I

               9     20090106040                      2009-04-23     Jones


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                                                                                          Name of Patentee or
    Examiner Cite    Foreign Document       Country           Kind  Publication                                 where Relevant
                                                                                          Applicant of cited                          T5
    Initial* No      Number3                Code2i            Code4 Date                                        Passages or Relevant
                                                                                          Document
                                                                                                                Figures Appear


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                   Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 82 of 187




                                                            Application Number
                                                            Filing Date
INFORMATION DISCLOSURE                                      First Named Inventor         j Sean Rad et al.
STATEMENT BY APPLICANT                                      Art Unit
( Not for submission under 37 CFR 1.99)
                                                            Examiner Name
                                                                                         I
                                                            Attorney Docket Number               076533.0150




                    PCT Notification of Transmittal of the International Search Report and the Written Opinion of the International
             1      Searching Authority, or the Declaration with attached PCT International Search Report and Written Opinion of the                      cg]
                    International Searching Authority in International Application No. PCT/US 08/87706, dated February 10, 2009, 8 pages.


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Examiner Signature        I                                                                       I Date Considered I
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  Kind of document by the appropriate symbols as indicated on the document under WIPO Standard ST.16 if possible. 5 Applicant is to place a check mark here i·
English language translation is attached.




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         Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 83 of 187
ATTORNEY DOCKET NO.                                                    PATENT APPLICATION
076533.0150
                                                   1


             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re Application of:            Sean Rad et al.
Filed:                           Herewith
Title:                           lv!atching Process System and Method




Commissioner of Patents
P.O. Box 1450
Alexandria, VA 22313-1450



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have not been provided. To the extent applicable, documents other than U.S. patents, U.S.
non-published patent applications, and U.S. patent application publications are enclosed for
the convenience of the examiner.




18224130
        Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 84 of 187
ATTORNEY DOCKET NO.                                                PATENT APPLICATION
076533.0150
                                               2


                                          REMARKS

           Pursuant to 37 C.F.R. § l.97(b), Applicants believe this Supplemental IDS is being
filed before the mailing date of the first Office Action. Therefore, Applicants believe no fee
is currently due for this submission.     However, if a fee is required, the Commissioner is
hereby authorized to charge any necessary fees and credit any overpayments to Deposit
Account No. 02-0384 of Baker Botts L.L.P.
                                                     Respectfully submitted,

                                                     Baker Botts L.L.P.
                                                     Attorneys for Applicants

                                                      /4.2,,_ ___:__
                                                     Roshan S. Mansinghani
                                                     Reg. No. 62,429
                                                     Tel. 214.953.6737

Date:      February 5, 2016

Correspondence Address:

at Customer No.          05073




18224130
                Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 85 of 187

                                                                                                              Page I 0 f I
PT0-1449                                            Application No.        Applicant(s)
                                                                           Sean Rad et al.
   Information Disclosure Citation                  Docket Number          Group Art Unit     Filing Date
          in an Application
                                                    076533.0150

                                                  U.S. PATENT DOCUMENTS


             DOCUMENT NO.             DATE                   NAME                CLASS        SUBCLASS      FILING DATE
     A           8,566,327         10/22/2013            Carrico et al.
     B
     c
     D


                                                U.S. PUBLICATION DOCUMENTS


             DOCUMENT NO.             DATE                   NAME                CLASS        SUBCLASS      FILING DATE
     E        2014/0074824         03/13/2014              Rad et al.
     F
     G
     H


                                                  NON-PATENT DOCUMENTS


                            DOCUMENT (Including Author, Title, Source, and Pertinent Pages)                    DATE
      I     Chegg® Blog, Chegg® Product Updates, "Introducing the Chegg Flashcards App,"                      Dated
            http://blog.chegg.com/2012/02/03/introducing-the-chegg-flashcards-app/, 10 pages                02/03/2012
                                                                                                              Printed
                                                                                                            02/05/2016
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EXAMINER                                                        DA TE CONSIDERED


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U.S. Patent and Trademark Office
Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 86 of 187



 ATTORNEY DOCKET NO.                                                      DECLARATION AND
 076533.0150                                                            POWER OF ATTORNEY




                        DECLARATION AND POWER OF ATTORNEY


          As a below named inventor, I hereby declare:
          that my residence and post office address, are as stated below next to my name;
          that I believe I am the original and sole inventor (if only one name is listed below) or
 an original and joint inventor (if plural names are listed below) of the subject matter which is
claimed and for which a patent is sought on the invention, design or discovery in an
application entitled Mate/ting Process System and Method, of which (check one):
                  _x_ is attached hereto; or
                      was filed on _ _ _ _ _ _ _as Application Serial No. _ _ _ __
and was amended on _ _ (if applicable);
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Active 17095593
Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 87 of 187



 ATTORNEY DOCKET NO.                                                     DECLARATION AND
 076533.0150                                                           POWER OF ATTORNEY

                                                 2


          I hereby appoint:



                  Practitioners at Customer Number   05073

 all of the firm of BAKER BOTTS u.r., my attorneys with full power of substitution and
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          Send Correspondence To:                              Direct Telephone Calls To:
          Chad C. Walters                                      Chad C. Walters
          The above-mentioned Customer Number                  at 214.953.6511


          I hereby declare that all statements made herein of my own knowledge are true and
 that all statements made on information and belief are believed to be true; and further that
 these statements were made with the knowledge that willful false statements and the like so
 made are punishable by fine or imprisonment of not more than five years, or both, under
 Section I 001 of Title 18 of the United States Code, and that such willful false statements may
 jeopardize the validity of the application or any patent issuing thereon.




Active 17095593
Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 88 of 187



 ATTORNEY DOCKET NO.                                                 DECLARATION AND
 076533.0150                                                       POWER OF ATTORNEY

                                             3




 Title of Invention:               Matching Process System and Method


 Full name of inventor:            Sean Rad




 Inventor's signature

                                      01 /20/2015
 Date


 Residence (City, County, State)   Los Angeles, California


 Post Office Address               2341 Weybridge Lane
                                   Los Angeles, California 90077




Active 17095593
Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 89 of 187



 ATTORNEY DOCKET NO.                                                DECLARATION AND
 076533 .0150                                                     POWER OF ATTORNEY

                                            4


 Title of Invention:                Matching Process System and Method


 Full name of inventor:             Jonathan Badeen




 Inventor's signature

                                    7
 Date                               2/4/16

. Residence (City, County, State)   No1th Hollywood, California


; Post Office Address               11201 Otsego St. #400
                                    North Hollywood, California 91601




 Active I 7095593
                 Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 90 of 187



                                    Electronic Patent Application Fee Transmittal

 Application Number:

 Filing Date:




 Title of Invention:                                   Matching Process System And Method




 First Named Inventor/Applicant Name:                  Sean Rad


 Filer:                                                Roshan Suresh Mansinghani/Laurie Scott


 Attorney Docket Number:                               076533.0150


 Filed as Large Entity


Filing Fees for Utility under 35 USC 111 (a)


                                                                                                         Sub-Total in
                              Description                     Fee Code        Quantity          Amount
                                                                                                           USO($)


 Basic Filing:


                         Utility application filing               1011            1              280         280


                            Utility Search Fee                    1111            1              600         600


                         Utility Examination Fee                  1311            1              720         720


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:
            Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 91 of 187
                                                                                  Sub-Total in
                     Description               Fee Code   Quantity     Amount
                                                                                    USO($)


Post-Allowance-and-Post-Issuance:


Extension-of-Time:


Miscellaneous:


                                                     Total in USO($)            1600
             Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 92 of 187
                                      Electronic Acknowledgement Receipt

                         EFSID:                                24835877


                  Application Number:                          15016662


         International Application Number:

                  Confirmation Number:                         9869




                    Title of Invention:                        Matching Process System And Method




       First Named Inventor/Applicant Name:                    Sean Rad


                   Customer Number:                            5073


                           Filer:                              Roshan Suresh Mansinghani/Laurie Scott


                   Filer Authorized By:                        Roshan Suresh Mansinghani


               Attorney Docket Number:                         076533.0150


                      Receipt Date:                            05-FEB-2016


                       Filing Date:

                      Time Stamp:                              13:54:57


                    Application Type:                          Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                         yes

Payment Type                                                  Deposit Account

Payment was successfully received in RAM                      $1600

RAM confirmation Number                                        167

Deposit Account                                                020384

Authorized User                                                BAKER & BOTIS, LLP

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      Charge any Additional Fees required under 37 CFR 1.16 (National application filing, search, and examination fees)

      Charge any Additional Fees required under 37 CFR 1.17 (Patent application and reexamination processing fees)
               Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 93 of 187




File Listing:
 Document                                                                                         File Size(Bytes}/                          Multi              Pages
                        Document Description                            File Name
  Number                                                                                          Message Digest                            Part /.zip        (if appl.)

                                                                                                             458406
       1                 Application Data Sheet                   0765330150ADS020516.PDF                                                      no                 7
                                                                                            7fdb 71 cfS 7e405 e9837 48bccd SS 5 eOacae 35
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Warnings:
Information:

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                                                  Specification                                                    1                                     55



                                                     Claims                                                       56                                     63



                                                    Abstract                                                      64                                     64


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                   Drawings-only black and white line
       3                                                       0765330150Dwgs020516.PDF                                                        no                 11
                              drawings
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                                                               0765330150Pre1Amend020516.
      4                                                                                                                                        yes                9
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                                          Preliminary Amendment                                                    1                                     1



                                                  Specification                                                    2                                     2



                                                     Claims                                                        3                                     8
               Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 94 of 187
                      Applicant Arguments/Remarks Made in an Amendment                                      9                               9


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     5                                                    07653301501DS020516.PDF                                                 yes            4
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                        Information Disclosure Statement (IDS) Form (SB08)                                  2                               4


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                                                          0765330150SupplDS020516.
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                        Information Disclosure Statement (IDS) Form (SB08)                                  3                               3


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     7                Non Patent Literature                                                                                           no         10
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     8               Oath or Declaration filed            0765330150Decl020516.PDF                                                    no         4
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                                                                                                         34393
     9                Fee Worksheet (SB06)                        fee-info.pdf                                                        no         2
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             Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 95 of 187
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New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                 Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 96 of 187
                                                                                                                                                      PTO/AIA/14 (12-13)
                                                                                                                    Approved for use through 01/31/2014. OMS 0651-0032
                                                                                                   U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                                       Attorney Docket Number                  076533.0150
  Application Data Sheet 37 CFR 1.76
                                                                       Application Number

  Title of Invention          Matching Process System and Method

 The application data sheet is part of the provisional or nonprovisional application for which it is being submitted. The following form contains the
 bibliographic data arranged in a format specified by the United States Patent and Trademark Office as outlined in 37 CFR 1.76.
 This document may be completed electronically and submitted to the Office in electronic format using the Electronic Filing System (EFS) or the
 document may be printed and included in a paper filed application.



Secrecy Order 37 CFR 5.2
  D Portions or all of the application associated with this Application Data Sheet may fall under a Secrecy Order pursuant to
        37 CFR 5.2 (Paper filers only. Applications that fall under Secrecy Order may not be filed electronically.)

Inventor Information:
 Inventor  1                                                                                                                    I Remove I
 Legal Name

  Prefix Given Name                                              Middle Name                                   Family Name                                         Suffix
            Sean                                                                                               Rad
  Residence Information (Select One) @ US Residency                                      0     Non US Residency           0 Active US Military Service
 City       Los Angeles                                 I State/Province I CA                   I Country of ResidencJ I US

Mailing Address of Inventor:

 Address 1                                 2341 Weybridge Lane

 Address 2
 City             I Los Angeles                                                              I State/Province             I CA
 Postal Code                           I   90077
                                                                                   I Countryi              1   us
 Inventor 2                                                                                                                     I Remove I
 Legal Name
                                                                                    ·'

 Prefix Given Name                                               Middle Name                                   Family Name                                         Suffix
            Jonathan                                                                                           Badeen
  Residence Information (Select One) @ US Residency                                      0    Non US Residency            0 Active US Military Service
 City       North Hollywood
                                                        I State/Province I CA                   I Country of ResidencJ I us

Mailing Address of Inventor:

 Address 1                                 11201 Otsego St. #400

 Address 2
 City
---               I North Hollywood                                                          I State/Province             I CA                                          ·-
 Postal Code                           1   91501                                   I Countryi              1   us
 All Inventors Must Be Listed - Additional Inventor Information blocks may be
 generated within this form by selecting the Add button.                                                                                 I Add        I

Correspondence Information:
 Enter either Customer Number or complete the Correspondence Information section below.
 For further information see 37 CFR 1.33(a).

EFS Web 2.2.11
                 Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 97 of 187
                                                                                                                                                          PTO/AIA/14 (12-13)
                                                                                                                     Approved for use through 01/31/2014. OMB 0651-0032
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                                                                       Attorney Docket Number                  076533.0150
 Application Data Sheet 37 CFR 1.76
                                                                       Application Number

 Title of Invention        I Matching Process System and Method
 D An Address is being provided for the correspondence Information of this application.
 Customer Number                         05073

 Email Address                            ptomail1@bakerbotts.com
                                                                                                                        I I Add Email I              IRemove Email I
Application Information:
 Title of the Invention                     Matching Process System and Method

 Attorney Docket Number 076533.0150
                                                                                            I Small Entity Status Claimed D
 Application Type                           Nonprovisional

 Subject Matter                             Utility

 Total Number of Drawing Sheets (if any)                           I 11                      I Suggested Figure for Publication (if any) I
Filing By Reference :
                                                                                     ...
Only complete this section when filing an application by reference under 35 U.5.C. 111 (c) and 37 CFR 1.57(a). Do not complete this section if
application papers including a specification and any drawings are being filed. Any domestic benefit or foreign priority information must be
provided in the appropriate section(s) below (i.e., "Domestic Benefit/National Stage Information" and "Foreign Priority Information").

For the purposes of a filing date under 37 CFR 1.53(b), the description and any drawings of the present application are replaced by this
reference to the previously filed application, subject to conditions and requirements of 37 CFR l .57(a).
                                                                                                                                                                         i-
 Application number of the previously                     Filing date (YYYY-MM-DD)                                     Intellectual Property Authority or Country
  filed application




 Publication Information:
 D     Request Early Publication (Fee required at time of Request 37 CFR 1.219)

       Request Not to Publish. I hereby request that the attached application not be published under
       35 U.S.C. 122(b) and certify that the invention disclosed in the attached application has not and will not be the
 D     subject of an application filed in another country, or under a multilateral international agreement, that requires
       publication at eighteen months after filing.




Representative Information:
                                                                                    J'

 Representative information should be provided for all practitioners having a power of attorney in the application. Providing
 this information in the Application Data Sheet does not constitute a power of attorney in the application (see 37 CFR 1.32).
 Either enter Customer Number or complete the Representative Name section below. If both sections are completed the customer
 Number will be used for the Representative Information during processing.




 Please Select One:                   (!)     Customer Number             I 0 US Patent Practitioner              10 Limited Recognition (37 CFR 11.9)
 Customer Number                       05073




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                 Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 98 of 187
                                                                                                                                                          PTO/AIA/14 (12-13)
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                                                                       Attorney Docket Number                  076533.0150
 Application Data Sheet 37 CFR 1. 76
                                                                       Application Number

 Title of Invention        I Matching Process System and Method

Domestic Benefit/National Stage Information:
This section allows for the applicant to either claim benefit under 35 U.S.C. 119(e), 120, 121, or 365(c) or indicate National Stage
entry from a PCT application. Providing this information in the application data sheet constitutes the specific reference required
by 35 U.S.C. 119(e) or 120, and 37 CFR 1.78.
When referring to the current application, please leave the application number blank.

    Prior Application Status              Pending                                                                                        I Remove I
      Application Number                             Continuity Type                     Prior Application Number                  Filing Date (YYYY-MM-DD)
                                          Continuation of                               14/059192                               2013-10-21

    Prior Application Status              Patented                                                                                       I Remove I
     Application                                                 Prior Application              Filing Date                                          Issue Date
                                  Continuity Type                                                                         Patent Number            (YYYY-MM-DD)
      Number                                                         Number                   (YYYY-MM-DD)
 14/059192                 Continuation in part of            12/339301                    2008-12-19                     8566327                2013-10-22

    Prior Application Status              Expired                                                                                        I Remove j
     Application Number                             Continuity Type                      Prior Application Number                  Filing Date (YYYY-MM-DD)
 14/059192                                Claims benefit of provisional                 61/793866                               2013-03-15
 Additional Domestic Benefit/National Stage Data may be generated within this form
 by selecting the Add button.

Foreign Priority Information:
This section allows for the applicant to claim priority to a foreign application. Providing this information in the application data sheet
constitutes the claim for priority as required by 35 U.S.C. 119(b) and 37 CFR 1.55(d). When priority is claimed to a foreign application
that is eligible for retrieval under the priority document exchange program (PDX) 1 the information will be used by the Office to
automatically attempt retrieval pursuant to 37 CFR 1.55(h)(1) and (2). Under the POX program, applicant bears the ultimate
responsibility for ensuring that a copy of the foreign application is received by the Office from the participating foreign intellectual
property office, or a certified copy of the foreign priority application is filed, within the time period specified in 37 CFR 1.55(g)(1 ).

                                                                                                                                         I Remove     J


     Application Number                                Countryi                   Filing Date (YYYY-MM-DD)                         Access Codei (if applicable)


 Additional Foreign Priority Data may be generated within this form by selecting the
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             Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 99 of 187
                                                                                                                                                          PTO/AIA/14 (12-13)
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                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                                       Attorney Docket Number                  076533.0150
 Application Data Sheet 37 CFR 1. 76
                                                                       Application Number

 Title of Invention           Matching Process System and Method




Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition
Applications

      This application (1) claims priority to or the benefit of an application filed before March 16, 2013 and (2) also
      contains, or contained at any time, a claim to a claimed invention that has an effective filing date on or after March
 D 16,2013.
      NOTE: By providing this statement under 37 CFR 1.55 or 1.78, this application, with a filing date on or after March
      16, 2013, will be examined under the first inventor to file provisions of the AIA.




Authorization to Permit Access:
[SJ Authorization to Permit Access to the Instant Application by the Participating Offices
If checked, the undersigned hereby grants the USPTO authority to provide the European Patent Office (EPO),
the Japan Patent Office (JPO), the Korean Intellectual Property Office (KIPO), the World Intellectual Property Office (WIPO),
and any other intellectual property offices in which a foreign application claiming priority to the instant patent application
is filed access to the instant patent application. See 37 CFR 1.14(c) and (h). This box should not be checked if the applicant
does not wish the EPO, JPO, KIPO, WIPO, or other intellectual property office in which a foreign application claiming priority
to the instant patent application is filed to have access to the instant patent application.

In accordance with 37 CFR 1.14(h)(3), access will be provided to a copy of the instant patent application with respect
to: 1) the instant patent application-as-filed; 2) any foreign application to which the instant patent application
claims priority under 35 U.S.C. 119(a)-(d) if a copy of the foreign application that satisfies the certified copy requirement of
37 CFR 1.55 has been filed in the instant patent application; and 3) any U.S. application-as-filed from which benefit is
sought in the instant patent application.

In accordance with 37 CFR 1.14(c), access may be provided to information concerning the date of filing this Authorization.




Applicant Information:

 Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Title 37 of CFR
 to have an assignment recorded by the Office.




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             Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 100 of 187
                                                                                                                                                          PTO/AIA/14 (12-13)
                                                                                                                     Approved for use through 01/31/2014. OMB 0651-0032
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                                       Attorney Docket Number                  076533. 0150
 Application Data Sheet 37 CFR 1. 76
                                                                       Application Number

 Title of Invention           Matching Process System and Method



 Applicant         1
If the applicant is the inventor (or the remaining joint inventor or inventors under 37 CFR 1.45), this section should not be completed.
The information to be provided in this section is the name and address of the legal representative who is the applicant under 37 CFR
1.43; or the name and address of the assignee, person to whom the inventor is under an obligation to assign the invention, or person
who otherwise shows sufficient proprietary interest in the matter who is the applicant under 37 CFR 1.46. If the applicant is an
applicant under 37 CFR 1.46 (assignee, person to whom the inventor is obligated to assign, or person who otherwise shows sufficient
proprietary interest) together with one or more joint inventors, then the joint inventor or inventors who are also the applicant should be
identified in this section.
                                                                                                                      Clear
                                                                                                                                           I             I
® Assignee                                       lo       Legal Representative under 35 U.S.C. 117
                                                                                                                             lo      Joint Inventor

0    Person to whom the inventor is obligated to assign.
                                                                                         lo        Person who shows sufficient proprietary interest

If applicant is the legal representative, indicate the authority to file the patent application, the inventor is:


                                                                                                                               I
Name of the Deceased or Legally Incapacitated Inventor                           :I
 If the Applicant is an Organization check here.                           [SJ
 Organization Name
                                 I Tinder, Inc.
 Mailing Address Information For Applicant:
 Address 1                               8899 Beverly Blvd.

 Address 2

 City                                    West Hollywood                                    State/Province                 CA

 Count..Y    I US                                                                          Postal Code                    90048

 Phone Number                                                                              Fax Number

 Email Address


Additional Applicant Data may be generated within this form by selecting the Add button.




Assignee Information including Non-Applicant Assignee Information:

Providing assignment information in this section does not subsitute for compliance with any requirement of part 3 of Title 37 of CFR to
have an assignment recorded by the Office.


  Assignee          1
Complete this section if assignee information, including non-applicant assignee information, is desired to be included on the patent
application publication . An assignee-applicant identified in the "Applicant Information" section will appear on the patent application
publication as an applicant. For an assignee-applicant, complete this section only if identification as an assignee is also desired on the
patent application publication.


 If the Assignee or Non-Applicant Assignee is an Organization check here.                                                                      D
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             Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 101 of 187
                                                                                                                                                          PTO/AIA/14 (12-13)
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                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                                       Attorney Docket Number                  076533.0150
 Application Data Sheet 37 CFR 1.76
                                                                       Application Number

 Title of Invention         I Matching Process System and Method
                                                                                      -

 Prefix                              Given Name                         Middle Name                        Family Name                        Suffix



Mailing Address Information For Assignee including Non-Applicant Assignee:

 Address 1
 Address 2
 City                                  I                                                   State/Province
 Countryi            I                                                                     Postal Code

 Phone Number                                                                              Fax Number

 Email Address

Additional Assignee or Non-Applicant Assignee Data may be generated within this form by
selecting the Add button.


Signature:
 NOTE: This form must be signed in accordance with 37 CFR 1.33. See 37 CFR 1.4 for signature requirements and
 certifications.

 Signature                   /e
                         /~ ---Z~/
                                       ,,<"'"/L---~'                                                           Date (YYYY-MM-DD)                  2016-02-05

 First Name              Roshan S.              I Last Name I Mansinghani                                      Registration Number                62429

 Additional Signature may be generated within this form by selecting the Add button.


This collection of information is required by 37 CFR 1. 76. The information is required to obtain or retain a benefit by the public which
is to file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This
collection is estimated to take 23 minutes to complete, including gathering, preparing, and submitting the completed application data
sheet form to the US PTO. Time will vary depending upon the individual case. Any comments on the amount of time you require to
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EFS Web 2.2.11
             Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 102 of 187




                                                          Privacy Act Statement




 The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your submission of the attached form related to
 a patent application or patent. Accordingly, pursuant to the requirements of the Act, please be advised that: (1) the general authority for the collection
 of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which the information is
 used by the U.S. Patent and Trademark Office is to process and/or examine your submission related to a patent application or patent. If you do not
 furnish the requested information, the U.S. Patent and Trademark Office may not be able to process and/or examine your submission, which may
 result in termination of proceedings or abandonment of the application or expiration of the patent.

 The information provided by you in this form will be subject to the following routine uses:

      1.        The information on this form will be treated confidentially to the extent allowed under the Freedom of Information Act (5 U.S.C. 552)
           and the Privacy Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the Department of Justice to determine
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 2.       A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a court, magistrate, or
      administrative tribunal, including disclosures to opposing counsel in the course of settlement negotiations.

      3.         A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a request involving an
           individual, to whom the record pertains, when the individual has requested assistance from the Member with respect to the subject matter of
           the record.

      4.        A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need for the information in
           order to perform a contract. Recipients of information shall be required to comply with the requirements of the Privacy Act of 1974, as
           amended, pursuant to 5 U.S.C. 552a(m).

      5.        A record related to an International Application filed under the Patent Cooperation Treaty in this system of records may be disclosed,
           as a routine use, to the International Bureau of the World Intellectual Property Organization, pursuant to the Patent C o o p eration Treaty.

      6.        A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of National Security
           review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

      7.        A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services, or his/her designee,
           during an inspection of records conducted by GSA as part of that; agency's responsibility to recommend improvements in records
           management practices and programs, under authority of 44 u.s:c: 2904 and 2906. Such disclosure shall be made in accordance with the
           GSA regulations governing inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive. Such
           disclosure shall not be used to make determinations about individuals.

      8.        A record from this system of records may be disclosed, as a routine use, to the public after either publication of the application pursuant
           to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37
           CFR 1.14, as a routine use, to the public if the record was filed in an application which became abandoned or in which the proceedings were
           terminated and which application is referenced by either a published application, an application open to public inspections or an issued
           patent.

      9.      A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law enforcement agency, ifthe
           USPTO becomes aware of a violation or potential violation of law or regulation.




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                                                    lf:ATCHING PROCESS SYSTEM 11-.ND METHOD


        ~.:§I:0:!~~R"__~E.~f'..!:.g~-~.:f-2.!:!
                          This application is a                                   continuation-i.n-pax.-t of Serial
        No.               12/339,301,                               entitled      "MATCHING       PROCESS        SYSTEM        AND
        METHOD,"                         Attorney's DocJ.;.:et                    076533. 01.30    filed December 19,
 5      2008.
                          This                   application               cl.aims     benefi.t     under            35     U.S.C.
        §      11.9(e)                        to             U.S,     Provisional        Application         Serial            No.
        61/793, 866,                                 entitled          "SOCIAL :M...l\TCHING SYSTEM AND METHOD,"
        Attorney's Docket 076533.0l46,                                                filed March 15,            2013.
10
        TECHNICAL                             FIELD
        -------··-----------·--·-------------------------------··
                          This                      invention              relates       generally          to            computer
        matching                             systems                 and   more     particularly       to        a        matching
        process system and method.
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                Networki.ng           architectures                  have        grown         increasingly
        complex in communicat.i.ons environments.                                        In recent years,
        a     series         of     protocols             and     configurations                  have     been
 5      de\reloped in order to accommodate a                                   di verse group of end
        users      hav:i.ng        various       networki.ng            needs.            Many       of    these
        architectures              have     ga.ined         significant              :notoriety       because
        they     can      offer      the    benef:i.t.s         of    automation,              convenience,
        management,           and enhanced consumer selections.
10               Certain          network       protocols            may       be      used    in    order     to
        allow       an       end    user        to       conduct          an        on-line         search     of
        candidates           to fill a          given vacancy.                   These protocols may
        relate       to      job     searches,            person        finding           services,          real
        estate      searches,          or    on-line            dating.             While      some   believe
1.5      that on-Line dating is simply a                             matter of matching supply
        and    demand,         there       is    statistical              a:nd      empirical         evidence
         to   su9gest         that        successful            on- line         dating        entails        far
        more.
                 For e:xa.mple,           people having similar and/or compatible
2O      character           traits     and      values          shO'uld be             matched       together.
        However,            effectively          linking          two      participants               together
        can. prove          to be     a    challen.gi.ng             endeavor.            Coordinating a.
         relationship between tv.ro like-minded .ind.iv:Lduals can be a
         significant chore,                as there are a                 number of obstacles and
25      barriers that must be overcome.
                 One        problem        that          has     arisen             is     that       matching
         serv1-ces are limited to searching for matches only within
         their     own       platform.                'l'hus,    only      people          who      have     gone
         through       the        process       0-r     signing       up       fo1:-     the   service        are
30       searched for a match.                    One solution to this problem is to
        have      users           register        in       multi.ple           services.              This     is
        problematic               because         it       can       be        expensive            and      time
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       consuming      for    users .       Further,      the       user must           then visit
       all of the services to monitor the search                               progress~           this
       inefficiency         may   cause        users    to    give        up    on     the       search
       process.
 5           Another prohl.em i.s              that the       search results               or     these
       services       contain        many        irrelevant              entities            to     the
       seaxcher.       This       costs    the    user       of    the    service          ti.me    a.nd
       may deter them from cont.inu.ing through all of the search
       results.
10           Another        problem       is    that.   large       numbers          o.f    unwanted
       communication. requests can become a                        nuisance to t:he user.
       Too   rnany    nuisance         requests         may       deter        the      user       from
       further       use    of     the     system.                Users        wi.th       the     most
       attractive profiles are oftentimes                         the ones         that      receive
15     the most unwanted attention.                     If the users with the most
       attractive profiles cease to use                       the    system,           the quality
       of the user pool deteriorates.
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                        In         one         embodiment,                a        method             for    profile       matching
       comprises                          receiving          a     plurality                     of    user       p:r:ofiles,        each
       user proi':ile comprising traits                                                  of       a    respect.ive user.                 rt
 5     also               comprises                   receiving               a       preference             indication           for      a
       first user profile of the plurality of user profiles.                                                                             It
       further                      comprises            determining                         a        potential         match        user
       profile                     o.f.    th.e       plurality           of           user       profiles          based      on      the
       preference                         indication               .for           the    first          user       profile.            The
lO     method also comprises presenting the potential match                                                                          l.lse:i::

       profile to a                            second user.
                        Receiving                 a    preference                     indication             for    a    first       use:c
       profile                      may         incTude            receiving                     from        a     third       user        a
       recommendation                             of    the        first              user        profile         for    the    second
15     user.                      It may also include receiving from the second user
       a      preference                       indication for                      the first. user profile.                            The
       method may further include determining a                                                                  score of a         third
       u.ser               profile              of      the        plurality                     of    user       profiles          as      a
       potential match for the second user.                                                             It may also include
20     altering the score of the third user. prof.:U.e based on the
       pr.·eference i.ndicaL:ion for the fi:cst user profil.e.
                        In a:r1othex· embodiment,                                 a     method for profile matching
       comprises                          receiving           a    plurality                     of     user      profiles,          each
       user profile comprising traitB of a                                                            respective user.                 'l'he
25     method                     further         comprises             receiv:i.ng a. request                          for matches
        from a                    first user,            the first user associated with a                                           first
       user                profile.                    The        method              also        comprises             scoring          the
       p1u:rality                         of    user     profiles                     :for       potent:Lal        matching          with
       the            first               user based on                 comparisons                     of       the plurality of
30     user                profiles               with        the         first              user       profile.            It:      also
       comprises                          identifying               a             second           user          profile       of        the
       plurality of                            user prof ilea                     ae     a       potential         match       for     the
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       first    user      based      on      the       scoring.              The    method        further
       comprises         identifying             commonality            between      a        third     user
       profile of        the pJ.urality of user profiles and the second
       user     profile ..              In       addition,          the       method           comprises
 5     presenting to         the     first        user the third user profile as a
       potential match for the first user.
               Depending        on       thf.~     specific             features         implemented,
       particular embodiments may exhibit                               some,      none,       or a.1.1   o.f.
       the    following      technical            advantages.                Various       embodiments
10     may     be    capable       of        dynamically           updating          match           search
       results      based on user activity.                       Some embodiments may be
       capable of enhancing match search resu.1ts by reducing the
       impact       of   restrictive             user       preferences.                 In    ad.di.t:Lon,
       some    embodiments may provide                      the   ability to             evaluate         the
l5     attractiveness of potential matches.                                  Various embodiments
       may     be   ca.pab1.e      of     .importing          u.ser      profiles             from    other
       socia1-net<.r.rorking            systems.             Some        embodiments              may      be
       capable      of    generating             the    pool      of.    users      based        on     both
       explicit      and   implicit           criteria derived from other                            soc.ial
20     networking        systems.            Other      technical            advantages          will      be
       read.ily      apparent        to      one       skilled          in    U1e    art        from      the
       following figures,               description and claims.
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       ~~-I-~E:----~-~.es:g~:fR~~g~____9_~---.'.~:~.!?....P.~!~-~~~-~
                Reference            i.s    now       made        to     the      following        description
       taken         in     conjunct. ion              w.i. th        t,he       accompanying          drawings,
       where.in like               reference numbers represent                             like parts,             and
 5     which:
                FIGURE        J.A     :Ls       an    overview           of      one     embodiment         of     the
       matching system;
                FIGURE        1.B     shows           the    contents             of    the     terminal          from
       FIGURE        :LA;
10              FIGOT-{E      :Le shows              the    contents             of    the matching server
       from FIGURE lA;
                FIGURE lD is a                      di.agram of a             database         from FIGURE          ic
       showing one embodiment of how a                                       matching server stores a
       pool;
15              FIGURE lE is a                      diagram of the display from FIGURE lB
       showing         one         embodiment               of        the     presentation             of     search
       results to a               user;
                FIGURE 1.P is a                     diagram of the display .f.rom FIGURE lB
       showing one            embodiment of                  the presentation. of details of
20     a match result entity to a user;
                FIGURE         2     is         a    diagram           depicting          how     a     1..rner    ma.y
       recommend an entity to another user,                                           in accordance with a
       part.icular embodiment;
                FIGURE        3     .is a       diagram of             the display from FIGURE 1B
25     depicting            how       the            user        may        be    made         aware     of       fa.te
       characteristics                   the         user        shares           with     a     match        result
       entity,        in accordance with a particular embodiment;
                FIGURE        4     is      a       diagram           depicting         how     t.wo   platforms
       may      be        searched          for        a     match,              in    accordance           with     a
30     particular embodiment;
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               FIGURE        5     is       a        flow    chart             indicating         how       a       result
       list    may      be       generated,                in    accordance             with          a    particular
       embodiment;
               FIGURE 6          shows one embodiment of                               the mat:chi.:ng system
 5     displayin.g to a                user          the    profile                information of           a       second
       user;
               FIGURE        7    is    a        diagram of               the       display       from      FIGURE       6
       showing t:he effect of a                         left swipe gesture;
               FIGURE        8    is    a        diagram of               the       display       f.rom     FIGURE       6
10     showing the effect of a                         rig-ht swipe gesture;
               FIGURE        9      shows             the       matching             system       displaying             a
       match     of     a    first:         \.lSer     and      a     second          user,       in       accordance
       with a    particular embodiment;
               FIGURE        10        is        a    flo'"'ichart             depicting          a       met.hod      for
15     enabling       communication between                               two       users    of       the matching
        system    o:t       FIGURE               1    based          on        a    mutual     expression               of
        approval.,      :i.n accordance w:Lth a particular embodiment;
               FIGURE        1.l       is        a    flowchart                depicting          a       method       for
        enabling      communication between                                   two users      of       the    matching
20      system    of        FIGURE          1.       based      on        a    user     suggested            matchin~J

       proposa1,        in accordance wi.t:h a                        particular embodiment;                          and
               FIGURES             12A···D            depict              embod i.rnen t r1           of        a     user
        interface.
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       P~~~~:?.:.~.~~P.... P~.?..q~~.R.'£.?;.9.~
                 Referring to F'IGURE 1.A,                             one embodiment of a matching
       system is shown..                        FIGURE 1A is a               simplified block diagram
       of            system              1.00    for        facilitating                   an        on-line        dating
 5     scenario in. a                 network env.i ronment .                       In other embodiments,
       system 100                can be         leveraged to                 i.denti.fy and to evaluate
       suitable                   candidates                   in            other                   areas               (e.g.
       hiring/employment,                          recruiting,                  :re<.:tl        estate,           general
       person             searches,             etc.).                 tJsers       1.4         int.:eract        with       a
10     matching server 20                        through terminals                     J.O.          FIGURE lB is a
       diagram             showing,             in     one         embodiment,                  the     contents            of
       terminal            J.O.       Terminal 10 comprises interface 1.6                                      (so t.hat:
       user       l4      may         be    able       to    intera.ct           with           terminal          l"
                                                                                                                   V}'    and
       display            1.2.           FIGURE        lC    is        a     diagram             showing,          in     one
lS     embodiment,                the contents of matching server 20.                                          Matching
       server          20       comprises            memory        26      and     at       least       one       CPU      28,
       Memory 26 may store multiple databases,                                                  such as databases
       26a      and         26b.           Terminal          1.0       and    matching               server        20      are
       communicatively                      coupled         vi.a       network             connections             22      and
20     :n.f.~twork        24.
                 Users             1.4       are       clients,               customers,                 prospective
       customei:-s,              or      entities       wishin.H to               participate                in    an      on-
       line          dat.in.g              scenario          a.nd/o:r            to         view         information
       associated with other participants in the                                                     system.             Users
25     14 may also seek to access or to initiate a                                                     communication
       wi.t:h     ot:her          users         that    ma-y       be      delivered             via    network            24.
       Users        l·1     rna.y review data                {such as profiles,                         for exampJ.e)
       associated                with        other      users           in    order             to    make     matching
       decisions or elections.                               Data,         as used herein,                   refers         to
30     any type of numeric,                          voice,         video,          text,         or script data,
       or      any        other            suit.abJ.e       information                    in    any     appropriate
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       format       that          may        be           communicated                     from         one        point        to
       another.
               In      one       embodiment:,                  terminal              lO     represents               (and       is
       i.ncl.us:i.ve     of)       a    personal                    computer              that     may        be     used       to
 5     access       network            24.               .A.l. ter.nat:Lve1y,              terminal            10       may     be
       representative                  of    a           celluJ~ar              te1.epb.one,            an     electronic
       notebook,         a    laptop,                a    personal              digital          ass.istant             {PDA),
       or any other suitable device                                          (wireless or otherwise:                          some
       of v•hich can perform web browsing},                                               component,           or element
10     capable      of       accessing                   one        or more          elements            within         system
       100,      Interface             16,       which may be provided                                  in conjunction
       with      the     items          1.isted               above,           may        further         comprir-.:ie         any
       suitable         interface                for           a.    human           user        such         as    a     video
       camera,      a    microphone,                      a    keyboard,              a    mouse,         or       any other
15     appropriate                 equipment                             according                t;o          particular
       conf.igurations                and arrangements,                              In     addition,              interface
       16     may   be       a     unique                element               designed          specifically                  for
       communications involving system 1.00.                                                Such an element may
       be     fabricated               or        produced                     speci.fi.cally             for        matching
20     applications i.nvolving a user,
               Disp.la.y          12,        in               one        embodiment,               is               comput:er
       monitor.          hlternatively,                         di.splay             12    may    be      a    projector,
       speaker,          or        other                 device               that        allows          user          :L4     to
       appreciate information that system 100 transmits.
25             Network           24     is       a       communicative                    platfc>'x:m         operable          to
       exchange         data           or    information                        emanating           .f.rom         ust=.:r     14.
       Network 24            could be a                   plain old telephone                           sy:::1tem       (POTS).
       Transmission              of.    ini'.ormation                        emanating       from         the       user       may
       be assisted by management associated with matching server
30     20   or    manually keyed                         i.nto       a       telephone        or        other       suitable
       electronic            equipment.                       In     other        embodiments,                 network          24
       could        be           any         packet                      data         .network             offering              a
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       communications              :interface        cir        exchange          between       any         two
       nodes        in system 100.         Network 24 may alternatively be any
       local         area     network       ( LP...N) '        metropolitan             area      network
        (MM\l.) ,    wi.de     area.     network            (WAN),         wireless         local         area
 5     network        (WLAN)        virtual       private network                  {VPN)       int.ranet,
       or    any      other        appropriate            architecture             or       system        that
       f.aci1.it.ates        communi.cat.i.ons            in     a    network          or    telephonic
       environment,           including       a     combination              of    any      network~1         or
       systems described above.                     In various embodiments,                       network
10     connections 22 may include,                        but are not limited to,                      wired
       and/or        wireless       mediums        which         may        be    pro\risioned            with
       routers and firewalls.
               f.'Iatching     server      20     is        operable         to     receive        and        to
       communicate            information           to          terminal          lO.           In        some
15     embodiments,           matching server                     may comprise a               plurality
       of    servers or other equipment;                         each performing different.
       or the same functions               in order to receive and communicate
       information           to     terminal        1. 0.            Matching          server     20        may
       include         software          and/or           algorithms              to     achieve            the
20     operations            for    processing,                communicating,               deLivering,
       ga.therin.g,          uploading,           mai.ntain.1.ng,                and/or        generally
       managing data,              as   described herein.                    Alternati·vely,              such
       operations and techniques may be achieved by any suitable
       hardware,             component,           device,              application              spec:t• ..•.4! .i.c
                                                                                                                '


25     integrated            circuit      {ASIC}               additional          software,           field
       programmable            gate       a.r:ray                           server,          processor,
       algorithm,              era.sable            programmable                    ROM         { EPROM} ,

       electrically           erasable      programmabTe                   ROM    (EEPROM),          or     any
       other suitable object that is operable to facilitate such
30     operations.
                In    some     embodiments,               user       14,     using       term~nal           10,
       registers        with        matching        server            20.         Heg:Lst:r.ation           may
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       include user l4 submitting .information to matching server
       2 O about              user        14     as     well      a.s       charact.eris tics                   user        14    is
       seeking to be matched with.                                      Such information may inclt.ide
       a    user            handle,           which may           be    a     combination of                        characters
 5     tlJ.at.       t.1I1.iq11e1.y       id.ent.if.i.es         use·r       14       to    matchir1g            server          20 .
       In        various              embodiments,                 mat.ch.i.ng              server              20       may      be
       configured               to            collect        this            i.n:f.orrnat:Lon;              .f.or     example,
       matching               server           20    may     be    configured                to           ask user          JA    to
       respond to a                 series of questions.                              Matching server 20 may
10     be      configured                 to        recei.ve       the         information                   submitted            by
       user          1.'a    and create a                 profile            for      user        1.·'1    based on             that
       information,                 storing the prof:ile in memory 26.
                     As an example only,                      cons:i.der a             case where user 14 is
       interested                   :in        participating                    iri        an        on··· line            dating
15     scenario.                User           14    can access               the      Internet              via      terminal
       1.0,      travel         to        a    web     site managed by matching server                                           20,
       and           begin      the~          registration               process.                   l\S      part        of      the
       registration process,                              matching server                    20      may ask user 14
       a      ser1es           of     questions              which           identifies                   characteristics
20     a.bout          ·user    l.A             'l'hus,     matching              sex:ver         20       may       ask    about
       the       height,            weight,           age,       location,             and ethnicity of user
       1.4.            It      may        alt;io      ask     about            the         birthplace,                parents,
       eating                habits,            activities,                  and           goals           of        user        14~

       Matching               server            20      may       further              use        the         registration
25     procE;ss              to discover what user 1 1:1 may be                                    looking for                  in a
       match,               such as           age,     weight,          height,             location,               et~hnicity,

       diet,           educat:ton,              etc.          Further,             matching                se:rv«.=::r     20    may
       ask user 11:1                to        indicate how irnportant certain factors are
       when          Looking          for       a     rnat:ch.         For        example,            matching             server
30     20     may           allow     the        user       to    indicate             which              charact.e:risti.cs
       in        a      potential               match         are        a     necessity.                       In       an.other
       example,              matching serveJ'.' 20 may ask,                                 "How important is i t
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       that your match does not smoke?"                                   Matching server 20 may
       al.so      allow          the        user           to         indicate                  that       certain
       chara.cter:i.sti.cs           are    not     important              search              cr.iteria.            For
       example,      wh.en ask.i ng user 14 about what height or weight:
 5     user 14 is seeking in a match,                             matching server 20 may be
       configured to            receive       "not         important"             a.s      a    response,             In
       yet another examp1.e,                 matching server 20 may al.low user 14
       to rate which factors                  are       important on a                  numerical scale.
       For     example,         matching           server         20        may        ask       user       14       the
lO     following:          "On a           scale      of    1         1. '-'I
                                                                         f'\
                                                                                 how       import.ant           is    it
       that your match has the same education level as you?"                                                          In
       some embodiments,               matching- server 20 may specify that any
       number      of      questions               or       requested                 descriptions                   are
       necessary        before         registration             may         be        concluded.               As     an
l5     example only,            matching server 20 may require that user 14
       communicate         the        sex     of      user        14        and        the       sex       user       14
       prefers       to     be        matched           with.              After           concluding                the
       registration         process,           matching               server          20       may       store       the
       :responses of user 14 as a                       profile.                This same process may
20     be      repeat.ed        by     se"\re1..,al        different              users           14,      causing
       matching server 20 to contain a                            plurality of profiles.
                FIGURE     1.D       depicts       an      embodiment                 in       which      matching
       server     20    has      a    database           26a    '"'hich          contains            a    pool       30.
       Each     entry     in     database          20a      has       a     pool        entity           30a     along
25     with      int o:r:ma t~ ion          concerning            that            entity.                  In        one
       embodiment,         each pool entity 30a-e                               represents           a    user and
       thel:.i:: profile.             In    some embodiments,                     not          all       registered
       users      are     in     pool        30.           As     discussed                    further         below,
       matching         server         20     may        use      a       selection               process            for
30     including        stored         profiles            in   pool            30.        As     depicted            in
       FIGURE     lD,      in    this        embodiment,              the        collection               of     users
       and profiles         forms          pool     30     through which matching                              server
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        20   may       perform                various           functions           such          as      searches              for
        matches.
                 Matching                server           20     may         be     configured                  to       search
        through         pool             30        and    present          matches            to         user       l4.          In
 5      FIGURE          1E,           one          embodiment            of        this           presentation                   :i.s
        depicted            aE1      occurrj_ng            through           display              J.2.         In     various
        embodiments,                     matches           may        be      presented                   to        user         1.4
        utilizing other communi.cation sche:nes,                                            such as electronic
        m<:.:ssages         (i.e.,            e-mail)       or text messages                       (i.e.,        utiliz:i.ng
J.O     SMS) .         In       t:li.e    depicted             embodiment,             a      result           list        31    is
        presented               to    user         14.      A      match          resuJ. t:        entity           3 la    in     a
        result         list          31 may be             associated with a                       view button 33.
        Using      interface                   15,       user     J.4    may       :request              that       matching
        server         20       provide             more        information                about         an     entity           in
15      result l:i.st 31 by pressing the associated view button 33.
        Matching            server            20     may    then        communicate                to     user        l4    more
        information                   about              that         entity           by          retrieving                   the
        information from memory 26.                                     In FIGURE 1F', one embodiment
        of   information that match.i.n.g server 2 O provides for                                                           user
20      14   is    shown.                 Using display 12,                       user      J.4     viev·ts      an entity
        from result l i s t 3J..                         lYiat:ching server                20 may also provide
        user 14 with                  the ability               to contact             the        entity through a
        contact         button                35.          In    one         embodiment,                  when        contact
        but~ton        35       is utilized by user i.:1,                          matching server 20 may
25      provide         user             14    with        contact           information                 of    the       entity
        such      as        a        teJ.ephone            number        or       an       e-mail             address;           in
        another         embodiment,                  rnat:chi.ng        server           20       may     provide           user
        14   wi.th      a         way         to    directly          contact          the         entity,           such        as
        sending             a         message              or         providin9               voice                        video
30      communication                    between           user         14    and          the       entity.                Even
        further,            matching                server       20     may       be       configured               to     allow
        user      14    to        express            a    nega.tive          preference              for        the      entit·y
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        through dislike button 36,                                     In one embodiment,                    when,        for
        example,                dislike             button        36      is      utilized           by      user         14,
        matching server 20 may remove the entity from resu1.t l i s t
        31;     in another embodiment,                            the entity may be removed from
 5      pool 30 of users from which matches are identified.
                 As         an       example           on1.y,          consider          that        u.ser      14        has
        submitted                a        search        request              to      matching           server            20.
        Matching            server             20   may     search through pool                        30,     identify
        results,            and communicate result                             l i s t 31 to user 14 which
lO      would contain other users .for whom matching server 20 had
         created            a     profile             and    who        were         identi.fi.ed          through           a
         search            and       selection             process.               Next,       user        14    may        be

         .interested             in       learning          more       about         Jane     Doe,      ent.i ty         31.a;
         thus,      user 1.4 would c-1.ict"...: view button 33 associated with
1.5      Jane Doe.                Matching server 20                      would receive this                    request
        and respond by di.splaying                                Ja.nt'.!     Doe's     profile          (stored          in
        memory             26),       as        depicted          in         FIGURE      1.F.          Next,         after
         reading            the           profile,          user          14      may       be    interested               in
         contacting              J'ane         Doe;    hence,          user       14    would      click        contact
20       button 35.                  Matching server 20                      would respond by allowing
         user      1..<1    f.'.!nter      a    message           that       matching            server        20    would
         then communi_ ca te to Jane Doe .
                 Matching server 20 may even further be configured to
         allow       user            14    to       store     a     match         result         entity;            in    one
25       embodiment,                 the system may be configured to allow user 14
         to   uti.l.ize.          fa»rori.te          button        3<J      t.hat     will      add    the     desired
         matcl1.       result.            entit·y          into        another          li.st.            In    anot.her
         embodiment,                 utilizin9 favorite                      bu.tton. 34         will     remove          the
         associated match result entity from result list 31..
30               As an example only,                         user 1.4 may decide that he would
         like to save Jane Doe's profi.le so that he can review i t
         later.                 User       14        may     click           favorite            button        34,        and
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        matching               server        20    ma.y    respond               by       placing       Jane         Doe's
        profile           into        a    separate        ~List.           Further,             matching          server
        20         may    also    remove          Jane     Doe        from        user's         14    result          list
        31..         As    a    resu1.t,          user    14     may        see       another match                result
 5      entity            populate           result        list            31.            This    is       beneficial
        because           it    may        focus       user     1.4    on evaluating                  n€P"'' entities
        rather             than            reevaluating                previously-known                       entities
        because the entities still appear in result l i s t 31.
                    In     some           embodiments,            matchi:ng               server        2O     may          be
1.0     configured              to        generate        pool        30     by       default         acco:i:·ding          to
        various           chax:acterist:ics               and         preferences                of    user      1-1    and
        other users               of       the    system.             Matching            server       20 may also
        restrict entities from being included in pool 30 based on
        the status of the profile,                              or if user 14 has rejected or
15      blocked an entity.                         Matching server 20 may also restrict
        entities from the pool that have blocked or rejected user
        1.1;1, •         For    example,           matching                server          20    may       not       allow
        profiles           that axe not.               in good standing to be                           inclu.ded in
        pool        30,        In other embodiments,                        matching- server 20 may be
20      confi.gured             to        generate       pool         30    by    first          choos.i.ng        seeds.
        Seeds inclctde,                   but are not limited to,                          profiles          th2~t     user
        14         has    sent        a    messag·e       to    or     profiles             that       user      lA     has
        expressed a               preference             for.          Each seed is                   then compared
        to         other       entities           to    determine            which          entities          will          be
2.5     included in pool 30.                           Any suitable method can be used to
        determine              which        entities           are     included             in    pool       30.        For
        exampJ.e,              a.ny       characteristics                   or        algorithms            described
        herein           may     form       the    basis        of         such       a    determination.                   As
        another            example,           a    commonality·              score          may       be     generated
30      based on the comparison between each entity and the seed.
        In         some    embodiments,                 this      commonality                   score      can         be    a
        measure           of     how       phys:l.caJ.1.y       similar           Lhe      users       are     to      each
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       other.           This     score may be g·enerated based on the                                             number
       of       users     that       have        expressed            a       positive           preference             for
       both the          seed and the entity being compared.                                              This        score
       may       also     be        generated           based         on        whether             the     seed        and
 5     entity have been viewed together in one session;                                                      further,
       the       more     times           the     seed       and          entity          have        been        viev..red
       together,          the       larger        the       comrnon.ali ty           score.               The    law of
       large           numbers        may        allow        for         a     vast           a.mount       of·       such
       commonalities to be established over a                                         few days.                  Testing
10     has       revealed that                 using       such commonality scoring methods
       hat':>    yielded at least one physical match for 80% of users
       whose prof:ile has been viewed at                                      least. once,               and between
       6        and     lOOO    physicaJ.             matches             for       60%        of     users           whose
       profile          has    been viewed at                    J.east once.                  Matching           server
15     20       may be     further             configured t.o allow entities                               that have
       a. commonali. ty score                   above a          certain threshold to become a
       pa:t:-t    of.    pool        30.         Matching             server         20        may        further        be
       configured              to     update          pool       30.            In        some        embodiments,
       matching           server           20     may       do        so       by    creating               new        seed
20     entities based on activity by user 14,                                          such as indicating
       a    preference              for    that       entity.              Further,            matching           server
       20       ma.y    then    crnnpare             the    chosen            seed     entity             with        other
       profiles           stored           in     matching                server          20      a.nd      determine
       whether          those profi.les will                     be       included in pool                   .3 O using

25     a        threshold       score           as     described               above.               At     least        one
       advantage          realized by this embodiment                                 is       that user 14              is
       presented with updated potential matches                                                which        increases
       the        likelihood              of    user        14     finding            a        s'l.1:Lt.:abl.e    match.
       Another advantage                   present          in certain embodiments                               is    that
30     these updated potential matches have a                                             greater likelihood
       of cornpatibi1ity with user 14 since they are chosen ba.sed
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        on their commonali.ty with ent:.ities user 1.4                                                 has       expressed
        a preference for.
                 As an example only,                        consider the case                          in which user
        J.4   has    registered,                requested a                search,          and received                   from
 5      matching            server        20      results               list         31.       'I'hen,            user       1.4
        decides          to      conta.ct        Jane       Doe         and      presses        contact             button
        35.      Aside           from     providing               user          JA    with     the          abil:i.ty        to
        contact        Jane Doe,            matching server 20 will                                designate Jane
        Doe' s      prof i .1.e      as    a.    seed.            Matching            server           20       'Nill      then
10      compare          Jane       Doe's        prot':i1e         to      other          profiles              stored       in
        tnemory      26       in    order        to     identify                other       ·u.sers      who        may     be
        similar to Jane Doe and thus be a                                       good match for user 14.
        In     t:his        example,            matching            server            20     w:Lll          generate          a
        commonality                score        for      each            of.     these        comparisons                  and
1.5     compare          these         scores          to     a        preset         th:r:eshold.                  If      the
        commonality                score        is      lower            than         the     threshold,                   that
        profile        will         not    be     added           to     pool.       30.      However.,             i.f.    the
        commonality score                   is     higher          than the               threshold,              matching
        server         20      wiJ.l      add        this     profile                to     pool        30.          As      an
20      example,         further assume that the seed,                                     Jane Doe,              is being
        compared          to      another         entity,               Susan        Smith.            Based        on      the
        fact     that.        both        Susan        and        Jane          have       three        users            (Tom,
        Dick,       a.nd Harry)           who have expressed a                            positive              preference.~

        for      their           prof.Lles,            ·matching               server         20        generates             a
25      commonality                score         cd:     ].. 00         fox:     the        comparison.                      In
        contrast,             matching           server            20          generated           a     commonality
        score       of      50      £or    the         comparison               between        the          seed         (Jane
        Doe)     and          yet      another          entity,                Lucy       Goosey,                'This      was
        because          on.ly      one         user        {Bob)         had        indicated              a     positive
3o      preference             toward           both     Lucy           a:nd     Jane.          Continuing                  the
        example,            matching             server           20       is        using         a     commonality
        threshold score of 70,                         which results i.n including Susan's
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       profile       (whose          commonality             score            was        greater      than       the
       threshold       score)          in    pool       30        and       excluding         Lucy's        {whose
       commonality          score          was     less           than        the       threshold.      score) .
       Thus,    user       14       gets     the    l;enefit             of    having         more     entities
 5     identified that may be good matches.
               In    some           embodiments,             matching               server       20     may      be
       configured          to        include        behavioral                 scales.               These      may
       include multi-item scales                        for materialism and gender-role
       t.:r.a.dit.ionalism.           Such scales may provide the adv«:u1.tage of
lO     .improved      matching              through          deeper           appreciation             for       the
       personality of entities in the system.
               In    some           embodiment.s,            tnatching              server       20     may       be
       configured       to          analyze      profile             text          for    categories,             It
       may     search       for              number            of        text                         and       then
l5     associate the profile with any number of                                            categ·orie:s.         A.s

       an    example       only,       matching· server 2 o may add any profile
       to    the     Cat        category         whose            text        contains          any        of    the
       following strings!


20                     "cat" "catsff               •cat."          "cats."          "cat,"     ~cats,"




       Matching       server          2O     may       be      conf i.gured              to   make     .it      more
       likely       that        a    profile           will         be        in    a      result      list       i.£
       categories           associated                 with           the          profile           are        also
       categories       :found in the user's profile who submitted the
       search request.
               Matching server 20                   may be configured to a.nalyze                                one
       or    more    portions          of    the       text.       of       an entity's          profLLe         and
       generate a       readabi.li ty score                       t.hat:.    may be used in various
30     ways,    such as in the process o.f. searching for matches for
       user    l4.         In       some     embod:Lments,                  matching          server       20    may
       analyze       .factors         such       as,     but         not      limited          to:      average
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       number of       words per sentence,                         total number of words with
       greater       t:han three               syllables,          and        total    number            of          words
       :in the profile.                  Matching server 20 may also                              concatenate
       all     of     the        collected             responses              with     a     single                  space
 5     between        them.               It     may        furt.h.er         break        the      text              into
       sentences,         words,           and syllables.                    From    these st.atistics                    1


       matching       server 20 may also be                            configured to generate                             a
       readability             score           by,     in        one    embodiment,               t.:<.::1.k..i.ng     the
       a:verag(--;   of        t:.h.e   Flesch         Kincaid          Reading        Ease          test,             the
10     Flesch        Kincaid            Gra.de       Level        test,        and    the        Gunning               Fo:x:
       score.             Other            embodiments                 may      utilize            any               other
       combination.            0£       these        or      other        teats        to        de~ermine                a
       readability score.                      In    some embodiments,                 a.na1.yses             may       be
       used to determine                  t:he IQ of an entity,                      the grade I.evel of
15     the writing,             or how nervous the entity generally is.                                                 An
       advantage          of       this        embodiment              may·    be     that        the          system
       provides           user           14      with         a        metric         for        determining
       a:ppro:ximate .intelligence of other users.                                         The readability
       score may          be     used,         for    example,           in.   the matching process
20     to identify potential matches.
               As    an example only,                     t.he    Flesch Kincaid Reading                              Ease
       score lnay be              generated by               first       computing          the        following
        intermf.~diat:e         score:


25               206.835                ( J_. 01.5   * [Average Words per .Sentence)
                          (84.6 *          (Average Syllables per Word])


       Then,    the Flesch               I<~incaid     Reading Ease scox·e is determined
       by using the following tab1.e:
30
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                                                      20




       <     1.00                                      4

       <     91.                                       5

       <.    8l                                        6




       The FJ.escb. Kincaid Grade Level may be computed according
       to the .following:


 5          ( o. 3 9 *    (Average Words Per Sentence) ) +                  ( 1.1. 8   * [Average
                                 Syllables Per Word])              -   15.59


       The Gunning Fox score may be computed according to the
       following:
10
              [Average Words Per Sentence]                  +    ( {[Number Of Words With
                  More Than 3 Syllables]          I    [Number of Words In Ent.ire
                                       Text J )   + 1. o o) )    * O. 4

15     As         indicated,     any   suitable       tests may be utilized                  in any
       suitable manner to determine a readability score,
                    In    some   embodiments,          matching           server       20    may   be
       configured           to   aJ.1.ow   a   user    to       interact     with      the    result
       list          of    another     user.          Matching         server          20    may   be
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        configured           to     allow          a    user        to    express          a     preference                for
        entities        within           a      result         list       of       another           user,       and           to
        .i.ndi.cate     to    the other user of                          this       preference.                 Thus,          a
        user    may     be    a.hle          to    get:       advice          from    a     friend            regarding
 5      what other users ma.y constitute good matches for the user
        and    thLlS   be able to f:ind a . .better match.
                As     an    e:x:a:mple         o:nl y,       cons i.der           FIGURES          lA    and       FIGURE
        2.       Two    users            1A,,      Harry        and       Sally,          are        connected                 to
        ;r12:.tching server 20 via terminals 1.0.                                    Display 1.2a :i.s used
J.O     by     Harry    '"'lhile     display             1.2b       is    used       by    Sally.              I><iatc.hing
        server 20           allows Sally to view Har:r:y' s                               result list                31 on
        her     terminal            in       display           l2b.            By     pressing                recommend
        button        37,    Sally           may        indicate          a    preference                for     one           or
        more     of    the        entities              in    resu1.t         list       31..        Asm..ime         Sally
15      presses        recommend                button         37        associated             with       Jane           Loe.
        After     doing       so,        matching             server          20    will        notify Harry of
        Sally's        preference,                      On     Harry's          display             12a,       matching
         server        20      wi.ll.           cause          notification                    39        to     appear,
         assoc.iating         i.t        wi.th         ~rane    Loe,               Notification                 39        v.rill
20       indicatl::     to Harry that Sally has recommended Jane Loe as
         a    potential        match.                  Harry        may       find       Sally's           preference
        helpful        in     deterrnining                which          entities          he       should           pursue
         further       if,     :for          example,          he        believes         Sa.1..ly       u.nde.r:stands
         the type of person he is 1ook:lng for .
25              In      one        embodiment,                  matching             server              20     may            be
         configured          to     analyze             the     profiles            of     both          user       1.4    and
         the entities in pool 30 for keywords.                                            Matching- server 20
        may     be    configured              to       search through                the        profile         of        user
         14    for keywords              that          relate       to    things          such as activities
30       and    interests.               Matching             server          20    may     generate            a     score
         for each entity in pool                             30 based on a                comparison between
         the    list    of        keywords              found       in     user's         1.4       pro:f.:Lle       <..=tnd    a
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       similarly-generated                        list           of    keywords              of    each           entity       in
       pool    30.            In     one         embodiment,                    this     is        accomplished                by
       stori.ng        a.    list       of       words           in    memory           26,       and    using           it    to
       identify             keywords             in       the         searched          profiles.                  In      some
 5     ernbodime:nts,             identified k.eywords                            may    be       used    as        a    means
       of    Vv'E.dghting           various               scores.                 As    an        example          only,        a
       profile that contains the word "God"                                             may be weighted much
       differently                than       a    pro£:L1e             which           has        merely          indicated
       that their religious preference is Christiau1.                                                         In various
lO     embodiments,               this may provide an advantage                                      to user 14 in
       that    user          14    is     able        to       determine               how    similar             he/she       is
       with       a     potential                match.                    In     addition,              the        keyword
       analysis             may    be     used            by     the        system       when        searching                and
       identifying· matches for a                                user.
15            As       a.n. example              only,           consider              two    registered                users,
       Harry      and        Sally,          both          o:E      whom         have    profiles                 stored       in
       matching             server        20.             Matching·              server       20     then          ana J.yzes
       each       of        these       profiles               by      comparing              it    to        a     list       of
       predefined keywords.                           Matching server 20                           then associates
20     each    word          tha.t       ·matched              the         list    of     keywords                with     each
       profile.             Now assume that Harry performs a                                        search,              While
       fulfilling             Harry's            query,               matching          server           20       eva1.uates
       Sal].y' B       profile           for      inclusion .in Harry's                            result          li"st      31..
       This    eva.luation                includes               comparing             the        list    of       keyv.mrds
25     found in Ha:ery' s                 profile to the keywords found in Sally's
       pro:Eile.            The more keywords                          that Harry and Sally have in
       common,         the        more       likely            it     will        be    that       matcbing             server
       20    will       i.nclude          Sally's                pro.file         in     Harry's          resuJ.t          list
       31.
30             In       some         embod:iments,                     matchin~J             server        20       may        be
       configured             to     impute           a     level           of    physical          attractiveness
       to    an       entity         in      pool          3 O.            Matching           server          20        may    be
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        configured          to       monitor how frequent                          an entity            in pool       30
        has been viewed as well as how many times that entity has
        been part of             a     result           list     in order           to     impute        the       level
        of.    physica.J.            a:tt;ractiveness.                   Matchi.ri.g           server         20     may
 5      further       be    conf .i.gured to               9enerate            a    score        based on           this
        data.        Further,              :Ln    some    embodiments,                  match.ing        server        20
        may    impute physical attractiveness                                  to an entiLy based on
        the     imputed              physical            attractiveness                  scores          of        ot.her
        entities.           M:atchi.ng            server       20    may       compute           an average           of
10      the    imputed          physical           attx:act.iveness                 scores        of     the       other
        ent.ities      weighted by                  the    commonality                  score      between          each
        of    the    other entities and the present ent i t.y.                                           Empirical
        data    ind~cates             that people are more                         likely to match with
        people        of        similar             attractiveness.                           'I'hus,     in        many
1.5     embodiments,             a    user may obtain an advantage                                 in th.at         thf.~Y

        are     able       to    be        presented           with       potential              matches           that,
        according          to        one     measurement,                are       as    at tract i. ve        as    the
        user.
                As     an       exampJ.e           only,       consider             a     registered               user,
20      Sally,       whose profile was created by matching server 20 in
        ,:ranuary.              Since            that     time,          matching              server         20     has
        recorded the number of times Sally's profile ha.s appeared
        in     any     user's           result           list       31;        assume          that      thi.s       has
        occurred 10             times.            Fu.1:-t:her,      matching server 2 O has a1 so
25      recorded       the           number        of    ti.mes      a    user          has     viewed        Sally's
        profi.le       by        clicking               view     button.            33     associated               with
        Sally's       profile;              assume        that      this       has       happened         5    times.
        In    this     manner,              matching           server          20       has      constructed            a
        rat.io that represents t.he imputed                                physica~L            attractiveness
30      of    Sally's profile.                     St:ill      further,            assume that Harry,                   a
        registered user,                   now submits a             query.              Matching server 20
        has     evaluated             the        imputed       physical             attractiveness                 ratio
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       of    Harry's          profile.             When evalua.ti.ng Sally's profile                        for
       inclusion          in       result       list      3l    returned        to    Harry,         matching
       server            20         will           compare          the         imputed              physical
       attractiveness                   of    SaLl.y' s    profile         and       Harry's         profile.
 5     The    more       similar             the     ratios      assoc.iat:ed         with      Harry       and
       Sally's pro:t:Lles are to each other,                               the more J.ikely i t is
       that    Sally's profile will                       be     selected by match.i.ng                server
       20    to be       in Harry's             result     l i s t 31.          In another example,
       assume       that       Sally's prof:Lle                has not      been registered long
10     enough        to        generate              a     meaning·ful           imputed             physical
       attractiveness                   ratio.            Matching-        server        20      may       then
       9en.erate         an    imputed          physical.        attractiveness               score       based
       on entities that Sally does have commo:nality scores with.
       This    comput.:ed average                  may be weighted by                 t.:he   strength of
15     the    commonalit.:y score between Sally and each entity with
       whom     she        has          a.    commonality           score.            Continuing            the
       example,       assume             that      Sally has        a    commonality           score      of.    5
       with    Lucy       and           1O   with     Jul :La.          When    matching         server         2D
       comp1.l.tes    the Sally's average,                       i t w:i.1.1 give twice as much
20     weight       to    Julia's              imputed     physicaJ.           attractiveness             score
       than to Lucy's.
               In     some          embodiments,               matching         server         20     may       be
       configured             to        make    an       entity     in     result        list        3l    more
       appealing to user                     l4 by pointing out co.incidences in the
25     profile       data          that      give user         14   a    sense of        fate       with the
       entity.           In        one       embodiment,         matching-        server        20    may       be
       configured             to    search         for    similar         i.nitials,          birth.p~la.ces,

       birth    dates,             birth       month,      birth        year,     university,             t.irst
       names,       last        names,          user      handles,        parental            occupations,
30     and keywords                to    identify users             who may gj_ve another user
       a    sense    of       fate.            In other        embodiments,           matching         se:cver
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       20    may     use       the    fat:e         characteristics                a.s      a    metric       in     the
       matching process.
                As        an        example          only,          assume         that              Harry     is        a
       registered              user        who       has     performed             a        search.                After
 5     matching           server       20      returns          a   result         list,          Harry chooses
       to    lea.rn        more      about          one    of       the    ent:i.ties            in    the    resu1.t
       l i s t and clicks view button 33.                                 Consider FIGURE 3,                       which
       is only an example of information that matching server 20
       may     return          to    Harry after             clicking          view button                   33.        In
lO     Ha.rry's       dispJ.ay         1.2 i       matching         server         20       presents         certain
       details        about           the          profile.               In   particular,                  matching
        se:i~ver     20    presents to Harry a                       fate noti£icat.ion 32 which
       points        out       speci.i'.ic         similarities            between              the    profile          of
       the         entity            and           Harry's          profile.                     Reading            fate
15     notification 32 gives Harry a                                 sense of            :familiarity which
       enhances his appreciation for the profile.
                In another example,                       fate characteristics may be used
        to   decide         whether            a    profile         in     pool        30       is    included          in
        u.ser' s     1.4       resu1t          list       31.         Assume             that.        Harry        is    a
20      registered             user    who          has    submitted           a       matching             query       to
       matchi.ng server 20.                         Whi.1.e determining which entities to
        include           in     Barry's             result         J.:Lst,     matching               server           20

        considers two profiles:                           Sally and Roxy.                       Sa 1.ly and Harry
        both have the same birth date,                               initials,              and have parents
25      th.at work in the same profession.                                     In contrast,                 Roxy and
        Barry only share                   the      same birth place.                           Matching·      server
        20 may be           configured to award more points                                       to Sally          than
        to Roxy based on these comparisons,                                    making i t more likely
        that    Sally's             profile         will     be      included            in Harry• s           result
30      list.
                In        some       embodiments,               matching            server             20    may        be
        configured to evaluate the                              likelihood of                   contact between
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       user 14 and an entity in pool 30.                                              Matching server 20 may
       be configured to compare demographic da.ta between user 14
       and     pool.        entity            30a.             In     another           embodiment,                  matching
       server          20      may        be       configured               t;o       weigh        the       demographic
 5     sixr..:Lla:r:ities and differen.ces based on the sex of user 14.
       The demographic data may 1nc1.ude,                                             but    is not          l:Lmi.ted to,
       ager     education,                ethnic.i.ty t              income'          and l.ocat.ion'
                As an example only,                             assume        that:. Harry and Sally are
       registered               rners who have profiles in matching server 20.
                             l ..

10     Harry          has    submitted a                   search          request           to matching               server
       20.        While             fulfiLli:ng            this        request,              matchi11.g            server     20
       evaluates             Sally's               profile           since        her       profile            is    in     pool
       30.       As part of the evaluation,                                   matching server 20                          looks
       at    the       differences between Harry and Sally's                                                 stated age,
l5     income,          education,                  ethnici.ty,              and        location.                    In     this
       example,             Harry             is     :10       years        older            than        Sa1.1.y,         makes
       $10,000          more            per    year,           and     has        a    Master's          degree           while
       Sa.lly          has          a     bachelor's                  degree.                    Even      with           these
       disparities,                 matching server 20 w.Ll.l give Sally's profile
20     a     high       score            w·hich       makes           it    more            likely       that         Sally's
       profile will appea.r:-                       i.:n Harry's             result          list.           However,         i.f
       it     was       Sally            who        submitted              the         search,           and         matching
       st.=:::r:ver    20      was        evaluating                 Harry's           profile,            a        different:.
       score is possible.                           so,        if i t were Sally who was 10 years
25     older,          made         $1.0, 000         more           per    year,           and    had         a     Master's
       degree          whi.le           Hax::r.y     had         a     Bachelor's                degree,             matching
       server          20      would           give        a    low        score            to    Harry's            profile,
       maki.ng         it    less         likely           that        his        profile          would           appeax·    in
       Sally's              result            list.                  Matching               server         20         may     be
30     configured this way because emp.irical data has shown that
       these          demographic                  differences             do         not    have       an      equi.valent
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        effect           on        the        choices             men        and     women           make       regarding
        matches.
                   In     another             embodiment,                   mat.ch.i.ng       server        20      may    be
        configured                 to      compa.re         the    locations             of     u.ser      14     and pool
 5      entity           30a       .iri.   increments             of        ten miles.               In yet        another
        embodiment,                matching server 20 ma.y be configured to score
        t.he       location comparison in light of other fact.ors;                                                      as an
        example,          ma.tching system 20 may be configured to return a
        score           consistent               with       a     10     mile       difference             in      location
1.0     even though there is a                              50 mile difference between user 1.4
        and. pool          entity 30a                  if       user     14    and pool              entity 30a have
        the        same        income,               education,               and        age.          An       advantage
        realized               in          several           embodiments                 lS      that        it     better
        approximates                    how      a     user       evaluates              entities.                 Entities
1.5     that        live further away are generally less appealing to a
        user;           but,       users         may       still.       be     interested             if    the      entity
        matches their preferences in other categories.
                   As     an         ex.ample             only,        consider           a     registered              user,
        Harry,           who       submits            a     search.         request.             While       fuJ.fL"lling
20      th.ir-:3    request,.              matching server 20 ex.amines Sally's profile
        in pool           30,         and determines                   that        the    stated        locations          of.
        Harry's            and                                  profiles           are         13      miles         apart.
        Matching           server             20     will        g-ive      Sally's           profile       a. score as
        if         the     distance                  between            t.hem       were         only        1.0     miles.
25      However,              in        yet        another         example,              Sally's           profile        may
        in.dicate          that            she     lives         50 miles          away        from Harry.               Yet,
        matching           server             20      also       notes        that       both Harry             and Sally
        make        $100, 000              per       year,       have        Master's          degrees,           and    that
        Harry           and        Sa11y         are       one     year         apart          i.n    age       (Harry     is
30      older)                 Given          these          similarities,                matching              server     20
        will        give       a      score          to    Sally's           profile          that     is    cons.istent
        with        a    20     mile          difference               in     location          even        though       they
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       are     actually               50    miles            apart.        In     this       manner,          matching
       server         20     takes          :Lnto        accO'unt       empirical             data      that        shows
       that people               searching for matches                          who     indicate          that       they
       want:     to      see          matches            who    live       close        to       them     are       still
 5     willing          to      pursue          a    potential          match          that       lives       far    away
       if    the      potent..ial           match             fits    very      cl.osel.y        with     the       other
       search criteria.
                In       another            embodiment,               matching          server          20      may    be
       configured to evaluate the age difference between user 14
10     and     pool        entity           30a      usin.g          ranges       as    'i.vell    as     a     sliding
       scale .        By way of example only,                              matching          se:rv(~r     20 may be
       configured               t:o    assign            a    high    value       to        an    age    difference
       bet.ween 0 and -5,                    while assigning a                    lower value to an age
       difference between +2 and O.                                    ~1    even lower value may be
15     assigned            to     an       age      diff:e:i:ence          between          -6    and     -8.        Even
       lower       values             would         be       assigned       incrementally               as     the    age
       difference               increases                outside        of      the         ranges       discussed.
       The higher the assigned value is,                                        the more likely i t w.i1l
       be    that pool                enti.ty        30a will be             in.eluded in               result       Li.st
20     3L       Yet another embodiment may apply this combination of
       ranges         and a           slidi.ng           scale       but    use    di:f..f.erent        values        and
       ranges depending on the se:x of user 1,1.
                A.s   an e:x:amp:l.e only,                     consider a          situation in which a
       registered                user,              Harry,           request<:;         a        searcl'1       to     be
25     performed.                     While          fulfilling              t:hi.s      request,             matching
       server         20     evaluates               Sally's          profil.e,         which        was       in    pool
       30.         As        part          of       the        evaluat:Lon,            matching           server       20
       compares the ages                        of Harry and Sally,                    and det:ermines that
       Harry       is      two        years         older       than       Sally;       this       determi:nation
30     .leads      t.o     matching              .server        20    assigning,             in    this       example,
       50    point.s         to        Sally's               profile.         Matching            server        20    may
       also be configured to assign 50 points to Sally's profile
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        had she been                       five years younger                   than Harry;                but,          if    she
        had         been          up        to     two     years        older        than       Harry,              matching
        server 20 may have been conf igur.ed to assign 40 points to
        her              p:rof.i.le,               Mat;ching        server           20        may         be        further
 5      configured to assign 30 points to Sally's profile                                                                if she
        wa.r-:i     6     to      8    years younger than Harry.                               However,             if    Sally
        were             mo:n:1        l:han      8     years     younger            than       Harry,              matching
        server               20        may       be     configured           to      further          decrease                 the
        number of                 points assigned to her profile:                                         if    she was          .9
lO      yea.rs             younger,               then     25    points;            if     she        was       10        years
        younger,                  20       points;        if     she     was        11     years          younger,              1.5

        points;                etc.               The     more      points           assigned              to        Sally's
        profile,                  the       more       likeJ.y     it     i.s       that       her        profile             will
        appear in Harry's result                                 list.          Thus,      matching server 20
1.5     may             be     configured                to     assign          a    score           based           on        age
        difference                    using        a    combination          of      ranges          and        a    sliding
        scale.
                        In     another            example,        matching           server          20        may       assign
        scores differently if                              i t was Sally who was searching and
20      if        i.t:    ·;,-.;·as Harry's profile that was                          being evaluated.                          In
        this             example,            ma tchi.ng         server.      2O      may       be     configured                to
        assign Harry's profile 50 points if he were between 1 and
        5    years             older         than       her .     If    he      were       6   to     8    years older
        than her,                 matching server 20 may assign 45 points.                                                If he
25      were g·reater than B years older than her,                                                  matching server
        20 may assign points in the following fashi.on:                                                         if he was
         9 years o1.der,                     40 points would be assigned.;                                if he was 1.0
        years older,                       35 points would be assigned;                              etc.           However,
        if        he       was        up     to    two    years        younger           than SaLly,                matching
30      server               20       may    a.ss:i.gn     50    points         to       his    pro:f.Lte.                If    he
        were more than two years younger,                                           matching server 20 may
        assign less points on a                                 sliding scale:                   45       points          if    he
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        were       3        years       younger,             40       points         :i.f.     he       were     4     years
        youn9er,             etc.             The      more           points         assigned              to        Harry's
        profile,            the more like i t is th.at his profile will appear
        :Ln    Sall.y' s          .1:-esuit        list:.          This          example           illustrates             ho\•!

 .5     ma t.ching          server           20    may be         conf i.gured               to    take    the       sex of
        user           14        into        account              when        scoring               based        on
        di.fferences.
                  In        various          ernbodiment.s,                matching           server        20       may    be
        configured to evaluate the attractiveness of an entity in
10      pool 30 through collected feedback                                          from other users.                       In
        one       embodiment,            matching             server         20 may present an entity
        to user 14,                prompting user 14                       to rate            t.he attractiv·eness
        of     the      entity on a                 scale         from               9.           This    range
        the       advantage             of    having         a     midpoint.                 Matching          se:r:ve:r    20
lS      rnay      further          be    configured                to      collect           such       responses          a.nd
        store          them;       in        one     embodiment,                 matching               server       20    may
        st.ore         the       data    in memory                26,      using        a     structure:         such as
        database                 26b.        Matching              server           20            may     further           be
        configured               to     compute          the       average         of        such       responses          for
20      the       enti.ty,         and       store          this      number        a.s       vve 1.1      In        va.rious
        ernbodi.ments,             these values may be used in order t.o help in
        the       matching              process.                 Empirica1.           data          indicates             that
        people          are       more       like.ly         to       match       'Ni th      people       o<-       similar
        attractiveness.                           'I'hus,        in     various              embod.i.ment.s,           users
25      whose          attractiveness                  rating              are     similar              will     be       more
        l.i.k.ely to appear in each other's result list.                                                    Further,          a
        1..lSer    may       indicate             that      they only             want         profiles          in    their
        result l i s t whose average attractiveness ratin9 is higher
        than an indicated threshold.
30                As        an    example           only,         assume         registered              user,        Harry,
        uses         terminal            lO,         which.           in    this        example            is        Harry's
        personal             computer,               and         establishes                 communication                with
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        matching       server 20.                   In this        example,           this          communication
        occurs by Harry using a                       Web browser to access a                                  Web page
        controlled           by         matching            server             20.             Sometime           after
        visiting           the       Web      page,       matching             server          20    may        present:
 5      Harry wi.th an. option to rate                             the physical attractiveness
        of other users                 registered with matching server 20.                                        Us.ing
        display 12           and        interface          :J.6,    Harry may ·view profiles                           of
        registered          users          and      rank     them         on    a     scal.e        o.f    l       9   by
        entering the values us.i n9 interface 16;                                             in this example,
1.0     .interface 16                comprises a          mouse       and/ or a               keyboard.           After
        submitting this rating,                       matching server 20 will associate
        it     with    the           profile        and    store          it.        Matching              server      20
        will     also       allow          other      l:tsers       to      rate          proi'::Ll.es,         thereby
        collecting-              a      plurality             of          rankings             for         profiles.
15      Matchi.ng server 20 may use this data when trying to find
        matches       for users.                One example of                  this          is    that matching
        server        20    may        allow        user     14     to     specify             that        he/she      is
        searching for profi.les which have an average                                                 rating of         6

        or above.          In turn,            matching server 20 may populate useiA' s
20      :i.4   result       list         from       the    poo~l.     only           with       profiles           whose
        average :rating is at                       6 or above.                Another example of how
        matching           server        20    may use           this      data       .involves            making      it
        more likely that an. entity will appear in a                                                user's result
         list    ~f    the       entity and that                   user have              a    similar average
25      attractiveness                 rating.             So,      i.f    a     user          has        an     average
        rating of           6,       then an entity with an average rating of 5
        may     be    more           lik.ely    to    appear         in     the       user's          result        list
         than an entity with an average rating of 2.
                In         another            example,             assume            that           Harry         is    a
30       reg~etered          user          and       has      requested               a       search..             While
         fulfilling          this          request,          matching               server          20         evaluates
        Sally's        profile.                As    part      of     this          evaluation,                matching
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        server 20          notices              that     Sal1.y' s        profile                 contains            feedback
        from    other           users           ranking        the        attractiveness                         of     Sally's
        profile.               Matching          server         20,       in       t.his      example,                averages
        that data;             Sa:1.1.y' s prof.i."l.e average is 6.                                  Matching server
 5      20    may        then         examine            Harry• s             prof.i.1.e              to     determine            a
        similar average,                        If Harry's profile h.as an average close
        to 6,     i t will be              morf.~       l.ikel:y that matching server 20 w:i.11
        include         Sally's             profile            in        Harry's             result              list.          If
        Harry's profile average                           is lower than 6,                            i t will be             less
10      1.ikely      that        Sally's          profile               will       be    included                in Harry's
        result       list.            It    Harry's profile average                                   is    greater than
        6,    i t will be             even less            likely that Sally's profile will
        be    included           in        Harry's         resu1.t         list.                  The       more        Harry's
        profile         average            deviates         from          that          of    Sally's,                the     less
1.5     likely       it.       will       be     that     matching              serve:i::-            20    will        present
        Sally's profile in Harry's result l i s t .
                In       some         embodiments,                  matching                 server           20        may     be
        configured              to    analyze            prof:Lle          information                      and       received
        activity           information              to     construct                "pairs"                which       Link     at
20      least        two         profil.es.                 These              pairings                    may        also      be
        associated             w.ith       a.    value      that          ascertains                   the       quality        of
        the    pairing.               For        example,           a    pairing which                      results           from
        one     user           viewing           the     profile              of        another             user        may     be
        assig-xH.=.;d      a     value           that      is           less       than           a        pairing          which
25      results frorn a               first user viewing the profile o.f a                                               second
        user     when           the        second        user           has     also          viewed              the       f. irst:

        user's          prof:i.1e.                Mat.chin9              server              20       may        llSB       t~hese

        pairings in order to generate search results                                                         for entities
        within       and        outside          of      the    pairing.                     Each          member       of     the
30      pair may be              used as            a    seed entity                for           generating search
        results         for      users           in      matching              server             20.            In     various
        embodiments,                 an     advantage           may           be        realized             as       matching
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       server 20 analyzes many of these pairs to develop dynamic
       results       to        users        of     the      system,             the         results            being
       potentially more relevant as matching server 20 leverages
       the    interaction             between.      users           and     profiles                to     generate
 s     search results.
               Pairs may be formed from a                            var.iety of user activity
       received          by     matching           server           20.         This            a.ct.i.vi.ty       may
       include:           profile          views,        n:rutual         profile           views,           one-way
       double            blind            communication,                   mutual                   double-blind
lO     communication,            declining          double           blind communication,                          one
       way wink,         mutual wink,             expressing disint.erest in response;
       to     receiving          a        wink,     one        way        .favorite,                 and     mutua.l
       favorite,              Other       suitable       activity may also be                              received
       by    matching           server        20     and        utilized               as       a     basis        for
15     generating pairs.
               For example,               Harry may be a              registered user vlho has
       expressed          a    positive           preference              for     Sally.                   Matching
       server       20    may        be    configured           to        generat.e             a     pair     wh.i.ch
       includes Ha:cry and Sally.                         Matching server 20 may uti.l:Lze
20     this    pair       \.\>"hen. px·o,.riding     searcl1.         res11lts             to       ot:her    users,.
       Betty     may          have        requested        matches,              an.d       Betty            may    be
       similar      to Sally.               :Matchi.ng      server          20    may           present Harry
       in Betty's result l i s t as a                      result of the pairing between
       Harry and Sal J.y.                 Further,        Jim may hav·e executed a                            search
25     and    Jim    may       be     sirn:\.lar    t.o    Harry.            As        a    result           of    the
       pairing between .Sally and Harry,                                  matching server                    20    may
       present Sally in Jim's                     l~st    of search results.
               In    some        embodiments,              matching              server              20      may    be
       configured to encourage user 14 to interact with entities
30     .in pool 30.             For example,             matching          server 20 may present
       a    list of       limited entities                 from pool             30        to user 14,             but
       not    present          other        en t i ties        to    user        1.4       unless          user     J-4
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       interacts          with the         already presented entities.                                      Possible
       interaction with              these entities                     may        include viewing more
       information             regarding        the          entity,           expressing             a    positive
       or    negative          preference           fo.:r:       the        entity,       and    choosing              to
 5     contact         the     entity.         Other suitable                      forms    of    interaction
       may       also    be     utilized.               For       examp1.e,         matching              server       20
       may       prompt       the   user       with          a    question           a.bout.     the           list    of
       entities,          such      as    asking         whet:her             or    not    the        user        .1.ikes
       the ent i t:y.           Responses to such prompts rna:y include                                          "yes,"
10     "maybe,"           nr10, u    "rern.ove r "               and        "remove        other."                    'I'he
       presented             entit:i.es     may         be        chosen           using    a     vari.ety             0£
       methods.               Por   example,            the        presented           ent.ities               may     be
       chosen       based       on various              scoring             a:lgorithms          as       described
       above.            In    addition,        presented                   entit.ies       may           be     chosen
15     using predictive analysis,                            such as           logi.st:i.cal regression.
       Other       techniques            may   be       used       to       determine          the        presented
       entities.              For example,          entities that have been presented
       previously may be excluded.                                As another example,                       entities
       that      ha.ve    been blocked by user.                         14     may    also be             excluded.
20     In various embod.iment.s,                    a    combination of t.hese techniques
       as    well       as     others     may     be         used       to     determine          the          limited
       nurnber of         entities presented to user 14.
                 For     example,         Harry may               be    a    registered          user           of    the
       matching syst.em,                 Matching server 20 may be configured to
25     present          to Harry a         l i s t of            five       entities       that; Harry must
       Lnteract          with.           Once       Ha:i:·ry       has        interacted          with            these
       entities,              matching         server             20        rnay    present               five       more
       en t i tif:;s     for    Harr-y'    to     interact              wi t.b..      Previously,                 Harry
       has blocked Sally,                 another reg:Lst.ered user of the system.
3o     As    a    result,        matching         server               20    may     exclude          Sally          from
       being       presented         to    Harry         in        the       list     of    five           entiti(=;S,
       Further,          Harry' has       already interacted wi.th Betty,                                      another
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        registered user               of     the       system:               Harry sent                 a     message to
        Betty utilizing matching·                           server           20.         As       a    result,             Betty
        will    be       excluded          from        being          presented                  to    Harry          in     the
        list     of      five        entities.                  Ma.tching              server           2o      may         then
 5      ch.oose        two    of     the   five        entities using                       scoring algorithms
        described            above.          For       example,              matching                 server          20    may
        choose Alice and Amy to be presented in the                                                     l i s t of five
        entities         because Alice and                      l>~my    have          r.eci<.~i.ved        high scores
        when     their         profiles          were           compared               to        Harry's            profile.
lO      Matching             server        20      may          choose             the           remaining                 three
        ent:iti.es       using        predictiv~;               analysis.                   According                to     this
        example, matching server 20 may use logistical regression
        to identii'.y Carla,                 Christi,               and Camela as the other three
        entities         to     present          t.o      Harry.              Thus,              in    this         example,
J.5     Harry       is       presented           with           a     list         of        five           entities          by
        matching         server        20.        Mat.chi.ng            server              20    may not present
        another         set     of    five       entities             unt.i.l          Harry          has      interacted
        with these            five     entities.                Harry may interact with these
        entities         in     a    va.riety          of    ways.            For           example,            Harry        may
20      send    a      message        to     Alice          and       send         a    "win.k"         to          Amy.      In
        add.it:ion,          Harry may choose to view more information about
        Carla's          profile,            but          express             a        negative                preference
        towards         Chr:i.sti      and       Came la.                After           matching              server         20
        receives         these        types          of     interaction                  with          t:he     presented
25      five      entities,            another              set.        of        five           entities             may     be
        presented to Harry.
                :r.n    t~his       example,         matching              server            20       may     further         be
        configured            to     process           the          user     interaction                    provided          by

        Harry.            For        example,           m.atching             serve-r·            20        ma-y'     utilize
30      Alice's          prof :Cle         as    a        seed          entity              to        generate             other
        possible entities                  to present                to Harry since Harry sent a
        message         to    Al~ce.            Thus,       a       benefit            is    from present.i.ng a
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       the     five      entities                to        Harry         in              that           the        interaction
       between        Harry         and          these       entities                        may        be       utilized         by
       matching          server             20        to     :-Jenerate                      other           entities             for
       matchin9         to    Harry.              This        serves                as            an    example             of    how
 5     preferences may be identified based on user behavior.
               In    FIGURE            4,    one           embodiment                        is    dj_sclosed               wherein
       matchi.ng        server         20,       with       pool         30,                 may       be    configured            to
       interact with another platform,                                   su.ch as                      social networking
       p1.atform 50,          containing a                   set 52 of users.                                    User~;i    14 are
lO     comnru.nicat:Lve.ly coupled                      to matching                          sei""'vrer      20       and social
       net1Norking        platform               50.        Matching                 server                 20    may       further
       be     configured            to       provide           use-r·s                   of        social             networking
       platform so a              service by whi.ch they may search for users
       withi.n set: 52            or within pool 30 using the algorithms and
l5     processing of matching server 20.                                            Matching server 20 may
       even     further           be     configured                t.o    allow                    users          of       matching
       server 20 to search through pool 30 and set 52.                                                                     Matching
       server 20 may be configured to parse                                                       the profiles of                 the
       enti.ties         in        set       52{           collecting                         data.          and           applying
20     algorithms.
               In     another           embodiment:,               matching                        server             2O    may    be
       configured            to    allow         users        of     social                       net.working              platform
       50     t:o   i.nt:eract          with           matching           server                       20        using       social
       :networking           platform             50.              This              level               of        integrat:ion
25     provides         the       advantage            of    users        not                 having             to    learn and
       sign up for a              different platform.
                                                                              r..- ['\
               Social         networking               pJ.atfonn              -'<v       f        in    one        embodiment,
       may     be   a    service             which          stores            profiles                      of        its    users.
       This     service may be                   further       configured to provide access
30     t:o    the       stored         profiles.                   In         one                 embodirnent,               social
       networking-           platform            50    may also               allow other                         services         to
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        interact           with        users       of     social          networking-          platform          so
        throug-h social networking platform 50.
                 In    one         embodiment,                matching          server         20        may    be
        configured           to        co1.lect         requests           from      users       of       sociaJ.
 5      n.etworki.ng platform 50                    and perform a. search through pool
        30      and    set        520         Matching             server       20      ma.y     further        be
        configured           to    present          the       results        of      this      search          from
        within social networking platform 50.                                     Matching sei-ver 20
        may     further           be    configured             to    present          en.ti.ties         in     the
lO      search        result       :Erorn     pool       30    as    if    they      \v·ere    entit.ies         of
        set     52;     in       one     embodiment,               matching·       server        20      may     be
        configured to generate p:rofLtes of                                 entities           from pool         30
        into     set       52.     'I'hus,     users          of    sociaJ.     networking platform
        50    may     view        all    of    the       entities          in     the    search          result,
:15     regardless           of    their       source          (either        from      pool      30     or     set
        52) ,    within the envir.ori.mer1t of social networking platform
        50.
                 As an example only,                     consider two users:                     Harry,         for
        whom matching st:<rver 20 has created a                                 prof.i.le,       and Sally,
20      who     has    a     profile          stored          in    social      net.working           p.la.tform
        50.      From within social                      net.working platform 50,                     ma.t.ching
        server        20     presents          to       Sally       the     ability         to      perform       a
        search which Sally uses.                          'I'he     results of          this     search are
        presented          to Sally within social                         networking platform 50.
25      In this example,                Harry's profile is displayed to Sal.1.y as
        a     search       result        a:I.ong     with          other    entities           from       set    52
        though Harry's profi.le was from pool 30.                                       In this examp1.e,
        matching        server          20    uses       the       algorithms         discussed           herein
        and     searches          through          the    profiles         stored        in pool          30    and
30      set     52.        In     order       to    display          Harry's         profile        to    Sally,
        matching        server 20 creates a                        profile in set 52 l:tsi.ng the
        data stored in Harry's profile in pool 30.                                          Sally is then
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        able       to     interact          with           this      newly        created          profile            from
        within       social          networking              pJ.atform          50     in    the      same       manner
        as she is other entities in set 52.
                In       anothe~r          embodiment,               matching            server           20    may     be
 5      configured             to     allow          its     users         to     interact:          with        social
        networking             platform           50       through        matching           server            20.      In
        one    embodiment,                 matching           server        20        supplements              pool     30

        with    set        52.        In        yet    another            embodiment,           enti t.ies            from
        set 52 appear as entities of pool 3 O to the user in the:i.r
:LO     list       of      search          results.               In      one         embodi.ment,             matching
        server       20     may       be    confi.gured              to    generate          profiles            within
        pool       30      from       entities             of     set       52;        the    system            may    be
        configured              to    do        so     through            capabilities              provided           by
        social          networking              platform          50,       such        as    an      application
:15     programming interface.
                As an example only,                          consider two users:                    Harry,           whose
        profile is stored in matching server 20,                                             and Sally,              whose
        profile           is     stored           in       social          networking           platform               50.
        Harry       submits           a     search          :r:equest       to        mat.chi.ng          server       20.
20      :Matching          server          20    may       return         result         list      3:1.    to    Harry,
        v-1hich,     .in       this       example,           contai.ns          a.n    entity       representing
        Sally's         prof L1.e.          Matching server 20 may accomplish this
        by    creating           profiles             in     pool      30    that        correspond             to     the
        profiles          found in set                 52.       Once       these profiles ha.ve been
25      imported :into pool 30,                        matching server 20 may then search
        through          pool        30.         While          doing       so,        matching            server       20
        applies           t.he       algorithms               and       scores           discussed              herein.
        Thus,        in        this        example,             matching          server           20      has        been
        configured to both search and apply scoring alg·orithms to
30      entities in pool 30 and set 52.                                     B'urther,         in one example,
        Harry is not able to distinguish that Sally's profile was
        originally               stored          in        social         networking            plat.form              50.
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        Rat.her,        matching                 server              20    presents             Sally's              profile             in
        the      same        manner              as      other            profiles              stored           in     pool            30.
        Thus,     .in thi.s            example,                Harry may use                    favorite              button 34,
        view      button              33,       and      contact               button           35     when          interacting
 5      wi.th     SaLl.y' s            pro£:L1.e              i.:n    the       same           manner           as     described
        above.
                 One advantage present in various embodimen.ts is that
        a      user    h<..'<S   a     wider          pool           of    entities              to       search         through,
        l'~nother      advantage is that: a                               user does not have t:o sign up
1.0     with      several              platforms                 to       search           through              the     UJ.''.H.'-'rs    on
        those platforms.
                 FIGURE           5    is       a     flowchart                illustrating one                       embodiment
        of      how    result               list         3l     may        be    generated.                      At     step            62,
        matching server 20 generates pool 30,                                                   as described above.
15      JU::    step     64,         matching             server           20    applies              a    fil te1:-       to pool
        30,      removin;;J            certain              entities;                in        various           embodiments,
        this      filter              is    based           on       user's          1.4       own        sex    and       the          sex
        user 14 desires to be matched with.                                                    At step 66,               matching
        server         20    may           be    configured                to        appJ.y      algo:cit:hms                to     pool
20      30      that        will           generate              a    pJ_ura.1.i.ty             of        scores        1:or        each
        ~;ntity        in pool              3 O.         In        one     embodiment.,                   these       a1gori thms
        ma.y     include              analyzing               the         text        of       the        profiles           of         the
        entities            in        pool          30        to      generate             a     readability                   score,
        determining               how           attractive                an    entity           oi:       pool       30      is,        or
25      measuring· how                 likely            i t is that user 1.4 will                                    con.ta.ct          an
        entity of pool 30.                            At      step 68, matching server 20 may be
        configured to col.lect all of                                          the    scores           from step 66;                     in
        one      embodiment,                 match.ing               server          20     may        use      database                26b
        to      store        all           of       these            scores.               At    step           70,      matching
30      server          20        may           be       configured                   to        apply            an      ordering
        algorithm                which              'dill          determine               the         order           in.        which
        entities            in result                l~st        31 are presented to user 14.                                            In
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         one                embodiment,                                          this                   ordering                                 algorithm                                    is               based,                         in
         part,                   on the scoring algorithms applied at step 66.                                                                                                                                                              The
         ordering                               algorithm                                    assigns                                points                        to             each                     entity                            and
         orders                        them                  .based                      on             t:hese                      values,                          constructing                                                     result
5        List                  31.                     An             embod.i.ment                                    of.           this                   ordering                               algorithm                                  is
         summarized in the following table:


     IJ'llllllllllJl~~lt'l~fllilli~il~l-lilll"lilll~f~ l l !~ ~ :Y' ."' ·-·,·~-,.,.,_
     J Readability score 1 point                                                                                               · +33554432

     I:~~~~:~=~~~~:~~1-:~:s~~~- . . .                                                                                               ;16777216                                         ------~------------------ --
     ; the user
     t··~1a·t:·;;:;h····;.:e·s-~1·t:----;;1;:t:TFy·--·11;_;;;                                         ....t;e-e;!1·-- ··-+·a·3-·3·a·6·c;3·····------·------··-----------··----···--·········------------- ··-----1
     ! recommended by a friend 0£                                                                                                                                                                                                                      l
     l the user                                                                                                                .                                                                                                                        l
         -~~:~~~;~~t¥~~~t;~~~~:O:ilS ·r~~::.:~:~:-= =:· =::.· := = .. . ·1
     1   commonality with an entity                                                                                            l                                                                                                                        j
     ! user has expressed a                                                                  !                                                                                                   !
     LPE~:':,~-~-'.1?.~!?:~~-----~-?::i:'._____________ _.._._"'····"··--····-··'"'·--·----''-'L~........................................... --------·"""'"._______,____________________________ _
                                                                               v __




     1--~;~-*-·-}~~~~---{:R~-----~--~~= i;:i-i-~·i;J~-~----·--· ·--:i-~-~--a·:r---··-----------------------------····-····· ..· --··-· · -·---··--·-------·--
     [~;~f::~f}#t~:~~]-~~·::·:~*f:~:~: :·: -~ :·:_~:~: ~:<~ ~:~: : -~}t;:::::::::::::~::::::.:~:~_ :·: _:-: : : : : : : : : : :·: :. :.: =- - -~- -·_-_: :·:~ : : : : :~:- 1
     ! Both                 havE.~               the same diet                                                                  j + 1J:                                                                                                ..   . .         i
      ·3-;.;~cii----Eav~----·the·-···;;a:m-e·--·-··-·-·------,·-··--------------··-r+"i'3107-2·--·····-·----·-··----,-···----------------··-------------·---------···::·--·-i

         preference for drinking                                                                                               .l                                                                                                                       !
                                                                                                                                                                                                       -·· ...... - ...............
                                                                                                                                                                                                                     .~




     •same answer for "pets"                                                                                                    l +65536                                                                                                                i
      .::~:::~:::::::~::::~:::1~:t::::~i~l~{~~:~~~~:::::TT~I~:~:::-.:~.:~.:~_:::~::::::::::::~::::::::::::::::::::::=::::::::::::::::::::::::::::::
                                                                                                                                                                                                                                                        1



        status                                                               I
      ·--5-;n:i:e---a:n:-s-1;;-ei:·---E0-x:·----,,·1:·c;rr;a:1~:c:-e 1;··-----------·1-·--+·5·i··2··---------~--------------·····---·--······---··-······----·--·------·-·---
      ................................-••••••••• __________________________ ....... -. ................ ~ .............-------------- ••••••••-'••••"'••••"•••••·••••••••••••••••••••••'>••"""-"•'->-."""''''"""'''''v·""~""""""""••··-••••••••"••"'''••'
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       t::~::;:;:::;:;;);;~::::z;·::;:k~~:~~,·i:~;::,;;;;:::J~:~::;~~~;~~~~i~6fd:~;;;
       j Same answer for smoking
       ! preferences
       rs·~me'""ar1;;·;;e~·· for ·sr.;·;;·~:·ts·········                                .................r~::9.............--~·--·--·------·---------·----..........                        ;
       .l-..   ~-~~~=~~~~!i£~~-~~~~,-.-.·~--~~--~.¥-~.i.~~-:~::··············t··+·4·~~~?;~~~~~=-=--. . . . -.~-.-.: =~:-.-.-.-.-.-.-.-.:-.:-.-.= :-_-_-_-_-_-_-.-.-.-.-~.: ·.:·.: :·~: : : :J
                             As          an         example                    only,               consider                     a        registered                         user,
           Harry,                      who             desires                     to           perform                     a         search.                           Before
           processing the request,                                                      matching                    server 20 may ask Harry
 5             what sex he is and what sex does he desire to be matched
               with;              in        this           example,                    Harry responds                                that            he       is a            male
               seeking                  a       female.                       After              doi.ng              so,            ma.tching                 ser·ver                20
               will generate pool 30 as described above.                                                                                         Next,             matching
               server 20 'Nil.l apply a                                               filter to remove certain entities
:10            from pool 30.                                 In this example,                                   all maler1 will be removed
               from           pool            30        since              Harry is                     seeking                 a      female.                     Further,
               all         females                  seeking females will be removed from pool 30
               since Harry i.s a male.                                                  In other examples,                                       other entities
               that are removed from pool 30 include entities that Harry
:LS            ha.a           expressed                        a         negative                      preference                          for            before,                    or
               entities                     that            have             expressed                      a      negative                     preference                        for
               Harry.                   After pool 30 has been filtered,                                                                      matching server
               20          appli.es                   a        variety                     of          scoring                      algorithms                        to          the
               entities                     remaining                       i.n        pool             30.                These               algorithms                         may
20             account                  for           various                  comparisons                           such           as         those              based              on
               reada.bi.1.i ty,                         likelihood                         to        contact,                       fate,             and          key·vvords
               descri.bed                     above,                    Matching                    ser~-.rer             20        will            then           tabulate
               these scores,                              storing them,                               in this example,                                    in database
               26b.                Matching server 20                                         will              then determine what order
25             these               entities                     a.re          presented                         tc       Harry               by         applying                     an
               ordering algorithm.                                             Here,             matching server 20 assigns one
               ordering score to each entity by examining the results of
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       the    scoring algo:r:ithrns.                 After doing             so,        matching             server
       will present             result       l i s t 3l to Harry,             where           the order of
       the    entiti.es         that      appear         in the     result         list        is based on
       the orderin9 algorithm.                           In this example,                it    is possible
 5     for    result          list     31     to    change.          Consider             another            user,
       Sally,       who       appears        in     Harry's         result         list.               If    Ha:x:ry
       decides to add her .into a                        separate        l.ist~    by using favorite
       button 34,          Sally will be                 removed from result: list 31                             (as
       described above).                  However,         Sally will also become a                              seecl
10     entity       from       which      entities         may      be    added         to    pool          30    (as
       described above) .                   Hence,       matching server 20 will update
       the      poc>l,          apply        the         filters,          apply             the         scoring
       algorithms,              tabulate           the     results,         apply            the       orde:r:ing
       algorithm,             and      update        result         list          3l.          As        another
l5     example,          an     entity       may     update         their         profile          which          can
       change        result          list     31.          For      example,            assume           Sally's
       profile       had an ordering                 algorithm           score          that      placed          her
       within the top 20 entities in result l i s t 31.                                            Sally then
       changes       her profile which results                           in key'..1ords           that match
20     Harry's       profile           being       added       to    her     profile.                  Matching
       server       20     will       then    update        her     scori.ng        algorithms.                    In
       this examr>le,               the change in SaJ.ly' s               profile and resulting
       increase           in         keyword         matches         with          Harry's               p:x:of:lle
       significantly                 increased           her     score.                 This        was          then
25     reflected           in       the     ordering           algorithm           as        it        was       also
       applied        to       the     updated           profile.           Afterwards,                  Sally's
       profile is now placed vd.thin th.e top 5                                   entities in result
       l i s t 31.
               In     some          embodiments,            matching          server              20     may       be
30     configured          to       receive        required       characteristics                   from user
       1.4   regardin9          a    match.        User 14 may be allowed to specify
       such         restrictions                   based         upon             any          number              of
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       characteristics,                    inc'l.uding           those        described               herein.          For
       example,        matching server 20 may allow user 14                                             to specify
       that entities that indicate they have children should not
       be   displayed.                  In      another          example,        user          1·1:    may    specify
 5     that      only       entities            between          the     ages     of      20     and     30        should
       be    present.            in     result          list          31.       In     some            embodiments,
       matching            server        20      may        impJ.ement         these       restrictions                 in
       step      64        of     FIGURE         5.         In       other      embodiments,                 howevE.~r,

       matching server 20 ma.y refuse                                 to apply these                   restrictions
lO     to   certain             entities         based on              t:he    characteristics                 of      the
       entities.                Any number of characterist.:i.cs,                              including· those
       described herein,                      may form           the basis upon which matching
       server 20 decides not to apply the restrictions submitted
       by   user       l4.         As    an example on1.y,                     matching-          ser,rer       20    may
15     .ignore        the       restrictions                if   the        entity has           a     high        enough
       attractiveness                 rating.               In   another         example,              though         user
       14 has         requested            that       no profiles which are                           located more
       than      50    mi.Tes         away      should be              present       in    result.           1 i st    31,
       matching            server          20     may        incl.ude          such       profiles            because
20     those      profiles              have          over       5    matching         keywords,               a      high
       attractiveness                 rating,           and      have         specified          the     same         life
       goa.~ls    as       user       1<1 .      Thus,           in    some     embodiments,                 matching
       server         20    may       refuse          t:o   apply        restrictions                 submitted by
       user      14    based          on      any      combination              of    characteristics                   or
25     algorithms.
                 An    advantage               present           in     many     embodiment~::.;              is      that
       through         taking         i.nto      account various                 factors              when     scoring
       potential matches and using only very few strict filters,
       a    large amount of                   result entities may be                       returned to the
30     user.          A further advantage is that the ordering algorithm
       will      put       the     most         relevant             search     results           first,           saving
       the user time.
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                FIGURES         6-9    depict              embodiments             of     a     user     interface
       presented to users of the matching system discussed above
       wi t.h    respect          to       FIGURES          l     and        4.      According             to     some
       embodiments,             users           14    interact              with     matching           sei-ver     20
 5     through         interface             16       presented               by     terminal            1.0.       In
       addition         to      the        embodiments                 of     interface          16      described
       above      in     re lat. i.on       to        FIGURE           1A,    .interface          1.6      may    also
       comprise a          touch screen i.nt:erface operable                                     to detect and
       receive touch input such as a                                  tap or a       swiping gesture.
10              In     scnne     embodiments;                matching·             server       20     may      import
       profiles         from         other           social           networking              systems.            This
       lEnTel of        integration provides the advantage of users only
       having        to update         their proti le                   information in one place.
       For      exampl.e,         when          user        1A        updates       his       profile           within
l5     social networking platform 50,                                  matching server 20 is also
       able to access the updated profile information.
                 In some        embodiments,                matching server                     20 may fu:t·ther
       be configured,                as part of the user registration process,
       to       link     to      a     user's              existing           profile           within          social
20     networking             pJ.a.tfo.r..·m         50.          Mate hi ng·        server           2O     may    be
       configured to parse the profiles of                                         the users            in set     52,
                     collecting             data           and        applying           algorithms.               For
       G.~xample,      matching server 20 may use explicit signals from
       social        networking             platform              50        such    as        common       friends,
25     common          interests,               common            network,              location,            gender,
       sexuality,          or        age    to       evaluate           potent.i.al           matches        between
       users      14.           Matching              server           20     may       also     use       implicit
       sig·nals such as for whom a                              user 14 expresses approval and
       disapp.r:ov-al.               Implicit              signals           may    also        include         facial
30     recognition             algorithms              to       detect        ethnicity,             hair       color 1
       eye      color,       etc. ,        of    profi 1es that                   user    1.4    has     expressed
       interest in.
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               In     particular               embodiments,               matching              server       20       may
       have u.sers            l4    to l.:i.nk their user profiles to an existing
       profile        within         social        network.i.ng           p1.atform             50.         Matching
       server 20 may be configured to generate and add. profiles
 5     to     user    profiJ.e            poo1.    30        from       ;;;ntities         of     set       52;       the
       system       may       be     configured              to    do     so     t.hrough         capab:Lliti.es
       provided        by          social      networking               platform           50,        such       as    an
       application             programming               interface.                      One     advantage             of
       linking         is          that        matching             server            20        can        use        the
10     authenticati.on               features            provided              b'y       social        networking
       platfOl.'lll    50.           For      example,            creating           a     user       profile          on
       matching        server            20    containing            false           information.            becomes
       harder         when          the       information               must         come        i':rom      another
       ver~fiable             and        peer      monitored              source           such        as        social
15     networking platform 50.
               In some             embodiments,              matching server 20 may allow a
       user J.4       to propose a                match between two of his connections
       within soc.ia.J. network.ing platform 50.                                      For example,                Harry
       rnay    be     friends            w.i.th    both       Bob       and      Sally          within           soci.aJ.
20     networl\:ing platform 50.                         Harry beli.;;;ves Bob and Sa.J.ly are
       a    good mat.ch            and     therefore              instructs          matching           server         20
       to     create      a    match between                 the     two users             in user profile
       pool     30.       Once matched,                  matching          server          20     allows          Harry
       and Sally to communicate with each other.
25             In     some          embodiments,                  matching           server           20     may       be
       conf.igured             to         apply          a        relevance               algorithrn              which
       determines             t:he content and order in which mat.chin9 server
       20     di.splays        potential           matches           to    user          1,i.      A       relevance
       algorithm          may        be       based      on       both     explicit              and        implicit
30     signals         from           user         14.              Explicit               signals           include
       information             entered            by     user       14     as        part        of        its     user
       p:rofiJ.e,      such         as    height,            weight,       age,          location,           income,
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       and         ethnicity.                     Explicit           signals                 may        also         include
       information. about                     the    characteristics                         user 14           is    seeking
       in    a     match,          such       as    gender,            hair               color,        eye    color,         or
       occupati.on.             Explicit signals may also be entered by user
 5     14 as part of a                   search request.                         For exampl.e,             user 14 may
       request        matching               server       20        l.im:Lt           the    pool        of     potential
       matches        t.:o    those users with.in a                              fixed       geographic              region.
       Matching           server             2o     is    operable                    to     compare           gf..~ographic

       positions             associated with the plurality of                                           user profiles
lO     in     user        profile             pool        30       with               a    geographic               position
       associated             with           user        14.            Explicit                  signals           may       be
       imported           from       a       social       networking                      platform        50,       such      as
       the        number      of     shared entities                    in a              social graph of:                 user
       14.        Implicit signals may be based on the behavior of user
15     14     either         within           system       1.00       or         other           social        networking
       platforms             50.          F'or      example,           :i.f           user       14     has     expressed
       disapproval              of       a     user       profile                 in        the       past.,        matching
       server        20      may     no      longer present                       the       disapproved of                 user
       profile         to       user          14     in    future                 searches.                   In     va.r.:i.ous
20     embodiments,                matching              server         20            may        be     configured            to
       eva1.ua.te         the      attractiveness                    of          a.       user    :Ln    user        profile
       pool 30 through collected feedback from other users.                                                                 For
       example,           matching server 20 may rank a                                          user profile that.
       receives more                likes as more                   r{:';lE.-)vant          than a        user profile
25     t.:hat:.    receives          fewer          likes.             I:n        particular              embodiments,
       mat:chi.:ng        server          20       may    assign.            a        h:Lgher         rel•.:..rvance     to    a
       user profile if                   the other user has previously expressed a
       preference             for        user      14.         As     an         example,              user     Harry may
       have        previously             expressed            a      preference                  .for     user        Sally.
30     If    Sal.ly       requests             a    set    of       user              profiles          from        matching·
       server        20,      and        Harry's          user       profile                is        included        in    the
       set,       matching server 20 may assign Harry's user profile a
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        higher             relevance         based           on    his       expression               of    preference
        for      Sally.               This        can    result              in      Harry 1 s        profile             being
        presented                to       Sally        sooner           than         otherwise             would           have
        occurred.                   This      may        be       advantageous                 i.n     that          it     can
 5      increase            the       chances          of     a    rnatch         wit.hout           compromising              a
        1.:1.ser' s        feelings         cd"    pri·vacy            when        expressing              preferences
        for      potential.               matches.                In    some         embodiments,                   matching
        server              20        may         be         configured                to       use         the            fate
        characteristics as a metric in the relevance algorithm.
1.0               In        some          embodiments,              terminal            :to      is       operable            to
        determine                  its     own         geographic                 location            by        a     global
        positioning                 satellite           navigational                  systemo              Termina1          1.0
        rnay     also           determine              its    own        geographic              location                 using
        eel lphone ... based                triangulation                    techniques,                  Wi-Fi           based
1.5     pos~tioning                 system,            Global          Positioning              Satellite                 (GPS)

        system,             or        net1,qork        addresses               assigned              by     a        service
        provider.
                  FI GORE             6     shows        one           embodiment               of         system           100
        disp1.aying              to a       user the p:r.of:i.1.e                 information of a                    second
20      user.              Matching          server          2O        may    be      configured                to    search
        through            i.t:s    plurality           of        profiles           and      present           suggested
        matches            to user 14.                 In FIGURE 6,                one embodiment of                       t:;his
        presentation is depicted as occurring through the display
        of terminal 10.                      In this          embodiment.,              a     plurality of user
25      prof. iles           .is      presented          to       user        14 .       UBing         terminal             10,
        user          l4    may       request          that        matching            server         20     px:esent          a
        subset             of      users      from           user       profile             pool       30       based         on
        spec if ied              search       para.meters.                   The       display            may        show     an
        image of            a      suggested user and one or more aspects o.f'                                              t:he
30      suggested                  user's          prof:i.1.e            information.                           In         some
        embodiments,                  the     combination                of       image       and         one        or    more
        aspects of                 profile        information                is    displayed as                 "card"        88
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        representing              the    suggested             user.             A     set      of    suggested
        users may be displayed as stack of cards 88.                                               User l4 may
        view    information             regarding             one       suggested user                at    a          time
        or more than one of the suggested users at a                                               time.               User
 5      14     may       be      p:r:esented        with           a     summary           of      information
        regarding a             suggested user.                    The summary may incJ_ude one
        or     mo:r:e       of:     a     pictu.re,                an         .icon,       name,          location
        i.nforma.tion,            gender,       physical                 attributes,              hobbies,                  or
        other profile information.
1.0             In       some     embodimenti:>,          t~erminal              10    may      also        display
        "informati.on"            button       84    which allows                    user     14     to     request
        matching                         20         to        retrieve               and      display                  more
        information             about    the        presented             user         from     user        profile
        pool    30.           In addition,           user          14    may      express          approval                 or
15      disapproval for a               presented user.                       Expressi.ng approval or
        d:i.sa.pproval         can be     accomplished through various                                    methods.
        For    example,           terminal          10    may           display        "1.ike"        button                86
         (represented by a               green heart                   icon)     and       "dislike"         button
        82    (represented by a                red "X"         icon) .           Pressing like butt.on
20      86    indicates          to matching server                      20    that user :J.4             approves
        0£·   and is        interested in communicat:i.on with the presented
        user.        Pressing dislike button 82                               ind~cates           that user 14
        disapproves of a.nd does not want                                 to commun.i.cate                wit.h the
        presented          user.         The    approval                preference           of      user           1..:1   is
25      anonymous           in    that     mat.ching               S{'.:rver     20     does         not        ..,
                                                                                                                '
                                                                                                             l.n"'-orrn
        users       14    whet.her      other       users              have    expressed approval                           or
        disapproval for th.em.
                As       an example,        consider two                  registe:red users,                        Harry
        and Sally,            both of whom have profiles stored in matching
30      server        20.          Harry       is        at        a     restaurant             and        requests
        matching server 20 to present him users within a                                                   one·-·mile
        radiu:o.:    of     his    location.              Matching              server        20     compares                a
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       geographic              position               associ.a.ted             with          Sally           with        a
       geographic             position associated with                            Harry.            If      Sally      is
       currentl.y           within             the        one-mile           radius           of       Harry         a:nd
       matching         server           20         determines             her      profile            information
 5     matches         Harry's            preferences,                    matching          server           20     will
       prest=n1t:      Harry         one        or       more       aspects         of      Sally's          profile
       information.                   If        other         users          also        meet          the        search
       criteria,          matching              server           20   will       present           one       or     more
       aspects         of      those           users'         pro.file           information             as        well.
10     Harry        may        request              more         information                about        Sally         by
       pressing        informati.on butt.on 84.                             Harry may al.so indicate
       his    preference              to        communicate                 directly         wit.h       Sal.ly
       selecting          like button 86.                        In another example,                     Harry may
       expand       his       search           to    a     twenty-five            mile       radius          to     meet
15     pe.ople :in his town,                    not just his immediate v:i.cinity.
               FIGURES          7    and        8    are      diagrams         of    embodiments              of      the
       display :from FIGURE 6                        showing- the            effect of a                left       swipe
       gesture         (FIGURE            7}        and       the     effect           of    a     right           swipe
       gesture         (FIGURE           8} .            Tn   one         embodiment,             users       14      may
2O     navi.ga.t<'.~    th.roug-h          the       set      of      presented          users         by     swiping
       through         stack        of     cards          8 8,        Users       1A     may       also       ~:;xpress

       approval        of a         presented user by performing a                                     right       r-:iwipe
       gesture or express disapproval by performing a                                                   left sw.1..pe
       gesture.           In some embodiments,                         user 14 performs a                     swiping
25     gesture         by      moving           a        finger       o:r    other          suitable              object
       across a        screen of               terminal             10.      Other suitable gestures
       or    manners          of     interacting                 with       terminal         lO    may       be     used
       (e.g.,       tapping on portions of a                              screen of terminal 10).
               In      some         embodiments,                 matchin;;J       server          20     creates         a
30     match      between            two        users         :L4     aft:er      both        users          14     have
       expressed          a    preference                 for       each     other• s         profiles             using
       like     button         86        or     the        swiping          gesture          associated             with
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         like button 86.                   When matching server 20 c:reates a match,
         i t may also provide the matched users with the ability to
         contact       each        other          through       a       contact              button.           In     some
         embodiments,             when a          match    is created,                   matching             server       20
  5      ma.y immediately (or soon therea:fter)                                     present an option to
         users        14     that           have     been           mat:;ched            to        engage           .in     a.
         communication             session          (e.g.,          a    ch.at~,      an       SMS       messa<:-.fe,     an
         e-·ma:Ll.,    a    telephone             call,    a    voice          commun:i.ca.t:i.on session .
         a    video        communication             session) .                 This          may        be    don~=       in
lO       response.         to a    first \.lS<'lr 14 expressing a preference for. a
         second       user        14       that    has    a.1ready            expressed              a     preference
         for the first user 14.
                 FIGUH.E      9    sb.ows one embodiment of matching system 100
         displaying a             match of a             first user and a                      second user,                in
l5       accordance with a                  particular embodiment.                             Matching server.
         20 may provide first user. 14 and second user 14 with each
         other's contact: information such as a                                       telephone number or
         an    e-ma.i.l      address.             Matching          server          20       may     also       provide
         both    first        and          second    users          14        with       a    way        to    d.irectly
20       contact the other,                     such as sending a                   message or prov.id:Lng
         voJce or vi.deo communication bet.ween the first                                                  and second
         user.        In     some          embodiments,             direct          comrm.i.ni.cat,ion          may        be
         initiated           by        pressing           "Send           a     :Message"                button           92.
         Alternatively,                a   user may choose to continue browsing the
25       set of presented users by pressing                                     "Keep Playing"                   button
         94.
                 For example,               user Harry may indicate a                               preference to
         communicate          di.rectl·.:t         with        user       Sal.ly         by     selecting             like
         button       86.     At this point,                   Sally is not aware                          that Harry
:3 0     expressed a          preference             for       her.            If    Sal1.y also               requests
         matching          server          20     present       her        with          a    set        of    possible
         matches,          Harry may appear                in her             set.            Sally may select
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       like button 86                (or perform an associated swiping gesture)
       when     viewing          Harry• s              profile.             Matching           server          20     may
       then notify both                 Ha.r.ry and Sally                    that       a     match       occurred,
       At    t;his   point,          both Harry and Sa..lly are made                                     aware       that
 5     they     each       ex.pressed             approval             of     each          other's           profile.
       Matching           server        20        then         enab1es            Harry        and        Sa.Lly          to
       directly        communicate                 with        each         other           (e.g.,       through           a
       private chat interface) .
                In    some           embodiments,                 one       advantage              of     a     system
10     disclosing          preferences                  of   profiles             to    users           when    mutual
       appx.·oval has occurred is that a                                user can feel more secure
       in    their privacy              knowing              that       their      preferences                 will       be
       disclosed          to    those        t;hat       have       expressed a                preference             for
       that user.           As an example,                    a    user can avoid embarrassment
15     i:E   their     expression of                    pre:Eerence           for       a     profile          was    not
       reciprocated.                  This         may        lead       to       users        more           actively
       express.i.ng        the.ir       preferences.                        Such       in.creased             activity
       can      be   used        by     the            matching         system          to      generate             more
       potential           matches                or     better              rankings              of     potential
20     matches.           In some embodiments,                          mat.ching server 20 may be
       configured          to        allow         direct          communi.cation               between          users
       '""hen   there       has       been         a    mutual          expression             of       preference.
       Thi.s     may       be         advantageous                  because             users            can     avoid
       browsing,          deleting,          or responding to un'"''anted messages.
25              FIGURE         1.0    is      a        flowchart            depicting              a    method        for
       enabling       communication between two users                                         of       the matching
       system        of    FIGURE            1.    based          on     a     mutual           expressi.on               o.f
       app~oval,          in accordance with a                      particular embodiment.
                At   step       1002,         in        some      embodiments,                matching          server
30     20    ger1erates          a     set        of     user       profiles            ir1    :t."esponse           to    a
       request for matching from a                                first user 14.                   At step 1004,
       matching        server          20    presents             the       set    of       i.1ser      profiles          to
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        first            user       1.4.                 Matching            server             20      determines                 the
        contents              and     ordering                 of     the       set       of      users          profiles          by
        using,           e.g.,       the          relevance            algorithms                described above                    in
        the discussion of FIGURE 4.                                        For example,                 matching server
 5      20 ma.y on:Ly include user profiles whc>se contents indicate
        location within a                          specified geographical radius and order.
        the     prer-:ientation                    o.f        those       user        profiles               based          on     the
        number of mutual fr.iends :i.n common with first user 14.
                l',,,t    step       1.006,          in        some       embodiments,                  matching             s~nver

1.0     20 receives an indication of the preference of :first user
        1.4    regarding             a        presented user                    profile.                Matching             server
        20     determines                    if     ti:r:st          use·r      14    expresses                  approval          or
        disapproval              of          the     presented               user      profile at                  step         1008.
        If     first           user            14            disapproves             of        the      presented                user
1.5     profile           then           a     match           is     not       made           and,      at       step          101.6,
        matchi.ng             server          20     will           not      allow        communication                     between
        the    two        users.               If        first        user      14    expresses                  approval          for
        the     presented                    user        profile          at;   sLep           1008,         t.hen         matching
        server 20 wi.lJ. check i f second user 1..a represented by the
20      presented user profile has already expressed a. preference
        .tor    first          usf.~r         14    at        seep     J..01.0.           If    matching               server       20
        detects           a    mutua1.             expression of                 approval               then      a        match    is
        made     between             first           and        second users                   :J..4.     Then,            at    step
        1012,        matching                 ser',rer          20     allows         private            communications
25      between               first           a:nd           second          users         14.               If        a     mutual
        expression of approval is not detected at step 101.0,                                                                    then
        matching serve·r 20 stores the preference of first user 1.4
        regarding                the              presented               user            profile                for         future
        comparison               and           con.ti.nu.es            to       step           1016      where              private
30      communications are not yet a1.lowed.
                FIGURE              11.       is         a     flowchart             depicting               a    method           for
        enabling communication between two users                                                        of       the       matching·
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         system. of FIGURE 1 based on a                                     matching proposal suggested
         by    a     user,         in      accordance                with     a     particular             embodiment.
         1\t   step         ll02,          matching             server        20        receives       interactions
         from       first        user 14.                 In.tera.cti.ons           from       first       user 14 may
 :;;     include          identification                       of     user        profi.Jes          for     two       other
         users       l4..         For          examplE'~,       Harry         is    connected.         to        both        Bob
         and       Sa.1.ly     w.ith:Ln             social      networking               platform          50.         Harry
         believes           Bob      and            Sally      are     a.    good ma.tch         for        each       other
         and       generates               a        matching          proposal            requesting             matching
10       server 20 to create a match between Bob and Sally.
                   At    step        1.104,           :Ln    some      embodiments,              matching             server
         20     validates               the          suggested              matching           proposal              between
         second and third users 14.                                    For examp.le,             mat.ching server
         20 verifies that Bob's profile indicates that he wants t:o
:LS      be    matched            wi.th         a    woman,          and     Sally's           profile       indicates
         that she wants to be matched wit:.h a                                          man.     Matching server
         20        may        also         verify              that         Sally        has     not        previously
         expressed             disapproval                  for       Bob.          If       matching        server            20
         determines               the          su9gested              matching            proposal          is        valid,
20       matching                                    20      creates              the        match         and        a.llows
         communication                     between             the      users           14     suggested              t.o      be
         matched         at      step          1106.           If     matching-          server       20    de.termi.nes
         the       sug·gest:ed             matching            proposal            is    not     Vctlid,         matching
         server          20      do~'.!S       not        create       a     mat.ch       and    does        not       allow
25       communica.t::1.on              between             second          and    third       users        14    at        step
         llOB.              In      some             embodirnent.:s,              step        1104     may           not.      be
         perfo:rmed.                  For           example,           if     a     matching           proposal                is
         sugg·ested,             then matching                  server        20 may perform step                           1106
         with respect.: to the users suggested to be matched.
30                 FIGURES              12A-D               depict           embodiments               of        a          l.:tser
         interface.                  In        some         embodiments,                the     ~nter£ace             allows
         user       14    of       terminal               10    to     enable           cornmun.i.cati.on            between
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       other        users              14     by        suggesting              a     matching            proposal                to
       matching server 20.
                  F'IGORE              l2A      illustrates                    one          embodiment                of          an
       inter.face             for      proposing a                match bet.ween                    two users.                   The
 5     interface is divided into three sections:                                                     connection list
       area       1.202,         search         area           1204,       <:.<.nd    suggestion            area           1206.
       Connection               list         area       1202      displays            a.     set     of    connections
       user       1A       has      with        other            users         of,        e. g, ,     system          100         of
       FIGURE          J_.          Connections                  may      be    based          on        prior       matches
10     created by matching server                                               Connections                may also be
       imported              from           another            socia.1         networking                platform                50.
       Search area 1204 enables user 14 to search for particular
       connections v.;rit:.hin system 100.                                      In some             embodiments,                 the
       search may be                    limited           t:.o    just         the    connections                   displayed
l5     in   connection                      list        area.     1202.               Suggestion             area               1206
       displays              the    connections                  that user            1.4     may ·use          to     form a
       suggested match.
                  FIGURE               1.2B        illustrates                      suggestion             area                 1206
       displaying a                 first selected user {i.e.,                                 "Jonathan Smithn)
20     of     a        proposed               ma.tch           between              two      users~                 User          1.4
       identifies                the         first        selected              user         through            a     set         of
       interactions                 with connection l i s t area                               1202,       search area
       1.204,      and suggestion area 1206.                                    For example,               user 14 rnay
       locate          a      connection                 in      connection                 list         area        1.202        by
25     typin.9         a     ·u.se:r    handle           i.n     search area                1.204.        User         1','I:   may
       then add the                 connection to suggest:.ion area 1.206.                                            In some
       embodim0:nts 1                  user         14         may        drag        the        connection                     from
       connection list. area 1202 to suggestion area 1206,
                  FTGURE               :L2C        illustrates                      suggest.ion            area                 1206
30     displaying               a      proposed           match        between             two      suggested users
        (i.e.,         "Jonathan Smi.th"                       and     "Mary Maj or")                     F'or       example,
       user       14       may      ~Locate         a     second          connection                in    connect               list
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        area 1202 that user 14 believes is a                                 match for the                first
        connection.          User        14     may    add      the        second        connection          to
        suggestion area 1206.                   When both connections are added to
        sug~1estion      area        1206,       matching            server       20        may     create    a
 5      match     between        the      two        users        and       a1.l.ow         commun.i.cation
        between them.
                FIGURE       12D      illustrates               an        example           cornmuni.cation
        interface between users of the matching system.                                              User    14
        .is presented with chat box 1208                             for    each of           the matches
1.0     that    exist     for    user         1.4.     Users         14    may     comrnuni.cate          with
        each other       through         chat        box    1208.           In    some       embodiments,
        users    14    may      communicate            through            SMS     messa9es,           e-mail,
        telephone        calls,.       online         voice          communication                  sessions,
        and/or video communication sessions"
l5              Modifications,            additions,            or        omi.ssions         may     be   made
        to    the methods described herein                           (such as          those        described
        above     with     respect        to         F'IGURES        5,     J.O    and       11.)     without
        departing from the scope of the disclosure.                                          For example,
        the    steps     may     be    combined,             modified,            or     deleted          where
20      appropriate,            and       additional                 steps         may        be       added.
        Additionally,          the    steps ma.y be performed in any suitable
        order    wit:.hout      departing            from       the       scope        of    the      present
        disclosure.
                Although        several.        embodiments               have     been       illustrat{'!d
25      and     described        in      detail,           it   will         be    recognized              that
        substi.t.uti.ons         and      alterations                 are         possible            without
        departing        from      the        spirit        and       scope       of        the      appended
        claims.
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              :l..       A method for profile matching,                                      comprising:
              receivj_ng             a     pJ.ura1ity             of    user         profiles f           each     user
 5     profile comprising traits of a                                  respective user;
              receiving              a    preference              indication.                for    a     first    user
       profil.e of the pJ.u.ra.J.ity of user profil.es;
              determining                 a     potential              match        user         profile      of    the
       plurality             of     user           profiles            based            on       the      preference
10     indication for the first user profile;                                            and
              presenting                 the       potential            match           user       profile         to   a
       second user.


              2.         The        method           of     Claim        1,         wherein             receiving       a
15     preference            indication for                  a    first        user profile                comprises
       receiving from a                   third ·user a                recommendation of                   the first
       user profile for the second user.


              3 .        The.       method           of      CJ.aim      :L,        wherein             rece.iving      a
20     pr.·e.:ferer1ce       in(iic~at.ion           fcJr    a    fi:t"'St.    l.lse.:t. .   p:t~of.ile    comprises
       receiv.ing        from            the       secon.d       user     a        preference             indication
       for the first. user profile.


                         The        method            of         Claim        l,        further           comprising
25     prompting         a        use.r       to     submit       a     preference                 indication        for
       the first user               prof~1e.




              5.         The        method           of      Claim        1,        wherein             receiving       a
       preference            indication              .for    a    .first:      user profile                comprises
30     recaiving              from             the        second              user           a      request          for
       communication with a                        first user associated with the first
       user profile.
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             6.     The method of Claim 1, further comprising:
             determining a            score 0£ a          third user profile of.              the
       p1.u:r:ali ty of   user       profiles      as     a    potential match for            the
 5     second user; and
             altering         the    score of       the       third user profile based
       on the preference indication for the first user pro.file.


             7.     The       method       of    Claim        1,    wherein     determining     a
10     potential     match          user    profile           based       on   the   preference
       indication         for        the        first         user        profile     comprises
       determining        a     potential         match            user   profile     based    on
       identified     commonality between                     the     potential      match user
       profile and the first user profile.
15
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               8.     A method for profile matching,                             comprising:
               receiving      a        pTurali ty       of       user      profiles,          each       user
       profile comprising traits of a. respective user;
               receiving     a     request           for    matches          from      a    first      user,
 5     the first user associated with a                          first user profile;
               scoring the p1urali.ty of user profiles                                     for potent:Lal
       matching with the               f i.rst.    user based on comparisons of the
       plurality of user profiles with the f.i.rst: user profile;
               .identifying        a    second        user       prof i1e        of     the    pl u.r.al:i. t.:y
10     of user profiles as a                  pot:ential match for                    the     first      user
       based on the scoring;
               identifying commonality bet.ween a                             third user profile
       of.    the   plurality          of     user    profiles             and    the       second       user
       profile;      and
15             presenting         to    the       i:'i.rst user        the    third user profile
       as a    potential match for the first user.


               9.     The    method           of     Claim        8,       wherein          scoring       the
       p1.ura1.ity          use:r:      profiles           for    potential             matching         w.ith
20     the    first   user       based on           compa.risons           of     the      plura.J.it.y of
       1.Iser profiles witb. the first user profile comprises:
               generating          readability               scores           for       each      0£      the
       p.lu.ra.Lity   of    user        profiles           and    tl-i.e     first      user      p:r:ofile;
       and
25             comparing      the           rf.~ada.bility        scores         for       each     of    the
       plurality of user profiles with the readability score for
       Lhe first user profile.
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                10.        The       method       of    Claim         8,       wherein      scoring        the
        plurality          of    user       profiles        f:or      potential            matching       with
        the    first       user based on a                comparison of               t:he plurality of
        user     prof.i.l.es          with        the     first       user          profile      comprises
 5      scoring          based          on        .fate         char:act:eristics                based      on
        comparisons             0£    the    plurality           of    u.ser        prof.i.les     with    the
        first user profile.


                ll.        The       method       o:E   Cl.a.:Lm      8,       wherein      scoring        the
J_O     plur«..'1.lity     of    user       profiles        for       potential            matching       with
        the    £irst:      user       based on          comparisons            of    the    plurality of
        user profiles with the first user profile                                      comprises~

                generating             scores           based         on       comparisons          of     the
        plurality          of        user    profiles           with       a     plurality         of     user
:15     preferences of               the first user profile;                     and
                reducing a            scoring impact of a                  difference between at
        least        one     user       preference              of     the      plurality          of     user
        preferences of               the first user profile and a                           user profile
        of     the       plurality           of     user        profiles            based     on    an     age
20      preference.
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                12.        The   method         of     Claim       8,         wherein        scoring       the
       plurality           of    user     profiles         for         potent:i.al        matching        with
       the      first      user based on              comparisons             of   the     plu:r.a1. .it.y of
       user pi..-ofi.les \"lith the first: user profile con1prises:
 5              generating              scores        based        on         comparisons            of    the
       plurality           of    user         profiles        with        a    plurality           of     user
       preferences of the first user profile; and
                reducing a          scoring impact of a                   d.ifference between at
       least         one     user       preference            of       the     plurality           of     user
TO     preferences of              the first           user profile and a                  user profile
       of    t:.he    plurality          of    user      profiles             based     on     a   location
       preference.


                13.        The   method         of     Claim       8,         wherein        scoring       the
15     plurality           of    user     profiles         for         potentia.1         matching        with
       the      first      user based on comparisons                          of    the    plurality of
       user profiles with the first user profile comprises:
                           generating a          score of          a    fourth user profile of
       the      plurality          of    user         pro£iJ.es         for     potential          matching
20     1.·1ith tb.e     first.     user based on a                 comparison of               the      fourth
       user prof.i1.e wit.h the first user profile; a.n.d
                           modifying the              score of         the     fourth user profile
       for      potential          matching           with     the        first         user       based    on
       receiving selections of the fourth user profile.
25
                14.        The   method         c>f     Claim      8,         wherein        scoring        the
       plurality           of    user     profiles         :for        potential          mat.ching        with
       the      first       user    comprises            det.ermining              an   attractiveness
       rating of           at    least    one        user profile of                the    plural~ty         of
30     use:r:    profiles           by    at      least        analyzing            a     frequency          of
       selections of the at least one user profile.
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               1.5.      A.   system for prof.il.e matching,                           comprising:
               an interface operable to:
                          receive a plurality of user profiles,                                     each user
        profile comprising traits of a respective user; and
 5                        receive     a        preference              indication            for        a     first
        user profile of the plurality of user profiles;
               a       processor coupled to the                       interface and operable t.o
        determine a           potential match ·user profile of                               the pluralit"y
        of   user:      prof:U.es    based           on       the     preference            indication          for
10      the first user profile;                     and
               the        interface            further               operable          to     present           the
        potential rnatch user profile to a second ·user.


               l6.        The     system       of           Claim     15,       wherein      an     interface
:15     operable         to   receive      a    preference                  indication        for       a     first
        user    profile          comprises           an       interface          operable          to       receive
        from       a    thi.rd    user     a    recommendation                    of    the       first        user
        profile for the second user.


20             1.7.       The     system       of           Cl.aim    15,       wherein      an     i.nter:f.ace
        operable         to   receive      a    preference                  indication        for       a     first
        user profile             comprises           an       interface          operable          to       receive
        from       the    second      user          <::<.    preference          indication             for     the
        first user profile.
25
               18.        The     system       of           Claim    15,     wherein.        the    processor
        is     further           operable       to            prompt        a    user        to     submit        a
        preference indication for the first user profile.
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                19.    The       system        of       Claim          1.5,    v/hered.n       an    interface
        operable      to    receive        a       preference                 indication       for       a    first
        user profile         comprises              an    .interface             operable           to    receive
        from    the   second user              a    request             for     communication with a
 5      first user assoc1ated with the first user profile.


               20.     The       system        of   CI.aim          J.5,       where:Ln      the     :r;:rrocessor
        is further operable to:
               determine          a   score         of        a    third        user    profile              of    the
10      plurality of         user     profiles                as   a     potential         match          for      the
        second user; and
               alter       the    score        of       the       third user           profile           based on
        the preference indication for the first user profile.


J.5             21.    The       system        of       Claim          15,      wherein        a     processor
        operable       to    determine              a     potent:i.a:l           match       user         profile
        based    on    the       preference              indication              for    the         first         user
        profile       comprises        a       processor               operable         to     determine             a
        potential          match       u.ser            profile               based       on        ident.ified
20      commonality between                the potential match user profile and
        the first user profile.
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               22   c     A system for prc.1file n1atching !                      cornpx·isir1g:
               an interface operable to:
                          receive a plurality of user profiles,                                each user
       profile compri.s.ing traits of a                       respective user;                 and
 5                        receive        a    request        for    matches             from    a     first
       user,        the     fi.rst       user        associated         with         a     first          user
       profile;
               a    processor        coup:l.ed        to     the    interface            and    operable
       to:
lO                        score      the       plurality           of    user            profiles          for
       potenLia1           matching            with        l:he    fi.rst         user         based        on
       comparisons          of     the       p1:ura1.ity      of   user      profiles           with       the
       first user profile;
                          identify a          second user profile of                     the plurality
1~     of user profiles as a                    potential match for                  the    first user
       based on the scori.ng;                  and
                          identify           commonality           between          a      third          user
       profile of          the plurality of user profiles and the                                    second
       user profile; and
20             the      interface            further       operable          to    present           to    the
       first       user     tb.e   third       user    profile          as    a    potential          matc11
       for the first user.
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                                              :MATCHING PROCESS SYSTEM AND ME'THOD


       .f.>..BSTRACT
       -------------------------------
                          A method                      for   profile    matching      includes        receiving a
 5     plurality of user prof:i.les,                                         ea.ch user profile         comprising
       traits                            of       a     respective       user.         The     method     includes
       receiving                              a       preference        indication       for     a     first     user
       profile                           of       the    plurality      0£     user   profiles.        The     method
       also includes determining a                                           potential match user profile
10     of the plurality of user profiles based on the preference
        indication for                                  the   first     user    profile.       'l'he   method    also
       includes presenting the potential match user profile to a
       second user.
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                                  Method                 an
                           Inventors: Sean Rad et al.
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                                                                              r'                      MATCHING
                                                                                                            SEF!VER
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                                                                  FIG. JC
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                                                 Method
                                          Inventors: Sean Rad et al.
                                          Atty. Dkt. No. 076533.0150

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                                   NAME                        PROPERTY 1 ' PROPEHTY 2 o o o
              ············.·················"······--·----~.j-""""""""""""'""'- """"""···················· ~-

                    Ir Jane Doe 30a           .f
                     j Jane Roe~r30b
               301· .J~n~ Boe ...r 30c                                                                                                                                    0          0         <:.
                        ,Jarn, Loe -......._                d
                                                     30
                     ... Jane Snoe--....•. 308
                                   ()

                                   0
                                   0



                                                                  FIG. JD


                                                                                                     ________ •..
                            .                                    ,-
                                                               SEARCH RESULTS
              ~"""""~--············--                       .................................                                                  _.    -~·.···························




                                                                         31 a ·["~';;',~'.'.':.'1>" .. 33                                   ····""' / .. 34

                            I          i. Jane Doe~··                                 !~                                                     (~)··.



                       31 l            2. Jane Roe/· 3i b [y~~]_,,.-33


                             ~. 3. Jane Boe-.., .....
                              ·•                 "                '·,j     1c ~
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                                        . ., . . . .i,1'.::J~:A' "" .·
                                                                                                                   ,Jane Doe
                                               /1(~"i;i <<!)\\                                                                                  .··
                                                                                                           '["""~'·························.w.•.•.w             _....35
                                        , /(ll.A'UJl\ .                                                   i             Contact .                            ··· '"
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                                        t. . J._\A.
                                        Born: i0/01/75
                                                             :.l..........  1
                                        Hometown: Dallas, 1X
                                        Likes: C!1ocolate, rollerb!ading
                                        Dislikes: Body odor. arrogance, foott)al!


                                                                   FICi. 1.F
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                                                             IrFIG. 2
                       H/\F1RY'S SEARCH RESULTS




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     i2b""

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                                                             '




                                                                 FIG. 3
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            --~--····~   .....................
                tinder                                                tinder
                                                                  It's a match!
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              FIG. 8                                                .F::!G. 9
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                                                                                     ,.,.,,-1002
                                                                                         .




                         GENERATE USER POOL

                                       i                                             /.,,..,   1004
                           DISPLAY USER POOL

                                       i                                             r" 1006
                       RECEIVE USER PREFERENCE

                                       t




                                       .----~...w.·~~ 1014
                                                      STORE FIRST
       ALLOW COMMUNICATION                         USER'S PREFERENCE

                                       ~   ......."..............................................t..--1016
                                                                                                    ........................
                                                         DO NOT ALLOW
                                                        COMMUNICATION

                                FIG. 10
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                                            ("'°'1102
                         RECEIVE PAIR OF USER
                             IDENTIFIERS


                                 ___,.,..,,.-·'""' ,,.._""'-< ,....-. 11 04
                               ~                         ~·
                    OK.,,./...< ___ . VALIDATE                "'~ NO



        ---~       r-
                ALLOW
                          r1106 MATCH?                                .       ···L_Q_fl_
                                                                   DO NOT ALLOW
           COMMUNICATION                                         COMMUNICATION
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                                                              ~ Sent Matches




          r~_.   .................................................
                                                                 m ......................................................, ,   .· ...•   1204
          ~Q Searc~                                                                                              ____)




                                             FIG. 128
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                                               ~ Sent Matches




   1206-


              Jonathan           Mary Major             Make a Match!
                Smith
   1204--




   1202·---




                                FIG . .12C'
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                                                        Method
                                                 Inventors: Sean Rad et al.
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                                , l' )\ .
                                          \1                11
                                                                 Hey! Hows it going? My nam... " )-"._@
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                                   h. '      Jonathan
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                                                                              FIG. 12D
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ATTORNEY'S DOCKET                                              PATENT APPLICATION
076533.0150




             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE




First Named Inventor:         Sean Rad et al.
Filed:                       Herewith
Group Art Unit:               Unknown
Confirmation No.              Unkn~wn
Examiner:                     Unknown
Title:                       Matching Process System and Method




Commissioner for Patents
P.O. Box 1450
Alexandria, Virginia 22313-1450




Dear Sir:




                                    Preliminary Amendment


         Prior to the initial review of this non-provisional utility continuation patent
application entitled "Matching Process System and Method" by Sean Rad, et al., please
amend the application as follows.
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IN THE SPECJFICA TION
       Please replace the RELATED APPLICATIONS section with the following section:



RELATED APPLTCA TIONS

       This application is a continuation in pait of Serial No.       12/339,301, entitled
"MATCHING PROCESS SYSTEM AND METHOD," Attorney's Docket 076533.0130 filed
December 19, 2008.
       Tbis application claims benefit under 35 U.8.C. § 1l9(e) to U.S. Provisional
Application Serial No. 61/793,866, entitled "SOCIAL MATCHfNG SYSTEM A-1-JD
METHOD," /\ttorney's Docket 076533.0146, filed March 15, 2013.
       This application is a continuation application of U.S. Patent Application No.
14/059,192, entitled "MATCHING PROCESS SYSTEM AND METHOD," Attorney's
Docket 076533.0146, filed October 21, 2013, currently pending; which (a) is a continuation-
in-pmt of U.S. Patent Application No. 12/339301, entitled "MATCHING PROCESS
SYSTEM AND METHOD," Attorney's Docket No. 076533.0130, filed December 19, 2008,
now U.S. Patent No. 8,566,327, issued October 22, 2013; and (b) claims benefit under 35
U.S.C. § 119(e) to U.S. Provisional Application Serial No. 61/793,866, entitled "SOCIAL
MATCHING SYSTEM AND METHOD," Attorney's Docket No. 076533.0146, filed March
15, 2013.
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JN THE CLAIMS
        Claims 1-43 (Cancelled)


        44.     (New) A method of navigating a user interface, comprising:
        presenting, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
        detecting a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a preference indication associated with the first
item of information;
        storing the preference indication associated with the first item of information in
response to detecting the gesture;
        automatically presenting, on the graphical user interface, a graphical representation of
a second item of information of the plurality of items of information in response to detecting
the gesture; and
        automatically removing the graphical representation of the first item of information
from the graphical user interface in response to detecting the gesture.


        45.    (New)      The method of Claim 44, wherein presenting the graphical
representation of the first item of information of the plurality of items of information
comprises presenting user interface controls such that all user interface controls configured to
cause another item of information of the plurality of items of information to be displayed are
associated with performing an action on the first item of information.


       46.     (New) The method of Claim 44, wherein detecting the gesture associated with
the graphical representation of the first item of information comprises detecting a swiping
direction associated with the gesture, the swiping direction indicating approval of the first
item of information.


       47.     (New)      The method of Claim 44, wherein presenting the graphical
representation of the first item of information of the plurality of items of information
comprises presenting the first item of information as a first card of a stack of cards.
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       48.     (New) The method of Claim 44, wherein:
       the first item of information comprises a first user profile;
       the second item of information comprises a second user profile; and
       the preference indication associated with the first item of information comprises an
expression of approval for a user associated with the first user profile.
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        49.     (New) A system, comprising:
        an interface operable to:
                present a graphical representation of a first item of information of a plurality
of items of information;
        a processor coupled to the interface and operable to:
                detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a preference indication associated with the first
item of information;
                store the preference indication associated with the first item of information in
response to detecting the gesture; and
        the interface further operable to:
                automatically present a graphical representation of a second item of
information of the plurality of items of information in response to the processor detecting the
gesture; and
                automatically remove the graphical representation of the first item of
information in response to detecting the gesture.


        50.     (New) The system of Claim 49, wherein the processor is fmther operable to:
        detect a swiping direction associated with the gesture; and
        determine that the swiping direction indicates approval of the first item of
information.


        51.     (New) The system of Claim 49, wherein the interface is further operable to
present the first item of information as a first card of a stack of cards.


        52.     (New) The system of Claim 49, wherein:
        the first item of information comprises a first user profile;
       the second item of information comprises a second user profile; and
       the preference indication associated with the first item of information comprises an
expression of approval for a user associated with the first user profile.
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       53.     (New) The system of Claim 49, wherein the interface is further operable to
present user interface controls such that all user interface controls configured to cause another
item of information of the plurality of items of information to be displayed are associated
with performing an action on the first item of information.
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        54.     (New) At least one non-transitory computer-readable medium comprising a
plurality of instructions that, when executed by at least one processor, are configured to:
        present, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
        detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a preference indication associated with the first
item of information;
        store the preference indication associated with the first item of information m
response to detecting the gesture;
        automatically present, on the graphical user interface, a graphical representation of a
second item of information of the plurality of items of information in response to detecting
the gesture; and
        automatically remove the graphical representation of the first item of information
from the graphical user interface in response to detecting the gesture.


        55.     (New) The at least one non-transitory computer-readable medium of Claim
54, wherein the plurality of instructions are further configured to:
        detect a swiping direction associated with the gesture; and
        determine that the swiping direction indicates approval of the first item of
information.


        56.     (New) The at least one non-transitory computer-readable medium of Claim
54, wherein the plurality of instructions are configured to present the first item of information
as a first card ofa stack of cards.


        57.     (New) The at least one non-transitory computer-readable medium of Claim
54, wherein:
       the first item of information comprises a first user profile;
       the second item of information comprises a second user profile; and
       the preference indication associated with the first item of information comprises an
expression of approval for a user associated with the first user profile.
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       58.     (New) The at least one non-transitory computer-readable medium of Claim
54, wherein the plurality of instructions are further configured to present user interface
controls such that all user interface controls configured to cause another item of information
of the plurality of items of information to be displayed are associated with performing an
action on the first item of information.
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                                        REMARKS


       Entry of this Amendment is respectfully requested.


       If the Examiner feels that a telephone conference or an interview would advance
prosecution of this Application in any manner, the undersigned attorney for Applicants stands
ready to conduct such a conference at the convenience of the Examiner.


       Although Applicants believe no fee is due, the Commissioner is hereby authorized to
charge any required fee or credit any overpayment to Deposit Account No. 02-0384 of Baker
Botts L.L.P.
                                             Respectfully submitted,

                                             BAKER BOTTS L.L.P.
                                             Attorneys for Applicants

                                             /;::.f:~c-9L/,___ _ _ :

                                             Roshan S. Mansinghani
                                             Reg. No. 62,429


Date: February 5, 2016
Correspondence Address:
Customer No:          05073
      Case 6:21-cv-00147-ADA Document 15-12 Filed 04/22/21 Page 187 of 187
ATTORNEY DOCKET NO.                                                    PATENT APPLICATION
076533.0150
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                  IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


In re application of:           Sean Rad et al.
Filed:                          Herewith
Title:                          Matching Process System and Method

Commissioner for Patents
P.O. Box 1450
Alexandria, Virginia 22313-1450

Dear Sir:
                        INFORMATION DISCLOSURE STATEMENT
          Applicants respectfully request, pursuant to 37 C.F.R. §§ 1.56, 1.97 and 1.98, that the
references listed on the attached PT0-1449 form, and yreviously cited in U.S. Application
Serial No. 12/339,301 filed December 19, 2008 by Applicants, and entitled "Matching Process
System and Method," be considered and cited in the examination of the above-identified
continuation patent application. Pursuant to 37 C.F.R. § l.98(d), copies of these references are
not being furnished. Furthermore, pursuant to 37 C.F.R. § l.97(h), no representation is made
that these references qualify as prior art or that these references are material to the patentability
of the present application.
         Pursuant to 37 C.F.R. § l.97(b), Applicants believe no fee is currently due. However,
if a fee is required, the Commissioner is hereby authorized to charge any necessary fees and
credit any overpayments to Deposit Account No. 02-03 84 of Baker Botts L.L.P.


                                                  Respectfully submitted,
                                                  BAKER BOTTS L.L.P.
                                                  Attorneys for Applicants



                                                  Roshan S. Mansinghani
                                                  Registration No. 62,429
Dated: February 5, 2016
Customer Number 05073




Active 17315185
